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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, et al., and                           §
THE UNITED STATES OF AMERICA,                        §
                                                     §   Civil Action No. 2:12-cv-00859
               PLAINTIFFS                            §   Section I, Division 5
                                                     §   Judge Lance M. Africk
                                                     §   Magistrate Judge Michael B. North
MARLIN GUSMAN, Sheriff,                              §
                                                     §
                                                     §
             DEFENDANT.                              §
                                                     §




                      Report No. 16 of the Independent Monitors
                                         April 3, 2023



Margo L. Frasier, J.D., C.P.O., Lead Monitor
Susi Vassallo, M.D., Medical Monitor
Patricia L. Hardyman, Ph.D., Classification Monitor
Nicole Johnson, M.D., Mental Health Monitor
Shane J. Poole, M.S., C.JM., Environmental Fire Life Safety Monitor
Diane Skipworth, M.C.J., R.D.N., L.D., R.S., C.C.H.P., C.L.L.M., Food Safety Monitor




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               LASHAWN JONES, et al., and the United States of America v.
                              Marlin Gusman, Sheriff

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Compliance Report # 16
Introduction:
       This is Compliance Report #16 submitted by the Independent Monitors providing
assessment of the Orleans Parish Sheriff’s Office’s (OPSO) compliance with the Consent
Judgment of June 6, 2013. Compliance Report #16 reflects the status of OPSO’s compliance
as of March 31, 2022. This report is based on incidents, documents, and compliance-
related activities between October 1, 2021, and March 31, 2022. All of the Monitors were
on-site for a monitoring tour June 27-30, 2022. This report is based on the observations
and review of OPSO documents by the Monitors during the on-site visits and the
monitoring period.
       Throughout the time the Monitors have been involved in enforcement of the
Consent Judgment, the on-site visits have played an integral role. During the on-site visits
and the on-site visits by the Lead Monitor in between the monitoring tours, the Monitors
have endeavored to provide guidance to OPSO as to how to remedy the unsafe and
unconstitutional conditions which existed when we began monitoring in late 2013, and
which continue to exist. In addition to the on-site visit of all of the Monitors June 27-30,
2022, the Lead Monitor visited October 2-3, 2021, November 15-18, 2021, December 20,
2021, March 15-16, 2022, April 7, 2022, April 19-21, 2022, and May 17-18, 2022.
Additionally, the Monitors were in frequent contact with OPSO via other methods such as
emails, telephone calls, and virtual meetings.
       It should be noted that a new Orleans Parish Sheriff was elected in December 2022.
Sheriff Susan Hutson took over as Orleans Parish Sheriff less than two months before the
on-site visit. While Sheriff Hutson was still in the process of transitioning at the time of the
monitoring tour, she set the tone of cooperation and collaboration with the Monitors. The
period covered by Compliance Report #16 occurred during the time Sheriff Marlin
Gusman was in charge.
       The Monitors have consistently urged OPSO to put in place the necessary processes
and procedures to not only obtain compliance, but to sustain compliance. Such processes
and procedures would allow OPSO to provide adequate proof of compliance,
independently assess compliance with the Consent Judgment and its own policies and
procedures, and address shortcomings without intervention of the Monitors. The Monitors
have provided guidance as to how to go about the various review functions and establish a
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compliance unit that would operate independently of those whose performance would be
assessed. While OPSO during this reporting period had a process where unit managers and
section heads were required to gather, and report data to the leadership at unit managers
meetings, there was very little verification or analysis of the data and no identification of
problematic areas and/or corrective action planning. While there has been talk about the
formation of a compliance unit over the past several years, it did not become operational
during the monitoring period. Sheriff Hutson has taken steps to form a compliance unit
which include naming the initial staff assigned to form the compliance unit.
       A fully staffed compliance unit, which includes inspection and auditing duties,
would allow OPSO to recognize deficiencies, and address them. For instance, OPSO
continues to not have an electronic way of recording when and if security checks take
place in the housing units. Since there is not an electronic record of checks, deputies write
the checks in their logbooks. In an effort to make review of checks simpler by supervisors,
OPSO developed a paper form on which to record security checks. While this provides an
easier way for a supervisor to determine during a unit inspection if the deputy has
recorded that the security checks are being performed timely, it is insufficient proof that
an appropriate security check actually occurred and when it occurred. To appropriately
verify the accuracy of the times recorded and the method used, hours of video would have
to be watched. Prior monitoring visits have revealed the continued deficiencies in the
documentation and auditing of the security checks. For instance, in the past and during
this on-site visit, deputies were inconsistent in describing what an acceptable security
check would look like. Furthermore, the deputies admitted that they did not perform all of
the tasks for a proper security check each time a security check was recorded as having
taken place. Generally, an adequate security check was performed when a physical count
of the inmates took place; twice a day. A comprehensive compliance unit which includes
audits and inspections is important to the work to be done on gaining and sustaining
compliance. Equally important is adopting a culture where accountability is embraced as
opposed to a culture where there is a reluctance to address the deficiencies and, in some
instances, undermining the efforts of those whose job it is to provide information. Recent
steps towards a compliance unit taken by Sheriff Hutson are significant progress.
       During the monitoring period, the OPSO’s jail system was under the leadership of
Sheriff Gusman. Byron LeCounte served as the Chief of Corrections for the first half of the
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monitoring period. Chief LeCounte had been in that role since February 2019 but left the
position in December 2021. The OPSO is required to employ a professional corrections
administrator who meets the requirements outlined in the Consent Judgment. During the
first half of the monitoring period, the person assigned to fulfill those duties held the title
of Chief of Corrections. No one held that title or performed those duties for the second half
of the monitoring period once Chief LeCounte resigned.
       In summary, the Monitors find that food service and environment conditions of
inmates held in both the Orleans Justice Center (OJC) and the Temporary Detention Center
(TDC) maintained the improvement noted in Compliance Report #15 provided to the
Court on July 18, 2022. There has not been progress, and, in some cases, there has been
regression; particularly, in safety and classification. Overall, ratings improved in five (5)
provisions and regressed on seventeen (17) provisions. There are now five (5) provisions
in non-compliance. The lack of progression and, in some cases, regression is due to a
failure to follow the policies and procedures that have been put in place. It has been
exasperated by the lack of staff, but many of the provisions are not reliant on security
staffing. The specific areas are addressed in this report.

A.     Summary of Compliance
       The requirements of the Consent Judgment represent correctional practice
recognized as required for the operation of a Constitutional jail system. While there is
some flexibility in addressing the mandates, achieving substantial compliance with the
Consent Judgment, and Stipulated Agreements are necessary to bring OPSO and its
correctional facilities into adherence with Constitutional requirements. The Consent
Judgment contains 174 separately rated provisions. While they are separately rated, they
are often intertwined. For example, effective implementation of a policy requires not only
the drafting of a suitable policy, but appropriate training on the policy and enforcement of
the policy. Enforcement of the policy is contingent on assessing whether the policy is being
followed which requires supervision, analysis of incidents and data, and objective
confirmation of compliance. A meaningful annual review of the adequacy of the policy
does not just mean determining whether the wording of the policy should be changed, but
also includes evaluating adherence to the policy and whether the objectives of the policy
are being met; which requires objective data collection and analysis and development of
corrective action plans. While appropriate policies have been developed, the objective data
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collection, analysis and development of corrective action plans have been lacking or non-
existent thus far. The Monitors are hopeful that will change with the establishment of a
compliance unit under Sheriff Hutson.

       Based on the current assessment, OPSO has regressed from Report #15. There are
now five (5) provisions which are in non-compliance; as opposed to Report #15 when
there were two (2). Substantial compliance has been achieved for fifty-two percent (52%)
of the provisions. Forty-five percent (45%) of the provisions are in partial compliance.
Three percent (3%) of the provisions are in non-compliance.
       Over time, OPSO has made material progress as indicated by the movement of non-
compliance to partial compliance to substantial compliance for over half of the provisions.
At different times during the duration of the Consent Judgment, including in some areas in
this report, there has been regression in the progress towards compliance. As will be
addressed in individual areas, OPSO has shown regression from the progress reflected in
Compliance Reports #10-15 in some provisions due to failure to consistently follow and
enforce policies and procedures and to provide required annual training.
       During the onsite visit for Compliance Report #16, it was apparent that the efforts
made by Chief LeCounte to utilize analyses of data, including grievance data and use of
force data to determine policy adherence and develop action plans to address
shortcomings and make decisions had been mostly abandoned with his departure. For
those efforts to be renewed and furthered, reliable data which is analyzed in an impartial
manner and the development of a systematic approach to making decisions and
implementing and enforcing them must occur. Until that occurs, the same deficiencies are
likely to continue to be noted time and time again.
       Sheriff Gusman and Chief LeCounte put in place a weekly meeting of managers to
review performance measures; similar to a CompStat meeting. While initially viewed as a
positive step towards implementation of the strategies that should result in progress, it
has shown to be ineffective as there have not been any performance measures put in place
or corrective action plans on how to meet the performance measures.
             Table 1 – Summary of Compliance – All Compliance Reports1
       Compliance            Substantial  Partial              Non-          NA/
      Report/Date            Compliance Compliance          Compliance       Other         Total
   #1 – December 2013            0          10                  85            76            171

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     #2 – July 2014               2             22            149            1        174
     #3 – January 2015            2             60            110            2        174
     #4 – August 2015            12            114            43             4        173
     #5 – February 2016          10             96            63             4        173
     #6 – September 2016         20             98            53             2        173
     #7 – March 2017             17             99            55             2        173
     #8 – November 2017          23            104            44             2        173
     #9 – June 2018              26             99            46             2        173
     #10 – January 2019          65             98             8             2        173
     #11 – September 2019       103             66             5             0        174
     #12 – May 2020             118             56             0             0        174
     #13-- November 2020        111             59             4             0        174
     #14—May 2021               100             67             7             0        174
                                 4
     #15—November 2021          97              77             0             0        174
     #16—May 2022                95             77             2             0        174


The status of compliance (February 11, 2015 and April 22, 2015) is as follows:
           Table 2 – Status of Compliance with 2015 Stipulated Agreements

        Compliance     Substantial       Partial            Non-
                                                                             NA      Total
       Report/Date     Compliance      Compliance        Compliance
     August 2015          21               12                 1                  0    34
     February 2016        21               12                 1                  1    34
     September 2016       26                7                 1                  0    34
     March 2017           28                4                 1                  1    34
     November 2017         21              11                 1                  1    34
     June 2018            23                8                 2                  1    34
     January 2019         28                5                 0                  1    34
     September 2019       28                5                 0                  1    34
     May 2020             28                5                 0                  1    34
     November 2020        32                2                 0                  0    34
     May 2021             32                2                0                   0    34
     November 2021        32                2                0                   0    34
     May 2022              32               2                0                   0    34
B.     Opportunities for Continued Progress
       The Monitors summarize below the areas identified in preparation of this report
regarding OPSO’s current level of compliance with the Consent Judgment.
1.     Foundational Work - The essential, core work required to achieve compliance
       includes:
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     • Policies and Procedures – OPSO has completed the essential policies and
       procedures. The Policy Manager has continued to review policies and
       perform updates. Essential is the continued development, approval, and
       implementation of lessons plans that correspond with each of the policies.
       OPSO’s policy governing its written directive system has significantly
       improved the policy/ procedure process. This process allows for
       organizational components to develop specific operational practices for
       review by OPSO administration. Unfortunately, there is often a delay
       between when policies are submitted for review, and they are returned with
       any suggested changes. Adherence to the policies, procedures, and training
       is essential. OPSO has yet to develop a reliable process for objective
       consistent auditing of adherence and consistent enforcement of policies.

       •     Inadequate staffing – OPSO has continued to hire staff but has not
       been able to gain ground on vacancies due to the number of terminations
       and resignations. During CY 2021, OPSO lost significant ground in that it
       hired 97 new staff members and lost 177 staff members through
       resignation, termination, and retirement. Through March 2022, OPSO hired
       23 new staff members and lost 45 staff members through resignation,
       termination, and retirement. Inadequate staff in the housing areas of the
       facilities (OJC and TMH) and the timely completion of use of force
       investigations continues to hamper OPSO’s ability to consistently comply
       with the Consent Judgment. OPSO continues to use employee overtime to
       address the staff shortages. Even with substantial overtime, frequently,
       there are housing units and control rooms with no assigned staffing.
       Further, almost daily, assigned staff leave housing units and control pods
       unattended for meal breaks and other duties. While a pay scale which
       provides for improvement in compensation with the goal of increased
       retention of staff and assistance in the recruitment efforts has been
       discussed, there was not a request by OPSO during the Sheriff Gusman
       administration for the necessary funding to implement the pay scale. A
       request for money to raise salaries has been requested by Sheriff Hutson in

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        the 2023 budget. OPSO is strongly encouraged to review its deployment of
        staff. It is apparent that staff are not being deployed to the areas where the
        need is most critical, staffing the housing units. While redeployment of staff
        is unlikely to fully address the staffing shortage, it would be helpful in
        addressing the most critical needs. During the monitoring period, there was
        a severe lack of supervisors on the evening/night shift due to the majority of
        the supervisors working on the day shift. Sheriff Hutson has made
        redeployment of staff, including adequate supervision on the evening/night
        shift a priority.
     • Training – Employee training for security staff, both pre-service and in-
        service, has made progress over time, but has taken a step back with the lack
        of staff. In 2021, OPSO reinstated the practice of assigning new deputies to a
        training officer during the first three weeks of assignment to OJC (field
        training program), but enforcement and follow through has been sporadic
        and occurred even less often in the first quarter of 2022. The sergeant
        supervising the program also has the duty of running the school program
        which has hampered her efforts to meet with the new deputies and provide
        them mentoring and guidance. A field training program needs to be fully
        implemented with follow up as to the affect the program has on turnover.
        The program, if allowed to be fully implemented, is likely to result in a
        reduction of turnover and a reduction in rule violation by new deputies.
        OPSO did its annual training in CY 2021 with 99% attending.

     • Supervision – Safe operation of OPSO’s facilities requires an adequate
        number of sufficiently trained first line and mid-management supervisors
        and clear lines of authority and responsibility. When Independent
        Compliance Director Hodge was in charge of operations, he implemented the
        unit management approach and provided training and mentoring for the
        managers. While there are benefits to a unit management system, the unit
        management system has blurred the lines of responsibility and
        accountability. This is particularly apparent when there are no unit
        managers on duty and the supervision of the jail is the responsibility of the
        watch commanders. Given that the unit managers are seldom present at the
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              facility after 4:00 p.m. or weekends, the authority of the watch commanders
              to assign and supervise the staff is crucial to the safe operation of the OJC.
              During the monitoring period, there often was not anyone higher than the
              rank of sergeant on duty in the evening and overnight hours and on the
              weekends.
2.     Medical and Mental Health Care – The Medical and Mental Health Monitors
       report challenges remain in the provision of basic care, staffing, and recordkeeping,
       as well as the need for improved collaboration with custody/security staffing.
       Security staff were found to be responsible for the performance of some of the
       “suicide watches” during the on-site visit. While there was some improvement in
       the deputies’ knowledge of their duties to perform and document suicide watches,
       inconsistency with how suicide watches were performed and documented by the
       mental health technicians was still noted; resulting in inconsistency of the
       reporting of data. Resources from Tulane University continue to be particularly
       helpful in providing psychiatric mental health care, but the psychiatrists have had
       difficulty accessing their clients due to the shortage of security staff. In addition,
       Tulane University is not responsible for many aspects of mental health care
       required by the Consent Judgment. An important part of the long-term solution to
       the lack of compliance with the Consent Judgment in the areas of medical and
       mental health is the design and construction of Phase III, a specialized building
       which will contain an infirmary and housing for inmates with acute mental health
       issues. The City extensively renovated portions of TDC (now referred as TMH or
       Temporary Mental Health) as a stop gap measure. OPSO does not utilize all of the
       TMH units due to a lack of security staffing. Inmates with acute mental health issues
       continue to be housed in OJC which is inadequate for the housing of these inmates.
       The lack of security staff continues to hamper the efforts of the medical and mental
       health staff to perform their duties.
3.     Inmate Safety and Protection from Harm - Providing a safe and secure jail
       continues to be a challenge.
           • Unit Management—The Unit Management approach is being used in the
              supervision of the OPSO housing units. Each floor of the OJC, the IPC, and the
              TDC/TMH have been designated as a “unit”. The purpose of this strategy is
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        to enhance accountability for both staff and the inmates by allowing the staff
        to get to know the inmates. The effectiveness of the Unit Management
        approach has been greatly hampered by the lack of development of
        management plans for problematic inmates. It also has blurred the lines of
        responsibility and accountability as indicated above.
     • Violence – There were still significant incidents of violence occurring within
        the facilities during the monitoring period; including inmate-on-inmate
        assaults and assaults on staff. Most often, the inmate-on-inmate assaults
        occurred when there was no deputy stationed in the housing unit. Especially
        concerning is that inmates continue to fashion weapons from items found in
        the jail. As one source of contraband (such as the light supports in the utility
        closets and the cabinets at the front of the day room) is identified and
        eliminated, the inmates then discover a new source of material from which
        to fashion weapons. For example, inmates have begun to pry off the metal
        sheeting around the sinks in the janitor closets. In reality, few, if any, of the
        sources of contraband would be available to the inmates if the staff followed
        policies regarding supervision and limiting access to materials. Also
        concerning was the refusal of OPSO to take timely action to secure, or, better
        yet, remove the cabinets despite this issue being raised at the monthly
        meetings with OPSO practically every month during the monitoring period.
        This issue was addressed outside of the monitoring period by Sheriff
        Hutson’s staff within two months of taking over the OJC. Another concern is
        the lack of effective random shakedowns resulting in the continued presence
        of weapons, pills, and other contraband in the housing units. Disorder and
        non-compliance with the institutional rules cause staff to use force to gain
        control and compliance. There is inadequate use of de-escalation techniques
        before resorting to force, including repeated examples of using OC spray
        without adequate de-escalation and/or in retaliation against inmates.
        Seldom are mental health staff involved when de-escalation is attempted
        even though a large percentage of the inmates involved in uses of force are
        on the mental health caseload. The number of overdoses linked to illicit
        drugs and prescription medication continues to be high. One inmate died
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        while in custody during the CY 2021. Two inmates died in June 2022 (one as
        a result of an inmate-on-inmate altercation and the other by means of
        suicide from leaping off the mezzanine).
     • Inmate Classification – The inmate classification process requires continued
        attention to ensure housing decisions and placements are consistent with
        OPSO policies and objective classification principles. Credible auditing needs
        to focus on identifying issues and correcting placements. Once again, during
        the tour, the housing audits were found to be wholly inadequate. This is
        particularly disturbing since the inadequacies of the housing audits and the
        apparent unawareness of the classification manager of the failure of staff
        assigned to her to complete audits over a six-month period had been a point
        of emphasis during the last tour and was supposed to be part of a corrective
        action plan. During this monitoring period, it is clear that the classification
        manager had not followed policy by reviewing the audits and taking
        necessary corrective action. There is no analysis done when inmates are
        involved in an altercation to determine whether they should have been kept
        separate.
     • Inmate grievances – As of Report #11, the ratings of the subdivisions in the
        grievance provision were individually given. The separate ratings allowed
        the areas in which deficiency existed to be highlighted. Timeliness and
        adequacy of responses is still not in substantial compliance. The trend data
        from the grievance system is now available to assist in identifying problems
        to be addressed, but there was a lack of follow through by the
        administration under Sheriff Gusman.
     • Incident Reporting –The accurate timely reporting of incidents has been a
        constant area of concern. There remain serious incidents for which no
        report or no timely report is prepared by OPSO staff, including incidents
        involving the serious injury of inmates and drug overdoses. There continue
        to be reports which are incomplete and do not provide the necessary
        information for the reader to determine what occurred and why it occurred.
        It is particularly concerning that incomplete and sometime inarticulate
        reports have been reviewed by and approved by a supervisor. OPSO began
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              implementation of a corrective action plan over a year ago to address
              timeliness and thoroughness of reports which includes training and
              remedial action including discipline, but it has not adequately addressed the
              issue. Part of the problem is the lack of resources dedicated to the gathering
              and auditing of reports. In October 2022, changes were made to the way
              reports were distributed to the Monitors and parties which has improved
              the timeliness of provision of completed reports, but the timeliness of the
              completion of reports and quality of reports still need to be addressed. The
              change has also highlighted that there are incidents which should have been
              reported to the monitors and the parties which were not reported.

           • Jail Management System – An integral part of the jail’s operational
              improvement is tied to an effective jail management system. Such capacity
              provides on-demand, routine, and periodic data to inform critical leadership
              and management decisions. Such an information system has not been
              implemented. After OPSO cancelled the contract with the provider who was
              to supply a new JMS, due to the inability to interface with the Orleans Parish
              court system, the City of New Orleans was to purchase a JMS which will
              interface with the Orleans Parish court system and the OPSO information
              systems. Despite the passage of several years, there is no definite timeline
              for that process. In the meantime, OPSO has modified its current system to
              provide more of the required JMS functions. One of the crucial areas lacking
              is a way to electronically verify that security checks are taking place in a
              timely fashion. With the change in administration, there appears to be a
              much-needed emphasis on improving the functioning of the OPSO
              information systems.
4.     Sanitation and Environment Conditions – Challenges remain regarding the
       public health and inmate/staff safety risks. During the on-site visit, inmates were
       often seen not wearing their masks or wearing the masks in an improper manner.
       The COVID-19 pandemic has presented additional challenges for the extremely
       dedicated sanitation staff. The inability to fill support positions identified in OPSO’s
       staffing analysis negatively impacts the ability of OPSO to sustain compliance with
       the requirements of the Consent Judgment and align with accepted correctional
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       practice. Sanitation and cleanliness of the cells and housing areas are not solely the
       responsibility of the sanitation staff. The unit managers and pod deputies have the
       first responsibility for ensuring inmates keep their cells and dayroom areas clean
       and uncluttered. As with past tours, during the monitoring tour, when sanitation
       concerns were called to the attention of pod deputies and supervisors, they often
       tried to explain them away by stating they had told the inmate to correct the issue.
       If true, follow through is clearly lacking.
5.     Youthful Inmates – No youthful offenders were held in OJC during the monitoring
       period. The Monitors applaud the effort being made to house youthful offenders in
       the Juvenile Justice Intervention Center (JJIC). It should be noted that housing one
       youthful offender is enough to tie up an entire housing unit.

6.     Inmate Sexual Safety – OPSO underwent its required audit of compliance with the
       Prison Rape Elimination Act of 2003 (PREA) and passed in September 2019. Since
       that time, the sergeant who was assigned as the PREA Coordinator was moved from
       that assignment and reassigned to a housing area. One of the PREA managers has
       been acting in the role of the PREA Coordinator, in addition to her duties, for years.
       One person overseeing PREA efforts may be sufficient, but the organizational chart
       should be updated to indicate that decision. Continued internal collaboration
       among OPSO security, classification, and the medical/mental health provider is
       needed for the assessments of inmates’ potential vulnerability to sexual assault.
       Due to the overuse of intake units to house inmates, inmates of various PREA
       designations continued to be housed together without an appropriate plan to keep
       them separate during time out of cell. OPSO cannot rely on an audit that is three
       years old to demonstrate compliance with PREA. The new administration is
       exploring having an updated PREA audit conducted in the near future.
7.     Compliance, Quality Reporting, and Quality Improvement – An essential
       element of inmate safety is OPSO’s timely review of all serious incidents as well as
       of non-violent incidents to determine if there are trends and/or patterns. This
       ensures assessment of root causes and the development, implementation, and
       tracking of action plans to address the causes. This activity focuses on resolving
       problems. OPSO has talked about undertaking this function, but during this
       monitoring period really made little effort to do so. Especially concerning are
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       systemic issues, which if they remain unaddressed, will continue to create risks to
       institutional safety and security. The Monitors encourage the new administration at
       OPSO to dedicate more time and knowledgeable resources to quality improvement.
       Impediments in the past include the lack of staff with the skills and/or time to
       devote to the task and failure to hold staff accountable for failure to follow
       corrective action plans.
8.     Stipulated Agreements 2015 – OPSO should review its on-going compliance with
       the two Stipulated Agreements from 2015. Several provisions remain in partial
       compliance, without any progress towards substantial compliance.
9.     Construction Projects –
           • The Docks – Construction of the renovations on the Docks has been
              completed. Due to COVID-19, court dockets were reduced. With the
              reopening of the courts, the Docks are once again being used for court
              holding in addition to court access.

           • TDC Mental Health (TMH)– Two housing units in the Temporary Detention
              Center (TDC) (total of four units) were renovated to provide for housing
              inmates with acute mental illness pending the construction of Phase III.
              After completion, the male inmates with acute mental illness were moved
              from Hunt into one of the housing units. During the monitoring period, OPSO
              housed acute male inmates and acute female inmates in TMH. However, only
              three of the four units were operational during the monitoring period. Some
              acute inmates remain in OJC due to the decision not to assign sufficient staff
              to operate all four of the TMH units. All sub-acute inmates remain in OJC.
              OPSO is encouraged to find a way to staff the fourth unit at TMH to address
              the backlog of acute inmates currently housed at OJC. While TMH is not a
              suitable long-term solution to meet the requirements of the Consent
              Judgment as to medical and mental health services, it is a necessary interim
              step on mental health services given no satisfactory housing for acute
              inmates in OJC. The operation of TMH has reaffirmed the necessity of single
              person cells for the majority of acute inmates which should be factored in
              the operational capacity of Phase III. It is important to note that TMH does

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              nothing to address the lack of infirmary and medical housing in OJC and lack
              of programming space. Even with the construction of Phase III, there will be
              a need for safe and suitable housing for sub-acute inmates.

           • Phase III –Monthly meetings of the Executive Committee have been held and
              have allowed input on decisions from the various stakeholders and the
              Monitors. The construction and occupation of Phase III are critical to the
              provision of mental and medical health services in accordance with the
              Consent Judgment. Court intervention has been required to keep the project
              moving forward.
C.     Review Process of Monitors’ Compliance Report #16
       A draft of this report was provided to OPSO, Counsel for the Plaintiff Class, and the
Department of Justice (DOJ) on November 15, 2022. Comments were provided by Counsel
for the Plaintiff Class and DOJ on December 2, 2022. OPSO chose not to make comments as
Sheriff Hutson was not in charge during the monitoring period. The Monitors considered
the comments of the parties in finalizing Report #16.
D.     Communication with Stakeholders
       The Monitors are committed to providing as much information as possible
regarding the status of OPSO’s efforts to comply with all orders of the Court. During the
monitoring period, OPSO did not honor the request of the Monitors to provide a link to the
current reports on the OPSO website.
E.     Recommendations
       Over the years, the Monitors have provided multiple recommendations and
suggestions to OPSO to achieve and maintain compliance with the Consent Judgment. The
purpose of the recommendations continues to be to assist OPSO in achieving and
maintaining compliance. While much progress has been accomplished, many of the
recommendations made in the past have not been implemented. Only “new”
recommendations and suggestions are included within the body of this report. While the
Consent Judgment may not require, in all situations, that OPSO follow the
recommendations and suggestions of the Monitors, refusal to implement the
recommendation or a suitable alternative is unlikely to result in compliance.

F.     Conclusions and Path Forward

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        OPSO has been operating under the provisions of the Consent Judgment since June
2013; monitoring began in Fall 2013. During the leadership of Director Hodge, significant
improvements were acknowledged by the Monitors. The hiring of Byron LeCounte as Chief
of Corrections in February 2019 was beneficial as his additional expertise and experience
allowed Director Hodge to focus on the Consent Judgment. Sheriff Gusman resumed the
role of full responsibility for bringing OPSO into compliance with the Consent Judgment in
August 2020. Sheriff Gusman was defeated in the election held in December 2021 which
seemed to lessen his desire to make progress in obtaining compliance during the
remainder of his tenure. Chief LeCounte resigned from the OPSO in December 2021 which
created a significant leadership vacuum. Sheriff Hutson was sworn in as Sheriff in May
2022.
        It continues to be concerning that the same deficiencies pointed out in previous
reports by the Monitors continued to exist and were not resolved. Serious incidents and
harm to inmates continue to occur. OPSO has made some efforts to identify and address
sources of contraband, but the Monitors encountered inmates smoking, including
marijuana and synthetic marijuana, in the facility and weapons have frequently been
fashioned from materials within the OJC. Dangerous medication is frequently found during
cell shakedowns suggesting that the medication distribution process continues to be
flawed.
        What improvement there had been made in OPSO’s data collection prior to this
monitoring period appeared to have been mostly abandoned. Data collection and analysis
is key to problem solving with a goal of a sustainable reduction in inmate-on-inmate
assaults, inmate-on-staff assaults, uses of force, contraband, and property damage.
Development of corrective action plans based on thorough analysis of the data and root
cause reviews are crucial to improvement. Follow-through on implementation is essential.
The Monitors are hopeful that improvement will take place with the emphasis placed on
data collection and analysis by OPSO under Sheriff Hutson.
        The Monitors remain committed to the Court and the parties to collaborate on
solutions that will result in significant improvement towards compliance with the
provisions of the Consent Judgment and future achievement of constitutional conditions.

 The Monitors again thank and acknowledge the leadership, guidance, and support

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           of The Honorable Lance M. Africk and The Honorable Michael B. North.




I. A.     Protection from Harm
Introduction
          This section of the Consent Judgment addresses core correctional functions
including the use of force (policies, training, and reporting), identification of staff involved
in uses of force through an early intervention system, safety and supervision of inmates,
staffing, incidents and referrals, investigations, pre-trial placement of inmates in the
facility, classification, the inmate grievance process, sexual safety of inmates, and inmates’
access to information.
          The Consent Judgment requires that OPSO operate the facility to assure inmates are
“reasonably safe and secure.” Based on objective review of data, the facility has shown
improvement in inmate and staff safety over the life of the Consent Judgment, but
significant incidents that result in serious injury to inmates and staff continue to occur.
Concerning is that inmates continue to fashion weapons out of items available in the jail.
Inmate on inmate assaults often happen with no staff present to prevent the incident from
occurring or to intervene to stop the incident. These are often incidents which result in
injuries severe enough to require hospitalization. This would not have occurred if the
facility was properly staffed, and the staff were properly supervising the inmates. Also
concerning is the lack of a sense of urgency to address the issue of dangerous contraband
even when the source of contraband has been determined.
          Reaching and sustaining compliance with provisions of the Consent Judgment,
particularly this section, relies on the collection, analysis, and corrective action planning
using accurate and reliable data. The Monitors encourage OPSO to continue efforts to build
its capacity to collect and analyze relevant accurate data, draw supportable conclusions to
inform decisions throughout the organization, develop corrective action plans, implement
corrective action plans, and hold staff accountable for non-adherence to corrective action
plans and policies. As OPSO’s capacity to collect, analyze, plan, and implement is enhanced,
the ability to achieve and maintain compliance will be strengthened. Without an
enhancement in capacity and dedication to making and implementing informed decisions,

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OPSO is unlikely to achieve and maintain compliance and likely to regress.
        The reporting of incidents to the Monitors and parties has been sporadic during the
monitoring period. There were periods of weeks no reports were submitted as the
responsible OPSO was not at work and no one else was assigned the duty. OPSO has not
consistently had someone review the daily medical logs for inmates taken to the clinic for
treatment subsequent to an altercation or a use of force as well as the transport logs of
inmates routed to the hospital with trauma-related injuries to cross check them against
reported incidents. A continuing issue is the lack of meaningful consequences for
supervisors and deputies who fail to comply with the reporting policies resulting in late,
incomplete, or missing incident reports.
        The Monitors reviewed all reported incidents for the monitoring period in
preparation of this report. The following charts compare the totals for the calendar years
(CY) 2018-2021 and the first seven months of CY 2022. Unfortunately, given that the
system for reporting incidents has proven to be unreliable, it is impossible to tell if a
particular decline is the result of reporting errors as opposed to an actual decline in a type
of reportable incident. It is suspected that it is not the result of an actual decline incidents,
but, instead, the result of not reporting incidents and/or not forwarding the incident
reports to the Monitors.
                          Table 3 - All OJC Reported Incidents for CY 2018-July 2022

                                                        Table 3 - All OJC Reported Incidents
                                                               for CY2018 - July 2022
  500
  450
  400
  350
  300
  250
  200
  150
  100
   50
    0
                                                                                                                                           (AKA slip/falls/…
                                                                        Death




                                                                                                                                                                                                 Other
                                                                                                                                                                            Arrest/Misconduct/
         Inmate/ Inmate



                          Inmate Staff



                                         Use of Force




                                                                                                                                                               Contraband
                                                          PREA




                                                                                                                        Criminal Damage



                                                                                                                                          Inmate Medical
                                                                                   Attempt Suicide/



                                                                                                      Internal Escape
                           Altercation




                                                                                                                                           Inmate Injury/
            Assault




                                                                                                                                                                                Suspension
                                                                                       Ideation




                                                                                                                                                                                   Staff




                                                                 2018           2019           2020            2021       2022




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                                                                                                                                                                                                    Inmate Medical (AKA
                                                                                                                                                                                                    slip/falls/ overdoses)




                                                                                                                                                                                                                                                         Arrest/Misconduct/
                                                                                                       Attempt Suicide/




                                                                                                                                                                   Criminal Damage
            Inmate/ Inmate




                                                                                                                                Internal Escape




                                                                                                                                                                                                        Inmate Injury/
                                                     Use of Force
                              Inmate Staff




                                                                                                                                                                                                                                 Contraband




                                                                                                                                                                                                                                                             Suspension
                               Altercation




                                                                                                           Ideation
               Assault




                                                                                          Death




                                                                                                                                                                                                                                                                              Other
                                                                            PREA




                                                                                                                                                                                                                                                                Staff
   2018            442               64                      260                   47             2                78                             48                                 69                        262                     106                              3         15
   2019            440              117                      358                   42             0                82                              6                                 47                        145                     302                              0          6
   2020            309              139                      372                   35             3                21                              1                                 64                         64                     351                              0          1
   2021            293              124                      311                   17             1                20                              1                                 42                         43                     350                              0          0
   2022            183               29                      127                   17             2                20                              2                                 23                         19                      95                              0          1
The number of inmate-staff altercations, use of force, and contraband in CY 2020 exceeded
both CY 2018 and CY 2019. This was despite the inmate population having decreased
significantly. In CY 2021, the number of reported inmate on inmate assaults, inmate/staff
altercations, and uses of force declined slightly, but it should be noted that there is still an
alarming use of weapons in assaults resulting in serious injuries. The rate of inmate-on-
inmate assaults in CY 2022 is on track to exceed CY 2020 and CY 2021.
          Table 4 –All OJC Reported Incidents by Type by Month CY 2018-July 2022



                                             Table 4 - All OJC Reported Incidents by Type
                                                  by Month for CY2018 - July 2022
  1600

  1400

  1200

  1000

   800

   600

   400

   200

     0
                             Feb




                                                                                                           July
              Jan




                                                                                   May




                                                                                                                                                       September




                                                                                                                                                                                                                                                                Total
                                                                                                                                                                                                                      November
                                                                                                                                                                                          October




                                                                                                                                                                                                                                              December
                                             March



                                                                    April




                                                                                             June




                                                                                                                            August




                                                                            2018         2019         2020                2021                     2022




                                                                            COMPLIANCE REPORT #16                                                                                                                                                                    21
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                                                                                                     November



                                                                                                                December
                                                                                Septembe




                                                                                           October
                                                                       August
                             March




                                                                                                                            Total
                                      April




                                                      June
                                                May




                                                              July
                     Feb
             Jan




                                                                                r
   2018       92     96     112      121        124   144     116     132         112      113       105        129        1396
   2019      123     93     105      112        117   129     113     152          94      137       144        113        1432
   2020      107    113      98      109         84   144      98     106          67       75       109        110        1220
   2021      125     80      78      109         77    97      91      70          78      113        89         72        1079
   2022       77     88      66       50         55    66      66       0           0        0         0          0         468


Assessment Methodology
Dates of visits:
     • October 2-3, 2021 (Lead Monitor only)
     • November 15-18, 2021 (Lead Monitor only)
     • December 20, 2021 (Lead Monitor only)
     • March 15-16, 2022 (Lead Monitor only)
     • April 7, 2022 (Lead Monitor only)
     • April 19-21, 2022 (Lead Monitor only)
     • May 17-18, 2022 (Lead Monitor only)
     • June 27-30, 2022 (All Monitors)
Materials reviewed:
   • Materials reviewed include the Consent Judgment, OPSO policies and procedures,
          use of force reports, incident reports, and investigations conducted by Investigative
          Services Bureau-Internal Affairs Division (ISB-IAD), investigations conducted by
          ISB-Criminal Division (ISB-Criminal), investigations conducted by ISB-Inmate
          Division, training materials, shakedown logs, and post logs.
Interviews:
     • Interviews included the Sheriff, command staff, jail supervisors, commander of ISB,
          commander of IAD-Administrative, chief of investigations, chief of corrections (now
          referred to as warden), classification manager and staff, director of training, and
          various supervisors of units within ISB. Inmates were interviewed by the Monitors
          onsite for the visit. The Monitors also attended security-related meetings.

IV. A. 1. Use of Force Policies and Procedures
A. 1. a. OPSO shall develop, implement, and maintain comprehensive policies and procedures (in
accordance with generally accepted correctional standards) relating to the use of force with particular
emphasis regarding permissible and impermissible uses of force.
A. 1. b. OPSO shall develop and implement a single, uniform reporting system under a Use of Force
Reporting policy. OPSO reportable force shall be divided into two levels, as further specified in policy:
Level 1 uses of force will include all serious uses of force (i.e., the use of force leads to injuries that are
extensive, serious or visible in nature, including black eyes, lacerations, injuries to the mouth or head,
multiple bruises, injuries to the genitals, etc.), injuries requiring hospitalization, staff misconduct, and
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occasions when use of force reports are inconsistent, conflicting, or otherwise suspicious. Level 2 uses of
force will include all escort or control holds used to overcome resistance that are not covered by the
definition of Level 1 uses of force.
A. 1. c. OPSO shall assess, annually, all data collected regarding uses of force and make any necessary
changes to use of force policies or procedures to ensure that unnecessary or excessive use of force is not
used in OPP. The review and recommendations will be documented and provided to the Monitor, DOJ, and
SPLC.

Findings:
A. 1. a. Partial Compliance
A. 1. b. Substantial Compliance
A. 1. c. Non-Compliance
Observations:
        The current OPSO use of force policy was effective as of May 2016. It was last
reviewed in December 2021. While there is a policy, the failure to fully adhere to the policy
results in A.1.a. remaining in Partial Compliance. One of the most frequent violations of
policy has to do with the failure to attempt de-escalation before using force. There are also
numerous examples of force being used as retaliation for an inmate’s actions that do not
warrant the use of force; i.e., pepper spray for verbally refusing to comply with an order or
for having thrown a substance on the staff. The reporting system does comply with the
requirements of A.1.b., which remains in Substantial Compliance. The only documentation
regarding an annual review of the data collected regarding uses of force is a memo
(misdated May 10, 2021, instead of May 10, 2022) stating that the Use of Force Review
Board has not met since January 2022. It is the group charged with completion of the
annual review. No proof was provided that the Use of Force Review Board actually met at
all during the reporting period. The failure of the Use of Force Review Board to meet is
extremely serious as it is the entity which refers the majority of the cases to the Internal
Affairs Division for investigation and discipline, if appropriate. No annual review of the use
of force data and the policy was conducted for 2021 as required by A.1.c. Problems
regarding OPSO analysis of the data, poorly written reports, failure to properly classify
uses of force as Level One or Level Two, backlog in the number of use of force incidents to
be reviewed, and the lack of timely filed reports continue. Uses of force on specialty pods
(particularly the disciplinary pod and the mental health pod) continue to be high, but there
have been no recommendations documented and provided to the Monitors and DOJ and
counsel for the Plaintiffs to address the problem. As has been pointed out in the past, the

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Consent Judgment requires not only assessment and reduction of inappropriate uses of
force, but also unnecessary uses of force. This is not occurring. Examination of the use of
force reports by the Monitors revealed that often the use of force is precipitated by a
failure to follow policy such as not restraining the inmate prior to movement or allowing
an inmate out of his/her cell with another inmate(s) from whom he/she is to be kept
separate or failing to secure the food port in the cell door. Incident reports most often
demonstrate a lack of de-escalation efforts as required by the Consent Judgment;
particularly before using OC spray. Seldom are mental health staff called upon to assist in
de-escalation although a majority of the inmates upon whom force is used are on the
mental health caseload. With the failure of OPSO to conduct the annual review of the 2021
uses of force, A.1.c., is now in Non-Compliance. Concerns regarding timeliness of
submission of use of force reports and reviews are addressed in those sections.
IV. A. 2. Use of Force Training
A. 2. a. OPSO shall ensure that all correctional officers are knowledgeable of and have the knowledge,
skills, and abilities to comply with use of force policies and procedures. At a minimum, OPSO shall
provide correctional officers with pre-service and annual in-service training in use of force, defensive
tactics, and use of force policies and procedures. The training will include the following:
          (1) instruction on what constitutes excessive force;
          (2) de-escalation tactics; and
          (3) management of prisoners with mental illness to limit the need for using force.
A. 2. b. OPSO shall ensure that officers are aware of any change to policies and practices throughout
their employment with OPP. At a minimum, OPSO shall provide pre-service and annual in-service use of
force training that prohibits:
          (1) use of force as a response to verbal insults or prisoner threats where there is no immediate
          threat to the safety or security of the institution, prisoners, staff, or visitors;
          (2) use of force as a response to prisoners’ failure to follow instructions where there is no
          immediate threat to the safety or security of the institution, prisoners, staff, or visitors;
          (3) use of force against a prisoner after the prisoner has ceased to offer resistance and is under
          control;
          (4) use of force as punishment or retaliation; and
          (5) use of force involving kicking, striking, hitting, or punching a non-combative prisoner.
A. 2. c. OPSO shall randomly test five percent of the correctional officer staff on an annual basis to
determine their knowledge of the use of force policies and procedures. The testing instrument and
policies shall be approved by the Monitor. The results of these assessments shall be evaluated to
determine the need for changes in training practices. The review and conclusions will be documented
and provided to the Monitor.
Findings:
A. 2. a. Substantial Compliance
A. 2. b. Substantial Compliance
A. 2. c. Substantial Compliance
Observations:
        The Monitor reviewed the training materials testing documentation and the
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supplemental documentation submitted by training staff for the rating period and
interviewed the Training Major, Sergeant, and Instructor present on the day of the
inspection. Training staff advised that the annual in-service Use of Force, Defensive
Tactics, and Use of Force policy and procedure training requirements for CY 2021 were
conducted in April 2021 with makeup training conducted in November 2021. A
completion rate of just over 96% overall was achieved. Documentation reflected 335 staff
members who received the training mandated by Section A.2.a. and Section A.2.b. The
Monitor considers the 96% completion rate to substantially meet the requirement for this
section for CY2021 (included by this rating period).
       The Monitor reviewed training documentation verifying that Use of Force training
was provided as required during all pre-service classes.
       The Monitor’s review of the use of force training materials noted that the lesson
plan, PowerPoint presentation, and testing materials substantively cover the requisite
information in A. 2. b. 1-5. The proof of training documentation indicates that the pre-
service OPSO staff received the required training on policies and practices from the
Academy staff.
       Additionally, a thorough review of the CY 2021 use of force reports reveals the
need for additional training which emphasizes de-escalation and provide deputies with
additional tools when dealing with inmates with mental health issues and inmates who
routinely exhibited behavioral problems. Given some very problematic incidents in which
staff observed inappropriate uses of force and did not stop or report the same, it is
strongly suggested that the duty to intervene and report be emphasized. As any security
staff member may have to deal with an inmate with mental health issues, it is
recommended that mental health training be made mandatory for all security staff; not
just those daily assigned to the mental health units.
       The Monitor reviewed training documentation provided by training staff specific to
the 5 percent annual testing requirement for A.2.c. Testing documentation for 2021
showed it to have occurred primarily in April 2021. Training staff continue to pursue a
goal of 15% testing, exceeding that of the consent judgement language. The test was
administered to approximately 43 individual deputies and approximately 15 supervisory
staff members. The actual testing percentage achieved was approximately 16.5%. The test
for 2021 was approved by Monitor Frasier April 21, 2021.
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        The Monitor has, in the past, observed that the Academy staff has maintained
detailed, comprehensive, and very well-maintained files. In response to our request for
documentation, the Academy staff provided succinct and thorough reports as to who had
and who had not completed the required use of force training.
IV. A. 3. Use of Force Reporting
A. 3. a. Failure to report a use of force incident by any staff member engaging in the use of force or
witnessing the use of force shall be grounds for discipline, up to and including termination.
A. 3. b. OPSO shall ensure that sufficient information is collected on uses of force to assess whether staff
members complied with policy; whether corrective action is necessary including training or discipline;
the effectiveness of training and policies; and whether the conditions in OPP comply with this
Agreement. At a minimum, OPSO will ensure that officers using or observing a Level 1 use of force shall
complete a use of force report that will:
          (1)       include the names of all staff, prisoner(s), or other visual or oral witness(es);
          (2)       contain an accurate and specific account of the events leading to the use of force;
          (3)       describe the level of resistance and the type and level of force used, consistent with OPP
                    use of force; policy and procedure, as well as the precise actions taken by OPSO staff in
                    response to the incident;
          (4)       describe the weapon or instrument(s) of restraint, if any, and the manner of such use be
                    accompanied by a prisoner disciplinary report, if it exists, pertaining to the events or
                    prisoner activity that prompted the use of force incident;
          (5)       describe the nature and extent of injuries sustained by anyone involved in the incident;
          (6)       contain the date and time when medical attention, if any, was requested and actually
                    provided;
          (7)       describe any attempts the staff took to de-escalate prior to the use of force;
          (8)       include an individual written account of the use of force from every staff member who
                    witnessed the use of force;
          (9)       include photographs taken promptly, but no later than two hours after a use of force
                    incident, of all injuries sustained, or as evidence that no injuries were sustained, by
                    prisoners and staff involved in the use of force incident;
          (10)      document whether the use of force was digitally or otherwise recorded. If the use of
                    force is not digitally or otherwise recorded, the reporting officer and/or watch
                    commander will provide an explanation as to why it was not recorded; and
          (11)      include a statement about the incident from the prisoner(s) against whom force was
                    used.
A. 3. c. All officers using a Level 2 use of force shall complete a use of force report that will:
             (1)      include the names of staff, prisoner(s), or other visual or oral witness(es);
             (2)      contain an accurate and specific account of the events leading to the use of force;
             (3)      describe the level of resistance and the type and level of force used, consistent with OPP
                      use of force policy and procedure, as well as the precise actions taken by OPSO staff in
                      response to the incident;
             (4)      describe the weapon or instrument(s) of restraint, if any, and the manner of such use;
             (5)      be accompanied by a prisoner disciplinary report, if it exists, pertaining to the events
                      or prisoner activity that prompted the use of force incident;
             (6)      describe the nature and extent of injuries sustained by anyone involved in the incident;
             (7)      contain the date and time when medical attention, if any, was requested and actually
                      provided; and
             (8)      describe any attempts the staff took to de-escalate prior to the use of force.
A. 3. d. OPSO shall require correctional officers to notify the watch commander as soon as practical of
any use of force incident or allegation of use of force. When notified, the watch commander will respond
to the scene of all Level 1 uses of force. When arriving on the scene, the watch commander shall:
             (1)      ensure the safety of everyone involved in or proximate to the incident;
             (2)      determine if any prisoner or correctional officer is injured and ensure that necessary
                      medical care is provided;
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          (3)     ensure that personnel and witnesses are identified, separated, and advised that
                  communications with other witnesses or correctional officers regarding the incident
                  are prohibited;
          (4)     ensure that witness and subject statements are taken from both staff and prisoner(s)
                  outside of the presence of other prisoners and staff;
          (5)     ensure that the supervisor’s use of force report is forwarded to IAD for investigation if,
                  upon the supervisor’s review, a violation of law or policy is suspected. The
                  determination of what type of investigation is needed will be based on the degree of
                  the force used consistent with the terms of this Agreement;
          (6)     If the watch commander is not involved in the use of force incident, the watch
                  commander shall review all submitted use of force reports within 36 hours of the end
                  of the incident, and shall specify his findings as to completeness and procedural
                  errors. If the watch commander believes that the use of force may have been
                  unnecessary or excessive, he shall immediately contact IAD for investigation
                  consideration and shall notify the warden or assistant warden; and
          (7)     All Level 1 use of force reports, whether or not the force is believed by any party to be
                  unnecessary or excessive, shall be sent to IAD for review. IAD shall develop and submit
                  to the Monitor within 90 days of the Effective Date clear criteria to identify use of
                  force incidents that warrant a full investigation, including injuries that are extensive
                  or serious, visible in nature (including black eyes, injuries to the mouth, injuries to the
                  genitals, etc.), injuries requiring hospitalization, staff misconduct (including
                  inappropriate relationships
                    with prisoners), and occasions when use of force reports are inconsistent, conflicting,
                    or otherwise suspicious.
A. 3. e. Ensure that a first-line supervisor is present during all pre-planned uses of force, such as cell
extractions.
A. 3. f. Within 36 hours, exclusive of weekends and holidays, of receiving the report and review from the
shift commander, in order to determine the appropriateness of the force used and whether policy was
followed, the Warden or Assistant Warden shall review all use of force reports and supervisory reviews
including:
            (1)     the incident report associated with the use of force;
            (2)     any medical documentation of injuries and any further medical care;
            (3)     the prisoner disciplinary report associated with the use of force; and
            (4)     the Warden or Assistant Warden shall complete a written report or written statement
                    of specific findings and determinations of the appropriateness of force.
A. 3. g. Provide the Monitor a periodic report detailing use of force by staff. These periodic reports shall
be provided to the Monitor within four months of the Effective Date; and every six months thereafter
until termination of this Agreement. Each report will include the following information:
            (1)     a brief summary of all uses of force, by type;
            (2)     date that force was used;
            (3)     identity of staff members involved in using force;
            (4)     identity of prisoners against whom force was used;
            (5)     a brief summary of all uses of force resulting in injuries;
            (6)     number of planned and unplanned uses of force;
            (7)     a summary of all in-custody deaths related to use of force, including the identity of the
                    decedent and the circumstances of the death; and
            (8)     a listing of serious injuries requiring hospitalization.
A. 3. h. OPSO shall conduct, annually, a review of the use of force reporting system to ensure that it has
been effective in reducing unnecessary or excessive uses of force. OPSO will document its review and
conclusions and provide them to the Monitor, SPLC, and DOJ.
Findings:
A. 3. a. Substantial Compliance
A. 3. b. Partial Compliance
A. 3. c. Partial Compliance
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A. 3. d. Partial Compliance
A. 3. e. Partial Compliance
A. 3. f. Partial Compliance
A. 3. g. Substantial Compliance
A. 3. h. Partial Compliance
Observations:
       As to provision A. 3. a., the use of force policy requires all uses of force to be
reported timely and completely and sets out the potential discipline if the policy is not
followed. A review of documentation revealed that there were four cases of discipline for
failure to timely report a use of force or file the required statements. Due to enforcement
of the policy which states that failure to report a use of force shall be grounds for
discipline, the rating continues to be in substantial compliance.
       Provision A. 3. b. is in Partial Compliance due to the number of use of force reports
that are incomplete or inadequate. The use of force policy includes the provisions required
by the Consent Judgment, but lack of adherence still occurs. The Monitor provided a
checklist of the report requirements to assist supervisors in ensuring reports included all
necessary items. A review of those checklists and accompanying reports indicates that the
required information still found to be missing from the use of force reports such as what
led up to the incident, details of actions taken during the use of force, and resolution of the
incident. Seldom do reports include an articulation of any de-escalation tactics, a
description of injuries sustained, and when medical attention was provided. Now, deputies
and supervisors are beginning to be held accountable for failure to include required
information. Provision A. 3. c. requires less information as it is a lesser level of force, but
the deficiencies are the same as those noted for A. 3. b. and thus it is in Partial Compliance.
       The unit managers and watch commanders still are not consistently compliant with
the requirements of the Consent Judgment (IV. A. 3. d.) as to their specific duties and the
time requirement for performance of these duties under the policies. This has been noted
in multiple reports. The Consent Judgment requires submission of the packet to the
Assistant Warden within 36 hours not three (3) days. It should be noted that, while OPSO
continues to be in partial compliance, improvement did occur. OPSO provided an analysis,
but it was for the data during the reporting period for Report #15. A similar analysis and a
resulting corrective action plan need to be performed for the last quarter of 2021 and
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2022.
        A. 3. e. requires the presence of a supervisor for planned uses of force. One of the
reasons for this provision is to allow for de-escalation to be attempted before force is
carried out. OPSO supervisors seldom utilize de-escalation techniques. Given the repeated
failure of supervisors to utilize de-escalation techniques, this provision’s rating has been
downgraded to partial compliance.
        The Major of Security (also called the Unit Manager Commander) fulfills the role of
the Assistant Warden. The policy should be revised to reflect this change. The reviews,
required under IV. A. 3. f., are being conducted by this major. Data and analysis provided
indicate that the reviews required by this provision were conducted in a timely manner
five of the six months, but it consisted of a memo providing the time required with no
proof as to how these times were arrived at by OPSO. Without sufficient documentation
that the 36-hour time limit is being met, the provision remains in partial compliance. FIT
issues a quarterly report which contains all the information required by IV. A. 3. g. Thus,
this section is in substantial compliance. The annual review of use of force incidents as
required by IV. A. 3. h. was provided to the Monitors and all parties. It should be noted that
the review is based on complete data as the backlog of cases has been eliminated by FIT.
The review contained an improved analysis and confirmed the issues pointed out above,
there needs to be a corrective action plan to remedy the systemic issues. In order to
warrant a rating of substantial compliance OPSO needed to address all of the issues;
particularly the most serious issues such as the frequent use of force on the mental health
housing units and lack of de-escalation that were not addressed. Also not addressed is how
frequently uses of force would not be needed if policy was followed. Therefore, the
compliance rating remains at partial compliance.
IV. A. 4. Early Intervention System (“EIS”)
A. 4. a. OPSO shall develop, within 120 days of the Effective Date, a computerized relational database
(“EIS”) that will document and track staff members who are involved in use of force incidents and any
complaints related to the inappropriate or excessive use of force, in order to alert OPSO management to
any potential problematic policies or supervision lapses or need for retraining or discipline. The Chief
of Operations Deputy, supervisors, and investigative staff shall have access to this information and
shall review on a regular basis, but not less than quarterly, system reports to evaluate individual staff,
supervisor, and housing area activity. OPSO will use the EIS as a tool for correcting inappropriate staff
behavior before it escalates to more serious misconduct.
A. 4. b. Within 120 days of the Effective Date, OPSO senior management shall use EIS information to
improve quality management practices, identify patterns and trends, and take necessary corrective
action both on an individual and systemic level. IAD will manage and administer EIS systems. The
Special Operations Division (“SOD”) will have access to the EIS. IAD will conduct quarterly audits of the

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EIS to ensure that analysis and intervention is taken according to the process described below.
Command staff shall review the data collected by the EIS on at least a quarterly basis to identify
potential patterns or trends resulting in harm to prisoners. The Use of Force Review Board will
periodically review information collected regarding uses of force in order to identify the need for
corrective action, including changes to training protocols and policy or retraining or disciplining
individual staff or staff members. Through comparison of the operation of this system to changes in the
conditions in OPP, OPSO will assess whether the mechanism is effective at addressing the requirements
of this Agreement.
A. 4. c. OPSO shall provide, within 180 days of the implementation date of its EIS, to SPLC, DOJ, and the
Monitor, a list of all staff members identified through the EIS and corrective action taken.
A. 4. d. The EIS protocol shall include the following components: data storage, data retrieval, reporting,
data analysis, pattern identification, supervisory assessment, supervisory intervention, documentation,
and audit.
A. 4. e. On an annual basis, OPSO shall review the EIS to ensure that it has been effective in identifying
concerns regarding policy, training, or the need for discipline. This assessment will be based in part on
the number and severity of harm and injury identified through data collected pursuant to this
Agreement. OPSO will document its review and conclusions and provide them to the Monitor, who shall
forward this document to DOJ and SPLC.
Findings:
A. 4. a. Partial Compliance
A. 4. b. Partial Compliance
A. 4. c. Partial Compliance
A. 4. d. Substantial Compliance
A. 4. e. Partial Compliance
Observations:
        Due to unreliability of the electronic EIS, OPSO abandoned the original system and
fashioned an alternative version within the AS400. A FIT staff member manually monitors
the database to alert FIT staff as to the need to review any uses of force by a staff member.
        OPSO has provided its documentation to the Monitors as to the names of the staff
members who are flagged for use of force. However, no review of staff alerted under the
EIS was documented or provided. As no documentation of review by the Use of Force
Review Board was provided and it was acknowledged that the Use of Force Review did not
meet in the first quarter of 2022, A. 4. a., A. 4. b, and A. 4. c. are in partial compliance.
Continued questionable and inappropriate uses of force by the same staff members and
with the same inmates calls into question whether the EIS is being utilized to improve
management quality practices, identify patterns and trends, and take necessary corrective
action as required. Section A.4.d. is in substantial compliance as the EIS protocol contain
the required elements.
        No proof of the Use of Force Review Board meeting during the monitoring period to

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evaluate the EIS data was provided. A meeting was held for the annual review of the EIS
based on CY 2021 data. The review recommended that staff who have alerted the EIS
continue to be informed of the alert. It is unclear whether those conducting the review
noticed that EIS referrals and actions were not documented or simply did not note that
failure. This is a significant shortcoming. The review should consist of more than noting
that the EIS was triggered. It involves assessing the effectiveness of the EIS which was not
performed. Therefore, IV. A .4. e. is in partial compliance.
IV. A. 5. Safety and Supervision

A. 5. a. Maintain security policies, procedures, and practices to provide a reasonably safe and secure
environment for prisoners and staff in accordance with this Agreement.
A. 5. b. Maintain policies, procedures, and practices to ensure the adequate supervision of prisoner
work areas and trustees.
A. 5. c. Maintain policies and procedures regarding care for and housing of protective custody prisoners
and prisoners requesting protection from harm.
A. 5. d. Continue to ensure that correctional officers conduct appropriate rounds at least once during
every 30- minute period, at irregular times, inside each general population housing unit and at least
once during every 15-minute period of special management prisoners, or more often if necessary. All
security rounds shall be documented on forms or logs that do not contain pre-printed rounding times.
In the alternative, OPSO may provide direct supervision of prisoners by posting a correctional officer
inside the day room area of a housing unit to conduct surveillance.
A. 5. e. Staff shall provide direct supervision in housing units that are designed for this type of
supervision. Video surveillance may be used to supplement, but must not be used to replace, rounds by
correctional officers.
A. 5. f. Increase the use of overhead video surveillance and recording cameras to provide adequate
coverage throughout the common areas of the Jail, including the Intake Processing Center, all divisions’
intake areas, mental health units, special management units, prisoner housing units, and in the divisions’
common areas.
A. 5. g. Continue to ensure that correctional officers, who are transferred from one division to another,
are required to attend training on division-specific post orders before working on the unit.
A. 5. h. Continue to ensure that correctional officers assigned to special management units, which
include youth tiers, mental health tiers, disciplinary segregation, and protective custody, receive eight
hours of specialized training regarding such units on prisoner safety and security on at least an annual
basis.
A. 5. i. Continue to ensure that supervisors conduct daily rounds on each shift in the prisoner housing
units and document the results of their rounds.
A. 5. j. Continue to ensure that staff conduct daily inspections of cells and common areas of the housing
units to protect prisoners from unreasonable harm or unreasonable risk of harm.
A. 5. k. Continue to ensure that staff conduct random monthly shakedowns of cells and common areas so
that prisoners do not possess or have access to dangerous contraband.
A. 5. l. Provide the Monitor a periodic report of safety and supervision at the Facility. These periodic
reports shall be provided to the monitor within four months of the Effective Date; and every six months
thereafter until termination of this Agreement. Each report will provide the following information:
            (1)      a listing of special management prisoners, their housing assignments, the basis for
                     them being placed in the specialized housing unit, and the date placed in the unit; and
            (2)      a listing of all contraband, including weapons seized, the type of contraband, date of
                     seizure, location, and shift of seizure.
Findings:
A. 5. a. Partial Compliance

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A. 5. b. Substantial Compliance
A. 5. c. Partial Compliance
A. 5. d. Partial Compliance
A. 5. e. Partial Compliance
A. 5. f. Substantial Compliance
A. 5. g. Substantial Compliance
A. 5. h. Partial Compliance
A. 5. i. Partial Compliance
A. 5. j. Partial Compliance
A. 5. k. Partial Compliance
A. 5. l. Partial Compliance
Observations:
       OPSO has worked hard to finalize policies, procedures, and post orders. The
implementation of those policies, procedures, and practices and the adequate supervision
of inmate working areas results in substantial compliance as to A. 5. b. The level of
violence, an average of 22 reported inmate on inmate assaults/altercations per month are
indicative that OPSO has not substantially complied with the requirement that the facility
be reasonably safe for staff and inmates. This is a decrease over the previous monitoring
period but suspect given the systematic underreporting of reportable incidents and the
number of inmate-on-inmate assaults that are likely undetected due to the lack of staff in
the housing areas. Even at the lower number, they are still at an unacceptable level. While
the Monitors are well aware that violent incidents occur in jail facilities, the level currently
reflects partial compliance with the obligation to provide a reasonably safe and secure
environment as to A. 5. a. and A. 5. c.
       Review of the significant incidents during the monitoring period indicates that the
failure of staff to follow policy consistently continues to be a serious impediment to
effective supervision of the inmates. Staff continue to leave inmates unsupervised for
hours and allow them to have access to materials by which to fashion weapons. Many of
the inmate-on-inmate assaults occur because staff allow inmates out of their cells and
leave them unsupervised. There are inmates who repeatedly do not follow the rules of OJC
including assaulting other inmates, assaulting staff, destroying property, smoking
contraband and/or threatening self-harm. OPSO chose to house many of those inmates in a
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high-security unit. It is of concern that the practice of limiting the movement of high-
security inmates was eliminated after the monitoring period. It would be beneficial to
develop individual inmate management plans for these inmates which would include
specific security measures to be used when these inmates are allowed out of their cells.
Such plans, if carried out routinely and consistently followed by all staff, would likely
reduce the level of violence in the facility. To date, there is no indication that it is being
done on a consistent basis; if at all.

                                 Table 5 CY 2018-July 2022 OJC Reported Incidents

                                                                                                                  Inmate
                                                                                                                  Injury/
                                                                                                                                                Staff
             Use      Inmate      Inmate/      Inmate                      Attempt                                Inmate
                                                                                       Internal    Criminal                                 Misconduct-
  2018        of    Misconduct     Inmate       Staff      PREA   Death    Suicide/                              Medical      Contraband                  Other    Total
                                                                                        Escape     Damage                                   Suspension/
            Force    FLD/FFD       Assault   Altercation                   Ideation                                (AKA
                                                                                                                                               Arrest
                                                                                                                slip/falls/
                                                                                                               overdoses)

 January     13         0           38           7          2      0          6           2           3             9             9             0          3           92
 February    10         0           28           6          4      0         14           2          10             5            15             2          0           96
  March      21         0           37           7          5      0          4           3          11            18             5             0          1        112
  April      22         0           39           9          4      0          4           3          12            22             5             0          1        121
   May       24         0           52           0          5      1          0           5           8            19            10             0          0        124
  June       26         0           46           7          5      0          6           7           3            32             9             1          2        144
   July      20         0           30           4          4      0          9           3           3            30            13             0          0        116
   Aug       27         0           39           3          3      0         13           2           6            30             6             0          3        132
  Sept       14         0           33           6          2      0          7           5           4            35             6             0          0        112
   Oct       28         0           32           9          5      0          3           0           2            26             7             0          1        113
   Nov       21         0           31           6          5      0          5           8           3            18             7             0          1        105
   Dec       34         0           37           0          3      1          7           8           4            18            14             0          3        129
  Total      260            0         442             64     47        2          78          48          69            262           106            3      15     1396



                                                                                                                  Inmate
                                                                                                                  Injury/
                                                                                                                                                Staff
             Use      Inmate      Inmate/      Inmate                      Attempt                                Inmate
                                                                                       Internal    Criminal                                 Misconduct-
  2019        of    Misconduct     Inmate       Staff      PREA   Death    Suicide/                              Medical      Contraband                  Other    Total
                                                                                        Escape     Damage                                   Suspension/
            Force    FLD/FFD       Assault   Altercation                   Ideation                                (AKA
                                                                                                                                               Arrest
                                                                                                                slip/falls/
                                                                                                               overdoses)

 January     27         0           40           1          2      0         15           3           7            14            14             0          0        123
 February    29         0           26           7          2      0         13           1           0             4            11             0          0           93
  March      26         0           25           4          1      0          6           1           2            16            21             0          3        105
  April      26         0           28           7          1      0          3           0           3            15            27             0          2        112
  May*       22        12           36           11         6      0         13           0           2            11            25             0          1        117
  June       26         7           55           9          4      0         13           0           2            16            23             0          0        129
   July      31        13           50           15         5      0          6           0           3             8            13             0          0        113
   Aug       37        26           32           17         6      0          7           1           8            20            35             0          0        152
  Sept       31        18           32           4          3      0          2           0           1            10            24             0          0           94
   Oct       37        21           38           15         4      0          1           0           7            18            33             0          0        137
   Nov       33        17           55           12         7      0          0           0           6             5            42             0          0        144
   Dec       33        23           23           15         1      0          3           0           6             8            34             0          0        113


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 Total      358            137       440              117     42          0          82          6          47            145           302             0        6    1432


                                                                                                                   Inmate
                                                                                                                    Injury/
                                                                                                                                                  Staff
            Use      Inmate      Inmate/       Inmate                         Attempt                              Inmate
                                                                                          Internal   Criminal                                 Misconduct-
 2020        of    Misconduct     Inmate         Staff      PREA     Death    Suicide/                             Medical      Contraband                  Other     Total
                                                                                           Escape    Damage                                   Suspension/
           Force    FLD/FFD       Assault    Altercation                      Ideation                               (AKA
                                                                                                                                                 Arrest
                                                                                                                  slip/falls/
                                                                                                                 overdoses)

January      29            18           31              8        4        0           3          0           1              7           35              0        0     107

February     33            17           35            12         2        0           0          1           3            13            29              0        1     113

 March       31            19           24              9        1        0           1          0           3              6           35              0        0        98

 April       45            29           25            19         7        0           0          0           4              1           24              0        0     109

  May        37            26           24            11         1        0           1          0           6              3           12              0        0        84

 June        22            16           28            13         4        2           1          0           5            12            63              0        0     144

  July       21              8          22              9        1        0           2          0           4              5           47              0        0        98

  Aug        22            23           22              8        2        1           4          0          11              4           31              0        0     106

 Sept        24            14           16            12         2        0           2          0           8              4             9             0        0        67

  Oct        35            18           24            10         2        0           1          0           3              3           14              0        0        75

  Nov        33            19           28            10         5        0           2          0           9              5           31              0        0     109

  Dec        40            25           30            18         4        0           4          0           7              1           21              0        0     110

 Total      372            232       309              139     35          3          21          1          64            64            351             0        1    1220



                                                                                                                    Inmate
                                                                                                                    Injury/
                                                                                                                                                  Staff
            Use      Inmate      Inmate/       Inmate                         Attempt                               Inmate
                                                                                          Internal   Criminal                                 Misconduct-
 2021        of    Misconduct     Inmate        Staff       PREA     Death    Suicide/                             Medical      Contraband                  Other     Total
                                                                                           Escape    Damage                                   Suspension/
           Force    FLD/FFD       Assault    Altercation                      Ideation                               (AKA
                                                                                                                                                 Arrest
                                                                                                                  slip/falls/
                                                                                                                 overdoses)

January     38        34           32            20          1        0          0           0          3             3            32             0          0         125
February    27        12           30            14          2        0          1           0          2             5            14             0          0            80
 March      16        10           24            7           4        0          0           0          5             4            24             0          0            78
 April      24        17           27            10          2        0          1           1          2             4            45             0          0         109
  May       21        12           31            7           0        0          0           0          3             1            23             0          0            77
 June       34        18           25            15          0        1          0           0          4             4            30             0          0            97
  July      22        11           22            10          0        0          6           0          8             3            31             0          0            91
  Aug       18        13           19            7           0        0          5           0          2             4            20             0          0            70
 Sept       28        19           18            6           3        0          1           0          1             7            23             0          0            78
  Oct       31        21           22            8           0        0          1           0          6             3            52             0          0         113
  Nov       27        12           21            7           2        0          4           0          4             1            38             0          0            89
  Dec       25        11           22            12          3        0          1           0          2             4            17             0          0            72
 Total      311            190       293              124     17          1          20          1          42            43            350             0        0    1079



                                                                                                                    Inmate
                                                                                                                    Injury/
                                                                                                                                                  Staff
            Use      Inmate      Inmate/       Inmate                         Attempt                               Inmate
                                                                                          Internal   Criminal                                 Misconduct-
 2022        of    Misconduct     Inmate        Staff       PREA     Death    Suicide/                             Medical      Contraband                  Other     Total
                                                                                           Escape    Damage                                   Suspension/
           Force    FLD/FFD       Assault    Altercation                      Ideation                               (AKA
                                                                                                                                                 Arrest
                                                                                                                  slip/falls/
                                                                                                                 overdoses)

January      22            12           22              5        1        0           0          0           4              4           29    0                  0        77
February     26            21           18            10         3        0           1          0           4              0           31    0                  0        88
 March       15              8          24              1        2        0           4          0           4              3           20    0                  0        66
 April       12              6          28              3        1        0           6          0           4              1             1   0                  0        50
  May        15            10           24              3        5        0           3          0           4              2             4   0                  0        55
 June        22            15           31              2        2        2           5          1           2              2             4   0                  0        66

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  July      15       6    36      5     3   0      1    1      1       7       6   0         1        67
  Aug                                                                                                  0
  Sept                                                                                                 0
  Oct                                                                                                  0
  Nov                                                                                                  0
  Dec                                                                                                  0
  Total    127      78   183     29    17   2     20    2     23      19      95         0   1    469



          OPSO does not timely conduct and document security rounds (30 minutes or 15
minutes depending on the unit) nor perform direct supervision surveillance consistent
with the requirements of the Consent Judgment or OPSO policy.

          Direct supervision requires surveillance of all of the inmates and cannot be
properly performed by sitting behind a desk or in the control module. It requires walking
around the unit, looking into the individual cells, and actively engaging with the inmates.
Staffing in the housing units was observed to be inadequate throughout the OJC during the
monitoring tour. During this tour, the Monitors witnessed the most unsupervised units in
recent memory. A review of the log of security checks reveals TMH was the one area which
appeared to have sufficient staff and consistently conducted security rounds. Review of
incident reports revealed that units were often unstaffed, including mandatory posts. If
staff are not present, it is impossible to make the required rounds. The staff write their
rounds on paper forms in addition to entry into the log. While this provides an easier way
for a supervisor to see during a unit inspection if the deputy has recorded that the security
checks are being performed timely, it is insufficient proof that the security checks actually
occurred and requires watching hours of video to verify. Review of video footage after an
incident often reveals that security checks are not being conducted and/or adequately
conducted even if recorded in the logbook. OPSO indicated that with the beginning of the
formation of the compliance unit that OPSO has now started to audit log sheets with video
footage and plans to have an audit report for the next compliance period. It appears that
the audits are being conducted, if at all, by the unit managers. At the unit managers’
meeting, one of the statistics reported was the number of security checks which occurred.
The percentage reported on some units appeared to be higher than what a review of the
incident reports would reflect. It also should be noted that staff often report multiple
security rounds when it is really two or more staff members conducting a security round
at the same time. A simple review of the documentation provided indicates that there are

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often gaps of two or more hours in between security rounds. During the onsite monitoring
visit, Monitors viewed the documentation for security checks of the units in addition to the
documentation provided beforehand. When questioned, as during the previous tour,
deputies usually were able to describe what an acceptable security check would look like.
However, the deputies admitted that they did not perform all of the tasks for a proper
security check each time a security check was recorded as having taken place. Usually, an
adequate security check was only performed when a physical count of the inmates took
place; at most, twice in a twelve-hour shift. The rest of the “checks” were no more than
looking about the housing unit without leaving the deputy station, or, even more troubling,
the control station which is located outside of the housing unit. This is also obvious by staff
recording that a security round was conducted within two minutes. It is physically
impossible to walk a housing unit in two minutes, much less perform an adequate check of
the inmates. OPSO remains in partial compliance with IV. A. 5. d.
       A review of the paper logs and forms during the monitoring tour revealed that
timely rounds were often not performed and are not accurate. OPSO should consider a
reliable system that would allow for rounds, by both deputies and supervisors, to be
recorded electronically. Not only would it allow for supervisors to quickly determine
whether rounds were being conducted in a timely manner, it would allow for OPSO to
prove compliance and address non-adherence.
       All twenty-four (24) of the housing units in OJC are designed for direct supervision.
At the time of the drafting of the Consent Judgment the design of OJC was known. The
Consent Judgment requires that staff provide direct supervision in housing units that are
designed for this type of supervision. Thus, continual presence of a deputy in each housing
unit at OJC and TMH is mandatory under the Consent Judgment. OPSO, during the last
several reports, has taken the position that OPSO gets to determine which housing posts
are mandatory and routinely does not assign mandatory staff to each housing unit. In
addition, deputies are frequently absent from even the housing units designated by OPSO
as mandatory. More often than not, one deputy is assigned to two or more housing units.
OPSO’s recent interpretation of the Consent Judgment is inconsistent with the plain
wording of the Consent Judgment and the manner in which it has been applied by the
Monitors since its inception. It is impossible to conduct direct supervision if a deputy is
not present in the housing unit. The harm that results from not having a deputy in each
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pod, especially when inmates are out, is evident by the repeated serious incidents
occurring when there is no deputy on the unit, including those resulting serious injury
and/or necessitating hospital routes. Thus, IV. A. 5. e. remains in partial compliance.
       Regarding overhead video surveillance and recording cameras for OJC (A. 5. f.),
there is a significant investment in cameras. There are times when a nonfunctional camera
is discovered when a supervisor or an investigator tries to retrieve the videos, but it is
rare. OPSO needs to continue to audit the system by having a supervisor test the various
cameras on a monthly basis and prepare a report for the Chief of Security. IV. A. 5. f.
continues to be in substantial compliance. Supervisors have improved on pulling video as
required by the Use of Force policy.
       No staff was transferred between divisions during the monitoring period; thus, IV.
A. 5. g. is in substantial compliance. Given the necessity of utilizing staff from other areas of
OPSO to supervise inmates in the OJC, OPSO is encouraged to provide training even if there
is not an actual transfer from one division to another. Proof that recruits received training
on specialized housing during pre-service was provided. However, no proof of the
required annual eight (8) hours of training for the deputies assigned to specialized units
was provided; IV. A. 5. h. is in partial compliance. Given the high level of incidents in the
specialized units, it is recommended that the training be reviewed, and deficiencies
addressed. OPSO is close to being in non-compliance with this provision.
       Documentation indicates that supervisors do not consistently conduct daily rounds;
thus, IV. A. 5. i. continues to be in partial compliance. Supervisors are required to sign off
on the round sheet completed by the pod deputy, but this does not provide proof that the
supervisor conducted daily rounds. The daily inspections of housing units as required by
VI. A. 5. j. has improved but are still only in partial compliance. It is concerning that neither
the inspections by the deputies nor the supervisors resulted in the discovery of the
destruction of items that are part of the jail to fashion weapons. It is essential that the
inspections be thorough and that corrective actions are taken to address the inspection
findings. This provision remains in partial compliance.
       Monthly shakedowns were not conducted in substantial compliance with VI. A. 5. k.
The data provided indicates that shakedowns were not conducted in substantial
compliance during six of the six months during the monitoring period. There continues to
be significant incidents involving contraband including the manufacturing and use of
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weapons fashioned from the jail itself. The review of contraband reports clearly indicates
reoccurring issues. There continues to be a serious issue of inmates hoarding medication.
Reports demonstrate that inmates are fashioning weapons out of items in the jail which
are then used to assault other inmates. Reports and the site visit reveal that inmates are
smuggling in marijuana and hallucinogens to smoke. Some of these items come through
the mail, but there is a significant issue of staff smuggling in contraband. This indicates the
need to analyze the data and develop a corrective action plan to reduce, if not stop, the
hoarding of medication, the fashioning of weapons, and the flow of contraband into the
facility. OPSO is close to non-compliance with this provision.
        The documentation provided for A. 5. l. does not include all of the required
information. Thus, A. 5. l. remains in Partial Compliance.
IV. A. 6. Security Staffing
A. 6. a. OPSO shall ensure that correctional staffing and supervision is sufficient to adequately supervise
prisoners, fulfill the terms of this Agreement, and allow for the safe operation of the Facility, consistent
with constitutional standards.
           (1)      OPSO shall achieve adequate correctional officer staffing in the following manner:
                    Within 90 days of the Effective Date, develop a staffing plan that will identify all posts
                    and positions, the adequate number and qualification of staff to cover each post and
                    position, adequate shift relief, and coverage for vacations. The staffing plan will
                    ensure that there is adequate coverage inside each housing and specialized housing
                    areas and to accompany prisoners for court, visits and legal visits, and other
                    operations of OPP and to comply with all provisions of this Agreement. OPSO will
                    provide its plan to the Monitor, SPLC, and DOJ for approval. The Monitor, SPLC, or DOJ
                    will have 60 days to raise any objections and recommend revisions to the staffing
                    plan.
           (2)      Within 120 days before the opening of any new facility, submit a staffing plan
                    consistent with subsection (1) above.
           (3)      Within 90 days after completion of the staffing study, OPSO shall recruit and hire a
                    full-time professional corrections administrator to analyze and review OPP
                    operations. The professional corrections administrator shall report directly to the
                    Sheriff and shall have responsibilities to be determined by the Sheriff. The
                    professional corrections administrator shall have at least the following
                    qualifications: (a) a bachelor’s degree in criminal justice or other closely related field;
                    (b) five years of experience in supervising a large correctional facility; and (c)
                    knowledge of and experience in applying modern correctional standards, maintained
                    through regular participation in corrections-related conferences or other continuing
                    education.
           (4)      Provide the Monitor a periodic report on staffing levels at the Facility. These periodic
                    reports shall be provided to the Monitor within four months of the Effective Date; and
                    every six months thereafter until termination of this Agreement. Each report will
                    include the following information:
                        i. a listing of each post and position needed;
                       ii. the number of hours needed for each post and position; a listing of staff hired
                           and positions filled;
                      iii. a listing of staff working overtime and the amount of overtime worked by each
                           staff member;
                      iv. a listing of supervisors working overtime; and
                       v. a listing of and types of critical incidents reported
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A. 6. b. Review the periodic report to determine whether staffing is adequate to meet the requirements
of this Agreement. OPSO shall make recommendations regarding staffing based on this review. The
review and recommendations will be documented and provided to the Monitor.
Findings:
A. 6. a. Non-Compliance
A. 6. b. Non-Compliance
        An overall rating of A. 6. was provided in the previous reports. This was
inconsistent with the other introductory paragraphs and has now been discontinued.
Observations:
        The level of staffing is extremely insufficient to adequately supervise inmates and
allow for the safe operation of the facility. There have been insufficient security staff over
the past few monitoring periods, and it continues to be at a level where the extensive use
of overtime is not enough to overcome the vacancies in security staff. OPSO’s staffing
reports document that mandatory posts are not filled on a consistent basis. Numerous
incident reports and investigations reveal posts were not constantly staffed, which
resulted in increased violence. Efforts have been made to reassign some staff from areas
that had excess staff but have not fully addressed the problem. Lacking is a coordinated
effort on the utilization of overtime and redeployment of staff to ensure the mandatory
posts are covered on a consistent basis. The deployment of staff is sufficiently inconsistent
and insufficient to result in A. 6. a. (1) and IV. A. 6. a. (2) being in non-compliance.
Provision IV. 6. a. (3) was in substantial compliance with the hiring of Byron LeCounte as
the Chief of Corrections as of February 19, 2019. However, Chief LeCounte left the position
at the end of 2021. Thus, IV. 6. a. (3) became in non-compliance in January 2022.
Paragraph IV. 6. a. (4) is in substantial compliance, as monthly reports are produced to
document hiring and termination of employees. The Stipulated Agreement also provides
for bi-monthly reports regarding hiring. Paragraph 7.a. of the Stipulated Agreement of
February 11, 2015, requires monthly reporting. Given the importance of the actual
implementation of an approved staffing plan, A. 6. a. is now in non-compliance. The last
approved staffing plan was in September 2019.
        OPSO is in now in non-compliance with A. 6. b. as OPSO has not provided a periodic
review of the staffing plan. Discussion during the monitoring tour indicated that a plan
exists, but it has not been finalized or submitted to the Monitors. An antiquated staffing
plan which is based on staffing levels which do not exist is insufficient.
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IV. A. 7. Incidents and Referrals

A.7.a. OPSO shall develop and implement policies that ensure that Facility watch commanders have
knowledge of reportable incidents in OPP to take action in a timely manner to prevent harm to
prisoners or take other corrective action. At a minimum, OPSO shall do the following:
A.7.b. Continue to ensure that Facility watch commanders document all reportable incidents by the
end of their shift, but no later than 24 hours after the incident, including prisoner fights, rule violations,
prisoner injuries, suicide attempts, cell extractions, medical emergencies, found contraband,
vandalism, escapes and escape attempts, and fires.
A.7.c. Continue to ensure that Facility watch commanders report all suicides and deaths no later than
one hour after the incident, to a supervisor, IAD, the Special Operations Division, and medical and
mental health staff.
A.7.d. Provide formal pre-service and annual in-service training on proper incident reporting policies
and procedures.
A.7.e. Implement a policy providing that it is a disciplinary infraction for staff to fail to report any
reportable incident that occurred on his or her shift. Failure to formally report any observed prisoner
injury may result in staff discipline, up to and including termination.
A.7.f. Maintain a system to track all reportable incidents that, at a minimum, includes the following
information:
           (1)      tracking number;
           (2)      the prisoner(s) name;
           (3)      housing classification and location;
           (4)      date and time;
           (5)      type of incident;
           (6)      injuries to staff or prisoner;
           (7)      medical care;
           (8)      primary and secondary staff involved;
           (9)      reviewing supervisor;
           (10)     external reviews and results;
           (11)     corrective action taken; and
           (12)     administrative sign-off.
A.7.g. Ensure that incident reports and prisoner grievances are screened for allegations of staff
misconduct, and, if the incident or allegation meets established criteria in accordance with this
Agreement, it is referred for investigation.
A.7.h. Provide the Monitor a periodic data report of incidents at the Facility. These periodic reports
shall be provided to the Monitor within four months of the Effective Date; and every six months
thereafter until termination of this Agreement.
A.7.i. The report will include the following information:
           (1)      a brief summary of all reportable incidents, by type and date;
           (2)      a description of all suicides and in-custody deaths, including the date, name of
                    prisoner, and housing unit;
           (3)      number of prisoner grievances screened for allegations of misconduct; and
           (4)      number of grievances referred to IAD or SOD for investigation.
A.7.j. Conduct internal reviews of the periodic reports to determine whether the incident reporting
system is ensuring that the constitutional rights of prisoners are respected. Review the quarterly report
to determine whether the incident reporting system is meeting the requirements of this Agreement.
OPSO shall make recommendations regarding the reporting system or other necessary changes in
policy or staffing based on this review. The review and recommendations will be documented and
provided to the Monitor.
Findings:
A. 7. a. Substantial Compliance
A. 7. b. Partial Compliance
A. 7. c. Substantial Compliance

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A. 7. d. Partial Compliance
A. 7. e. Substantial Compliance
A. 7. f. Substantial Compliance
A. 7. g. Substantial Compliance
A. 7. h. Substantial Compliance
A. 7. i. Substantial Compliance
A. 7. j. Substantial Compliance
Observations:
       OPSO has long had a policy on incidents and referrals that sets out the process for
documenting and referring incidents. What has been lacking is a sufficient process to
ensure all reportable incidents are being documented and that all incident reports are
complete, prompt, and accurate. A concentrated effort by the command staff has resulted
in improvement by the watch commanders as far as the timeliness of the incidents for
which a report is prepared. Watch commanders are required to be notified of any incident
occurring and document the incident in their shift log which results in substantial
compliance of A.7.a. However, review of the routes of inmates and medical clinic walk-in
logs indicates that a number of incidents are not resulting in an incident report.
       OPSO implemented a process where an OPSO staff member reviewed the “routes”
of inmates with serious medical or trauma injuries to the hospital emergency room and
the OPSO clinic walk-in logs and compared them to the reports received. The quality of
this review has been inadequate for the last two monitoring periods. Someone needs to be
trained to take over the duties of review and notification of the Monitors and counsel. IV.
A. 7. b. remains in partial compliance.
       OPSO is doing a much better job of holding supervisors and security staff
accountable for the late reports. Documentation was provided of accountability in the
form of counseling. As OPSO has begun to enforce the policy regarding discipline for not
timely filing reports, IV. A. 7. e. is in substantial compliance. What will be important is to
track whether the counseling was effective in improving the timeliness of incident reports.
       During this reporting period, several attempts at suicide were reported within an
hour to the proper persons: thus IV. A. 7. c. is in substantial compliance. While preservice
training on report writing was provided, no documentation of annual training on report
writing was presented; IV. A. 7. d. is in partial compliance. OPSO has transitioned to the AS
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400 system to track the information required in IV. A. 7. f. and is in substantial
compliance. OPSO is doing a better job analyzing the data. The next step is utilizing the
analysis to make required changes in policy and procedure. OPSO is in substantial
compliance with A. 7. g.; incidents, and grievances are reviewed for misconduct and
referred for investigation where appropriate. The Monitors were provided a semi-annual
report of incidents, that now, with the supplementation by the daily/weekly reports,
contains all of the required information and, thus, IV. A. 7. h. and i. are in substantial
compliance. OPSO performed an assessment of whether the reporting system is meeting
the requirements of the Consent Judgment and is given substantial compliance for IV. A. 7.
j. as OPSO is now addressing the lack of timeliness.
IV. A. 8. Investigations
A. 8. a. Maintain implementation of comprehensive policies, procedures, and practices for the timely
and thorough investigation of alleged staff misconduct, sexual assaults, and physical assaults of
prisoners resulting in serious injury, in accordance with this Agreement. Investigations shall:
            (1)    be conducted by persons who do not have conflicts of interest that bear on the
                   partiality of the investigation;
            (2)    include timely, thorough, and documented interviews of all relevant staff and
                   prisoners who were involved in or who witnessed the incident in question, to the extent
                   practicable; and
            (3)    include all supporting evidence, including logs, witness and participant statements,
                   references to policies and procedures relevant to the incident, physical evidence, and
                   video or audio recordings.
A. 8. b. Continue to provide SOD and IAD staff with pre-service and annual in-service training on
appropriate investigation policies and procedures, the investigation tracking process, investigatory
interviewing techniques, and confidentiality requirements.
A. 8. c. Ensure that any investigative report indicating possible criminal behavior will be referred to
IAD/SOD and then referred to the Orleans Parish District Attorney’s Office, if appropriate.
A. 8. d. Provide the Monitor a periodic report of investigations conducted at the Facility. These periodic
reports shall be provided to the Monitor within four months of the Effective Date; and every six months
thereafter until termination of this Agreement.
A. 8. e. The report will include the following information:
            (4)     a brief summary of all completed investigations, by type and date;
            (5)     a listing of investigations referred for administrative investigation;
            (6)     a listing of all investigations referred to an appropriate law enforcement agency and
                    the name of the agency; and
            (7)     a listing of all staff suspended, terminated, arrested, or reassigned because of
                    misconduct or violations of policy and procedures. This list must also contain the
                    specific misconduct and/or violation.
A. 8. f. OPSO shall review the periodic report to determine whether the investigation system is meeting
the requirements of this Agreement and make recommendations regarding the investigation system or
other necessary changes in policy based on this review. The review and recommendations will be
documented and provided to the Monitor.
Findings:
A. 8. a. Partial Compliance
A. 8. b. Substantial Compliance
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A. 8. c. Substantial Compliance
A. 8. d. Substantial Compliance
A. 8. e. Substantial Compliance
A. 8. f. Substantial Compliance
Observations:
       The Investigative Services Division (ISB) is responsible for: the Criminal
Investigation Division (investigates possible criminal activity by inmates), Internal Affairs
Division-Criminal (investigates possible criminal activity by staff), the FIT (investigates
use of force by staff), the Internal Affairs Division-Administrative (investigates possible
violation of policies by staff), and the Intelligence Unit (provides information and
intelligence regarding activities that have taken place or may take place in the jail or
support activities).
       While there is evidence of substantial compliance provided for IV. A. 8. a., the
timeliness of investigations has reached a point where the rating on this provisions has
been downgraded to partial compliance. Since the resignation of the major and lieutenant
in 2020, the other supervisors have been required to take on additional duties. The
supervisor assigned to take over the duties of FIT supervisor has done a good job at
assuming the duties and eliminated the backlog in use of force investigations. The
investigators assigned to criminal investigations, including in custody death investigations
have received additional training and one of the more experienced investigators from IAD-
Administrative has been assigned to assist them. Improvements in all other areas from
hiring, training, supervision, and adequate staffing will enhance the safety of staff and
inmates and, ultimately, decrease the workload of ISB.
       The Monitor acknowledges that investigating incidents of inmate-on-inmate
assaults, sexual assaults, staff on inmate assaults, etc. with a goal of seeking indictments is
appropriate; but the overall goal is to create a safe jail. In a jail setting, investigations play
a critical role in protecting inmates from inappropriate or illegal staff actions, protecting
inmates from each other, and ensuring policy is followed. Continued emphasis is needed
on the goal of investigations to prevent future incidents through analysis of the policy,
procedures, training, supervision, and physical plant contributors to the incident. This
function cannot and should not be performed by ISB alone. This level of assessment
requires input from individuals who have a high level of experience in jail/corrections
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work. In short, it requires collaboration between ISB and OJC. While collaboration has
improved, there is often defensiveness on the part of OJC staff when issues are pointed out
by ISB or others. For instance, ISB discovered that the source of dangerous contraband
being used to shatter windows originated in the utility closets on the housing units. The
cabinets near the deputy’s station were found to be the source of materials to make
homemade knives or “shanks”. Inmates literally are continuing to take the jail apart to
fashion weapons. The failure of staff to keep the utility closets and cabinets locked
throughout the monitoring period, and to refuse to remove the cabinets when made aware
of the problem and to supervise inmates when allowed access to the utility closets and
cabinets is the root cause of the problem. What would make the most sense would be to
remove the cabinets as they serve no useful purpose. The best alternative to removal
would be to secure the cabinets. While most of the utility closets were found to be secured
during this monitoring tour, many of the cabinets were found to be unsecure and it is only
a matter of time until inmates bypass the locks placed on the cabinets. It should be noted
that the cabinets were removed by the new administration.
        ISB has demonstrated training related to the investigative skills provided during
2021. IV. A. 8. b. remains in substantial compliance.
        Investigations which reveal potential criminal activity are referred to the Orleans
Parish District Attorney’s Office in substantial compliance with A. 8. c. The Monitors
remain concerned about the frequent refusal by the district attorney to follow through
with filing cases related to indecent exposure by inmates towards staff. There were a
couple of cases in which the previous administration made the decision not to refer the
case to the district attorney for filing of criminal cases which were questionable. The
Monitors are comfortable that referral will not be an issue with the new administration
but will continue to scrutinize. ISB provides reports in substantial compliance with IV. A. 8.
d. and e. ISB reviewed the investigation system to determine whether the investigation
system complies with the requirements of the Consent Judgment and forwarded any
recommendations to the Monitors in substantial compliance with IV. A. 8. f.
IV. A. 9. Pretrial Placement in Alternative Settings
A. 9. a. OPSO shall maintain its role of providing space and security to facilitate interviews conducted pursuant
to the City’s pretrial release program, which is intended to ensure placement in the least restrictive appropriate
placement consistent with public safety.
A. 9. b. OPSO shall create a system to ensure that it does not unlawfully confine prisoners whose sole detainer is
by Immigration and Customs Enforcement (“ICE”), where the detainer has expired.
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Findings:
A. 9. a. Substantial Compliance
A. 9. b. Substantial Compliance
Observations:
        OPSO provided a memorandum noting that the pretrial program is managed by the
Criminal District Court, and that space is provided. OPSO also provided a memorandum
that ICE detainers are only accepted for a specified list of offenses. OPSO has not detained
any individuals under an ICE detainer during the monitoring period. Both of these memos
are dated August 27, 2020. Updated memos need to be provided in the future as the
signatory is no longer with OPSO.

IV. A. 10. Custodial Placement within OPP
Introduction:
        OPSO designed, validated, and implemented an objective classification system to
assess and house OPSO inmates according to their threats to institutional safety and
security. The automated classification system was rolled out in the Jail Management
System (JMS) on January 15, 2015.1 The 2021 OPSO coverage plan reduced the
classification unit staffing from 18.68 to 14 FTEs.2
        As of June 30, 2022, the Classification Unit staffing was 6 -- one civilian
classification specialist, four supervisors, and a classification manager. During this
compliance period, five (5) classification specialists resigned; one (1) was on maternity
leave. No one was hired.3 Although the average daily population (ADP) remains below the
pre-COVID counts, due to the extra length of time required for the initial and
reclassification assessments, the Classification Unit staffing appears inadequate. Despite
the decrease in the Classification staff from 11 to 6, the number of overtime hours they
logged decreased during this Compliance Period. Yet, it was still nearly twice that of OPSO
non-classification staff.
        An automated housing assignment process (HUAP) identifies housing options for
inmates according to their custody level, gender, special population status, PREA

1 Hardyman, Patricia L. (2015). “Design and Validation of an Objective Classification System for the Orleans
Parish Sheriff’s Office: Final Report.” Hagerstown, MD: Criminal Justice Institute, Inc.
2 Gusman, Marlin N. (March 16, 2021). “Coverage Plan 2021.” Orleans Parish, LA: Office of the Sheriff. pp. 11
3 The Sheriff’s Office posted a hiring announcement for the Classification Specialist position. (Onsite tour - As

of June 27, 2022).
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designations, enemies, and associates. Most male admittees are assigned one of the first
floor IPC ROLL IN pods at initial classification. (Special population tags identify individuals
for suicide observation versus suicide watch, medical housing/ isolation, academic
education, or special diets.) (As needed, men with acute mental health or medical needs go
directly to 2A or 4B, respectively. At intake, most women are housed on 3F.) The OPSO
housing matrix rolled out on December 2, 2021, differentiated the "IPC ROLL IN" pods by
custody level, PREA designations, and various special population tags.
        Further, the intake housing assignments required cell-level separations by date of
intake. Enemies and associates were assigned to separate pods. However, the "ALL"
custody and PREA designations continue in the special population units – Mental Health,
Protective Custody, Disciplinary/Segregation, Medical, etc.
        When transferring inmates from the IPC ROLL IN or special population pods to a
general population pod, the classification staff matches inmates by custody level, PREA
designations, age, and crime/criminal history.
        The OPSO revised its housing matrix on multiple occasions throughout this
Compliance Period. These changes reflected fluctuations in demand for specialized intake
housing units (IPC Non-Symptomatic Roll-Ins), isolation pods for individuals exposed to
COVID-19, other special populations (medical, mental health, disciplinary, administrative
segregation, and protective custody), and of course, the general population.
        Population fluctuations and isolation related to COVID-19 Pandemic requirements
continued to create demands on the Classification Unit for housing transfers within an
ever-changing housing matrix. The Pandemic added another layer of complexity to the
housing process by separating individuals by admission date, custody level, and PREA
designation within a cell. As previously noted, IPC Roll-In pods house inmates by custody
levels, PREA designations, and special population tags (medical, mental health,
administrative segregation, disciplinary, and protective custody). However, security staff
does not use the ISI to schedule out-of-cell activities for the general population or special
management pods.4 Schedules have been "standardized" to allow inmates by bottom tier
versus mezzanine.

4The ISI (Inmate Separation Instrument) is an automated JMS report to identify appropriate out-of-cell
separations for the mixed custody and special populations units. As a pod deputy may not be aware or have
access to the multiple factors requiring separation of individuals within a pod, failure to use the ISI threatens
everyone's safety and institutional security.
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       The classification supervisors conducted housing audits to verify individuals were
in their assigned cells and beds. Further, the housing audit protocol was expanded in
January 2022 to include the TMH and TDC units. However, the auditors frequently
canceled due to the absence of pod security staff or COVID quarantine. As previously
reported, the classification supervisors described their respective audit schedules and
scoring rules during an onsite workgroup meeting in June 2021. The audit sheets and
reports showed marked improvement over the previous compliance period. For example,
a couple of the supervisors documented the "recheck" of the pods to verify errors noted
were corrected and maintained. The "error score" seemed to vary by the auditor, even for
the same pod. For example, if auditor X checked the Tier 1 pods, the error rates were very
low. However, if auditor Z checked the Tier 1 pods, the error rates were higher.
Unfortunately, the Classification Correction Action Plan task to organize and upload the
audit reports to the shared drive did not occur. The audit reports had to be scanned and
uploaded at the last minute during the onsite tour. OPSO provided an in-service
classification training session on March 14, 2022. The topics included loading documents
to the shared drive and the new enemy refusal process.
Assessment Methodology:
       Compliance was assessed through multiple data sources and activities – a review of
the OPSO and JMS statistical reports, onsite meetings with OPSO staff, and a site visit
conducted June 28 – 30, 2022. The OPSO documents included monthly statistical reports,
housing audit reports, and monitoring logs. Analyzed were custody override, attachment,
and enemy refusal data downloaded from the AS400. The statistical reports tracked daily
reclassifications, daily populations, placement errors, the stock population, and monthly
custody trends. Onsite activities included: observation of the initial classification,
reclassification, and housing processes, and examination of the inmate enemy, associates,
segregation, and protective custody reviews. The Monitor met with OPSO classification,
facility administration, and compliance unit staff, as well as WellPath personnel. This
review focused primarily on the data and activities from October 1, 2021 – March 31, 2022.
Some analyses considered trends over a twelve to fifteen-month (12-15) period to detect
variations due to seasonal variations and COVID-19-related procedures.




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Summary:
        OPSO is in substantial compliance with four of the eight Custodial Placement
sections of the Consent Judgment (IV. A.10). Sections a, d, and f are rated as Partial
Compliance. Section e is rated as Non-Compliance. Notable was the regression from
Substantial to Partial Compliance for Section d (continue to update the classification
system). We had anticipated Section f (internal and external review and validation of the
classification system) to progress to Substantial Compliance, but it did not. OPSO's
performance stalled, and in some respects, regressed. Hence, the rating for Section f is
very close to Noncompliance. Assessment for section 10.e. (competency-based training)
was knotty. OPSO provided the in-service training in March 2022, but the training was not
competency-based or related to the classification specialists’ job responsibilities.
Findings:
A. 10. a. Partial Compliance
A. 10. b. Substantial Compliance
A. 10. c. Substantial Compliance
A. 10. d. Partial Compliance
A. 10. e. Non-Compliance
A. 10. f. Partial Compliance
A. 10. g. Partial Compliance
A. 10. h. Substantial Compliance
IV. A. 10. a. OPP shall implement an objective and validated classification system that assigns prisoners
to housing units by security levels, among other valid factors, in order to protect prisoners from
unreasonable risk of harm. The System shall include consideration of a prisoner's security needs, the
severity of the current charge, types of prior commitments, suicide risk, history of escape attempts,
history of violence, gang affiliations, and special needs, including mental illness, gender identity, age,
and education requirements. OPSO shall anticipate periods of unusual intake volume and schedule
sufficient classification staff to classify prisoners within 24 hours of booking and perform prisoner
reclassifications, assist eligible DOC prisoners with re-entry assistance (release preparation), among
other duties.

Finding:
Partial Compliance
Observations:
        As of March 30, 2022, the Classification Unit staffing was 7 -- two civilian
classification specialists, four supervisors, and a classification manager. One specialist is
on maternity leave. Thus, only six (6) are available for the 24/7 shifts. During this

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compliance period, one (1) classification specialist resigned. No one was hired. The shift
supervisors are responsible for supervising the classification specialists, processing
housing transfers, completing custody reviews, conducting housing audits, addressing
classification-related grievances, and making rounds on the housing units. The
classification specialists complete the custody and predation/vulnerability (PREA)
assessments and assign appropriate pod and cell housing accordingly. To keep up with
the workload, custody reviews and housing re-assignments were shifted to the
classification specialists. Previously, classification supervisors completed the custody re-
assessments and housing updates.
       The number of overtime hours logged by the classification staff decreased from an
average of 47.51 to 39.56 hours/month/staff member during this compliance period.
Between October 1, 2021, and March 31, 2022, the Classification Unit logged 2,531.83
hours of overtime.5 During this Compliance Period, each classification specialist worked
an average of 37.28 hours/month overtime; the classification supervisors logged 43.36
hours overtime/month. (In contrast, non-Classification Unit staff logged an average of
22.19 hours/person/ month during this Compliance Period.) At least in part, the
classification staff spent the extra hours modifying housing assignments to address
COVID-19-related quarantine, isolations, and multiple adjustments to the housing matrix.
However, the continued high levels of overtime raise questions about the adequacy of the
Classification Unit staffing.
       During this compliance period, OPSO addressed one of the critical concerns noted
in the previous compliance reports. First, as indicated in Compliance Report #15, 20 of 32
OJC/TDC pods house individuals of all custody, vulnerability, predation, and special
population status. In December 2021, OPSO revised its housing matrix to differentiate the
male intake roll-in pods by custody level, PREA status, and special population status. The
special population -- Mental Health, Medical, Education, Disciplinary/Segregation, TMH,
and all female units – allow for all custody levels and PREA statuses. (COVID-19 protocols
require cell-level separations by custody level and intake date; medical and mental health
considerations include lower bunk requirements and suicide resistance/observation

5 OPSO Excel spreadsheets entitled "Overtime by Month – October – December 2021,” Overtime by Month –
January – March 2022 and the 2021 and 2022 HR Report Hire and Separations Reports. The classification
work schedule builds in eight hours of overtime/month. However, the same scheduling formula impacts
other OPSO staff.
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cells.) As of March 30, 2022, 16 of the 31 OJC/TDC/TMH pods house individuals of all
custody, vulnerability, predation, and special population status.
        Within the TMH units, the treatment teams assign inmates to cells according to
their mental health needs with little regard for custody or PREA status. (Known enemies
live in separate pods.) Housing assignments, activities, and out-of-cell time are according
to the individual's program/treatment level. So again, classification becomes irrelevant.
Inadequate security staffing and ad hoc schedules for the out-of-cell activities compound
the risks associated with "ALL CUSTODY ALL STATUS" pods.
        The second concern was the blatant failure by security staff to maintain/ enforce
the housing assignments specified by the Classification Unit. The housing audits from this
compliance period indicated multiple inmates were not living in their assigned cells or
sleeping in their allotted bunks. Thus, at best, it appears that some, but not all, security
and treatment staff adhere to and enforce the housing assignments specified by the
Classification Unit. While OPSO has taken significant steps to ensure the integrity of the
Classification Unit and housing assignments, over half of the OPSO pods remain as "ALL
CUSTODY ALL STATUS." Thus, the compliance rating for Section 10.a will remain as Partial
Compliance as OPSO has failed to maintain the integrity of its objective classification
system.
IV. A. 10. b. Prohibit classifications based solely on race, color, national origin, or ethnicity.
Finding:
Substantial Compliance
Observations:
        The custody assessments consider objective risk factors validated for the OPSO
male and female inmates. The individual's race is not one of the objective risk factors.
Classification specialists consider the individual's custody level, vulnerability designation,
age, and charges to select a cell and bed from those the JMS automated housing program
identifies as appropriate housing for the individual. To track this element of the Consent
Judgment, OPSO created a monthly statistical report to record the race and gender of
individuals per housing location.
        The "Housing By Race" reports suggested that race was not a factor for the OJC
housing assignments. With a few exceptions, the number of black and white inmates
within each OJC housing unit was consistent with the overall racial distributions among
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the OPSO inmate population. However, the percentages of males assigned to the TDC DOC
worker unit, and the females assigned to the TMH unit exceed the proportions of white
inmates within the total inmate population for each month of the compliance period. As
shown in Figure 1, on average, 13.1 percent of the OPSO male population identified as
white. However, 30.7 percent of the men assigned to the TDC DOC worker unit were
white, while only 6.8 percent of the men assigned to a TMH unit were white.
         In contrast, among the women, an opposite trend was observed. As shown in
Figure 2, on average, 21.3 percent of the OPSO female population identified as White.
However, on average, 37.7 percent of the women assigned to the TMH unit were White.
 50.0%
                  44.4%
 45.0%
          40.0%
 40.0%                                                                                    38.1% 38.1%           37.0%
 35.0%                                                                    31.0%                         31.3%
                                                                                                                        29.2%
 30.0%                            25.9%           25.0%                           23.8%
 25.0%                    22.6%           22.9%           21.4%
 20.0%
                   14.4% 13.8% 14.1%       14.4%             14.0% 12.9%
 15.0% 13.3% 12.6%                   12.7%       12.5% 12.0%             12.3% 12.2% 13.6% 12.1%
 10.0%
  5.0%
                                                                  0.0%
  0.0%



                               OJC/TDC/TMH White-M            TDC-White-M           TMH - White M

Figure 1: Percentage of White Male Inmates Assigned to OJC, TDC & TMH Housing Units – January 2021 –
March 2022.

                                                                           50.0%
 50.0%                     45.5%
                                           42.9% 44.4%
 40.0%             35.7%
                                   33.3%
           30.8%                                                                                  30.0%
 30.0%                                                                                   25.0%        25.0%
                                                      24.2% 23.6%                            24.6%              23.9%
         21.9% 21.8%           21.7% 20.2% 21.1%                               21.9%                        22.2%
                                                                                                   20.8% 20.7%
                       19.7%                                                      20.0%                            20.0%
 20.0%                                                                   17.7%        17.8%


 10.0%
                                                                   0.0%
  0.0%



                                   OJC&TMH White-F           OJC-White-F          TMH - White F



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Figure 2: Percentage of White Female Inmates Assigned to OJC & TMH Housing Units – January 2021 – March
2022.

        While these data suggest race was not a housing factor within OJC, the data create
concerns regarding disparate housing assignments generated by the Louisiana DOC
worker program criteria and the mental health assignments for the women. The TDC
worker unit houses inmates approved by the Louisiana DOC for participation in its local
work release program. OPSO provides housing for the worker but does not approve or set
the program criteria. Thus, any housing bias within this TDC unit, results from the
Louisiana DOC selection criteria not OPSO classification or housing processes. Further,
overrepresentation of minority women assigned to THM maybe a function of the small
number of women assigned to TMH and/or the prevalence and severity of mental health
needs in the community among minority women which goes unaddressed until
incarcerated.

IV. A. 10. c. Ensure that the classification staff has sufficient access to current information regarding
cell availability in each division.
Finding:
Substantial Compliance
Observations:
        OPSO automated housing assignment process (HUAP) considers the inmate's
custody level, gender, special population status, PREA designations, enemies, and
associates versus OJC beds available to recommend an appropriate bed. The COVID-19
intake housing protocols also require matching cellmates by their admission dates.
Housing tags identify inmates on suicide observation versus suicide watch, medical,
mental health, alcohol/drug detoxification protocol, gang affiliation, special diets, and
school participation.
        The OPSO daily population report lists the units, cells, and beds off-line for
maintenance or staffing, as recorded in the AS400. The cells/pods off-line, as listed in the
AS400, appeared to be an accurate record. The classification supervisors noted the cells that
required maintenance as part of their weekly audits and rounds. The classification manager
enters the damaged cells into the AS400.
        Classification specialists track all bed assignments to avoid housing errors or
duplications due to delays between the inmate's housing assignment and the physical
transfer of the individual to the designated pod/cell. These manual lists and notes direct
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and inform the housing assignments. Again, we urge OPSO to promptly update all cell or
bunk availability information in the JMS.
        OPSO should update the JMS housing availability logic to consider the COVID-19
isolation protocols, i.e., intake date. A quick conversation with the JMS programmers
confirmed that the housing and ISI programs could be easily modified to consider the
intake date for the Roll-In Pods. Further, the ISI could be adjusted to consider mezzanine
vs. lower-level cells within the special population units.
        Overall, the classification staff can access automated and manual information
regarding current bed availability throughout OJC, TDC, and TMH.

IV. A. 10. d. Continue to update the classification system to include information on each prisoner's
history at OPSO.
Finding:
Partial Compliance
Observations:
        As shown in Figure 3, the monthly custodial reports provided by OPSO indicated:
           •   Percent Initial Custody Assessments: During this Compliance Period, the
               Classification Unit completed initial custody assessments for 91.2 percent of
               the inmates booked into OJC. Excellent! This rate is a slight improvement over
               the rate of 90.6% observed for the previous Compliance Period.
           •   Percent Within 8 Hours: During this Compliance Period, the percentage of
               initial classifications completed within the first eight hours of booking
               fluctuated between 90.2 and 85.5 percent; the average rate across the six
               months was 85.7 percent. On the other hand, the percentage of cases
               completed between 8.01 and 24 hours fluctuated between 1.1 and 11.2
               percent; the average was 4.7 percent. Thus, less than one in twenty inmates
               remained in the booking area for more than eight hours before assignment to a
               bed. This rate is an improvement from the pace of one in ten observed for the
               previous compliance period: April – September 2021. This is particularly
               notable as OPSO revised its housing matrix in December 2022 to differentiate
               the male intake roll-in pods by custody level. Thus, it appears that the changes
               to the housing matrix did not slow the custody assessment or housing
               processes despite an increase in the ADP during this compliance period.
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        •     Percent Greater Than 24 Hours: Very few -- only .8 percent -- of the inmates
              remained in the OJC intake booking area for more than 24 hours. This rate
              continued the trend observed for the previous compliance period.
        100.0%       93.2%               91.9%           92.4%                                            91.0%
                                                                        89.0%           89.9%
         90.0%
                     90.2%               90.8%           90.0%                                            88.5%
         80.0%
         70.0%                                                                          79.5%
                                                                        75.4%
         60.0%
         50.0%
         40.0%
         30.0%
         20.0%                                                          11.2%
                                                                                        8.1%
         10.0%        2.9%                1.1%           2.0%                                              2.5%
            0.0%          0.0%                0.0%            0.3%           2.4%            2.3%              0.0%
                     Oct-21              Nov-21          Dec-21         Jan-22          Feb-22            Mar-22
                             % Initial Classifications      % - 8 hrs      % - 24 hrs       % - 24+ hrs

       Figure 3: Rates and Completion Time for Initial Custody Assessments Completed October 2021 – March
       2022

       These data suggested that the rate inmates initially classified and the lag time
between booking and classification/ housing have stabilized. As the COVID-19 Pandemic
eases or the OJC bookings increase, close monitoring of the classification staffing patterns
is vital to ensure these excellent rates are maintained.
       As noted in this report and previous compliance reports, the OPSO Housing Matrix
was revised multiple times to ensure appropriate separations for COVID-19 treatment,
quarantine, and isolation and to address shifts within the inmate population. The "ALL
CUSTODY - ALL STATUS" housing units create significant risks as Low, Medium, and High
custody inmates with different PREA designations and special needs live in the same
housing unit.
       During this compliance period, observations and security staff reports indicated
that most housing units' out-of-cell schedules were by tier (bottom vs. mezzanine) and cell
number. Seven to ten consecutive cells are open at one time. For example, group 1 might
include lower-level cells 5 – 11; group 2 would consist of lower-level cells 12 - 19.
Deputies do not consult the separations reports or the ISI to determine out-of-cell
separations. Security staff reported exchanging information regarding intra-pod conflicts
and tensions. All agreed that shift-debriefs and intelligence-sharing are essential for
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identifying and maintaining inmate separations. These exchanges were not systematically
documented in the pod logbooks or roster, incident or disciplinary reports, or shared with
the Classification Unit. This ad hoc process depends on individual relationships and trust.
While interpersonal cooperation and trust are essential, consistency and documentation
are also vital for building and maintaining a system to ensure inmate safety.
Unfortunately, the "pressures of the day" frequently disrupt the basic pod schedule. As a
result, the security staff expands the size of the evening groups to ensure all receive out-of-
cell time. As previously noted, inadequate OJC staffing compounds this scenario.
       Regardless of the staffing patterns, pod mission, and schedules, the sub-standard
practice of mixed custody/vulnerable inmates during out-of-cell activities should be
discontinued as soon as possible. A straightforward option is to list the custody level and
key separation tags on the housing rosters. (As previously observed, the ISI programming
can be easily tweaked to include admission date and COVID-19 isolation status. However,
using the ISI will require retraining all security staff and their access to the AS400.)
Further, enforcement of housing assignments among security staff is critical for
maintaining inmate separations and, thus, institutional safety and security.
       Previous compliance reports have delineated the dangers of overriding the inmate
custody levels for housing purposes. As shown in Figure 4, custody overrides for housing
increased during this compliance period: October 2021 – March 2022 = 30.7 percent
versus April – September 2021 = 20.4 percent. (The other common override reasons cited
were PREA-related: Known/Potential Predator and Potential Victim). Unfortunately, staff
did not provide a rationale for 24.8 percent of the overrides.




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                                                                                                   54.3%
    50.0%

    40.0%                                                                                    41.8%
                                                              38.6%
                                                                                                     32.8%
    30.0%
                27.5%                                                  27.6%
                         25.5%
                                                                   23.1%            23.4%23.1%
    20.0%                     19.4%
                                       15.6%14.6%
    10.0%            10.0%         11.2%             10.8%
                                                7.7%                         8.9%

     0.0%



                              Housing Overides             Linear (Housing Overides)
Figure 4: Percent Overrides for Housing Purposes - October 2020 – March 2022

            The October 2021 – March 2022 classification stock population reports indicated
that staff overrode the scored custody level for less than 3 percent of the male inmates
(2.6%) and 0.0% of the women. (See Figure 5.) These are very low rates; they are well
below the recommended rates of 5 to 15 percent.6 However, within this small group of
inmates, approximately 30 percent are housing-related overrides. Further, one could
argue that the automatic overrides of "Potential Victim/ Potential Predators" from
Minimum to Medium are just another type of housing override. Under the COVID-19
Pandemic, the OJC ADP dropped dramatically and has remained low. (See Figure 9.) Thus,
as more beds and cells were available, classification staff had greater flexibility for pod and
cell assignments. Monitoring the discretionary overrides for housing will remain essential
as the pandemic wanes, or the OJC ADP increases.




6Austin, James and Patricia L. Hardyman. 2004. Objective Prison Classification: A Guide For Correctional Agencies.
Washington, D.C.: National Institute of Corrections.
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     4.0%
                                                                                               3.6%
     3.5%
                        3.2%
     3.0%        3.0%
                                        2.7%
     2.5%                                         2.5%       2.5%   2.5%
                                2.4%
                                                                                        2.2%          2.2%
     2.0%               2.0%                                                    1.90%                        2.0%
                                        1.7%
     1.5%

     1.0%

     0.5%

     0.0%         0.0%          0.0%            0.0%   0.0%   0.0%   0.0%   0.0%   0.0%   0.0%   0.0%
             Apr-21 May-21 Jun-21 Jul-21   Aug-21 Sep-21 Oct-21 Nov-21 Dec-21 Jan-22 Feb-22 Mar-22

                                               Female Disc          Male Disc

    Figure 5: Discretionary Override Rates by Gender: April 2021 – March 2022

            As part of the review for Compliance Report #14, we observed housing overrides
for "inmate refusal of enemies" to facilitate the housing of general population inmates. Staff
dismissed inmate-to-inmate conflicts to resolve inmate requests to transfer from one pod
to another. In response to the Monitors and Plaintiff attorneys' questions, OPSO suspended
the inmate refusal process in December 2020.7 "Enemy Refusals" re-started in April 2021.
            Following Compliance Report #15, the OPSO revised its Inmate Classification
Procedures (#7020) to include rules for resolving an "Inmate Refusal of Enemy." The
Procedures (#7020) require detailed documentation of the reviews and quarterly audits to
ensure the separation review process works as intended and to make recommendations
for adjustments as needed. The Classification Manager updated the "Separation Review
Checklist" (3-10-2022) to record the "enemy refusal" evaluations. 8 OPSO developed
screens and reports in the AS400 to document and track the separation reviews as per the
Inmate Classification Procedures (#7020). Training on the new procedures, screens, and
checklist was provided to the classification staff in March 2022.
            With the rollout of the AS400 enemy review screens, the classification staff can only
delete the enemy and associate separations listed for an inmate via the automated screens.
The new screens provide for uploading the completed checklists to the server to document


7 OPSO indicated that the "Inmate Refusal of Enemies" form was a trial strategy initiated in September 2020.
As of December 2020, after a 6-week trial period, OPSO discontinued the questionable form but continued
the "enemy refusal" process without the form.
8 The Classification Unit staff indicated that the earlier versions of the checklist were “too long.”

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the required interviews and data checks. The AS400 enemy review data indicated that
since October of 2021, the classification staff conducted six separation reviews. However,
the required separation review checklists were NOT completed. Staff continued to rely on
telephone calls from security staff indicating there was "no problem between the inmates."
The documentation of the required interviews of the inmates, unit management, and
mental health staff was unavailable.
       Further, classification staff did not complete the quarterly audits of the separations
as per OPSO policy. Thus, OPSO has not fully implemented its enemy separation
procedures delineated in Procedures (#7020). Instead, the Unit continues to "resolve"
inmate-inmate enemies sans full investigation and documentation.
       The Classification Monitor List (List) is an ad hoc report identifying inmates for
whom a custody review is due. Custody re-assessment reasons include a regular 60/90-
day re-assessment or a status change or event within their jail records, i.e., amended
charge(s) or bail amount, disciplinary incident, detainer lodged/lifted, or a new sentence.
The number of inmates on the list fluctuates as inmates return from court, move through
the booking process, and the like. The goal is for the classification specialist or supervisor to
complete all pending custody reviews during their shift. The average number of pending
custody assessments per the Classification Monitor list was 10.1; 4.2 were awaiting an
initial classification, and 5.9 were awaiting a custody re-assessment. The average number
of pending custody assessments during the previous compliance period was 12.5. Thus,
wait times for the initial and reclassification processes decreased slightly during this
compliance period. These statistics parallel the data provided in Figure 3 regarding the
wait times between booking an initial classification.
       Following Compliance Report #8, OPSO took steps to work with WellPath to
rebuild the linkages between the medical/mental health records and JMS. These data are
essential for scoring seven of the PREA victimization and predation risk factors. Medical
and mental health information is critical for the inmates' housing assignments. The linkage
between the electronic medical records (ERMA) and the JMS is complete. WellPath medical
and mental health service and treatment data are now routinely (every five to eight
minutes) uploaded to the JMS. Unfortunately, contrary to expectations, these data have
not enabled OPSO to identify and track the victimization of individuals on the mental
health caseload. Efforts to resolve the data questions continued with meetings with the
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OPSO programmer, WellPath staff, and the Monitor. The OPSO statistical reports for
October – March 2022 still do not provide victimization data for individuals on the mental
health caseload.
        Figures 6 and 7 show that the number of attachments to record criminal history
data regarding non-Orleans Parish felony convictions dropped dramatically during this
compliance period. Figure 6 illustrates that the classification staff created only 108.67
attachments per month between October 1, 2021, and March 31, 2022. This statistic is
misleading as only one attachment was created in January; 63 and 71 were created in
December and February, respectively. As shown in Figure 7, the drop was not related to a
decrease in the number of initial custody assessments completed.
  700
                                          663                     665
                                                615         637
  600             589                                 597
            557               554   554                                      564         573
                                                                                                     544               537
  500                   521                                                        499         499               509
                                                                                                           438
  400

  300       312   304                                 283
                        247   260         247
                                    229         235               222
  200                                                       193          209       193   203
                                                                                               178
                                                                                                                       136
  100
                                                                                                     63          71
    0                                                                                                      1




                                                 Attach #         Init Cls

 Figure 6: Number of Attachments Input by Classification Staff – October 2020 – March 2022


        As shown in Figure 7, the percentage of initial custody assessments for which an
attachment was created dropped to only .2% for January 2022. In December and February,
the classification specialists created attachments for 11.6% and 13.9% of the initial
custody assessments. In March, the attachment rate increased to 25.3% of the initial
custody assessments. However, these rates are well below those observed for the previous
compliance periods: October – March 2021 = 46.8%, and April – September 2021 = 37.5%.
Inquiries during the onsite tour revealed that the NCIC system was updated in December
2021. Staff reported that the system was unavailable/ unreliable from December through
February. The NCIC access problem helps to explain the drop in attachments. However,
when the NCIC system was down, one would have anticipated that staff would have noted
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the custody assessments with "missing" NCIC reports and then checked NCIC once the
system was again available. What is unclear is why the Classification Manager was
unaware of the significant drop in attachments until we examined the data for this
compliance review. It appears that the data required to complete the custody assessments
and housing assignments are not routinely monitored.


   60.0%
               56.0%
   50.0%               51.6%
                               47.4% 46.9%                         47.4%
   40.0%                                     41.3%
                                                     37.3% 38.2%                           37.1% 38.7% 35.4% 35.7%
                                                                                   33.4%
   30.0%                                                                   30.3%
                                                                                                                                      25.3%
   20.0%
                                                                                                                                    13.9%
   10.0%                                                                                                             11.6%

    0.0%                                                                                                                     0.2%




                                                                   % Init Cases

  Figure 7: Percentage of Initial Custody Assessments for which an Attachment was created during October 2020 –
  March 2022
IV. A. 10. e. Continue competency-based training and access to all supervisors on the full capabilities of
the OPSO classification and prisoner tracking system.
Finding:
Non-Compliance
Observations:
        An in-service classification training was held on March 14, 2022. All specialists and
supervisors attended. This in-service training did not meet the OPSO mandatory
competency-based training requirement for 2022 as there was no pre- and post-training
testing. Further, as previously noted, the training topic was the new "enemy separation
review" procedures and screens. As per OPSO policy, the classification manager and
supervisors are responsible for the "enemy separation reviews." Thus, the training
provided was unrelated to the classification specialists' responsibilities and did not suffice
as the mandatory annual training.
        Quality in-service and introductory training for new staff is vital to ensure reliable
and accurate custody assessments, housing assignments, and audits. While the System is
highly automated, the JMS automation should not replace the staff's understanding of the

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objective classification principles, scoring rules for the custody and PREA risk factors, or
housing standards.
IV. A. 10. f. Conduct internal and external review and validation of the classification and prisoner
tracking system on at least an annual basis.
Finding:
Partial Compliance
Observations:
        OPSO population reports with the number of inmates by location were received
daily by the Monitor. Monthly custodial statistical reports for October 2021 – March 2022
regarding the number of custody assessments by type, gender, and population were
available. These reports track the timeliness of the initial custody assessments, the
custody distributions, the cases due for a custody assessment, the prevalence of special
populations, and the rates and types of disciplinary infractions. OPSO conducts housing
and internal audits.
Housing Audits – Checking the Veracity of the Inmate Housing Assignments:
        As shown in Table 6, staff conducted monthly audits for most of the OPSO housing
units during this compliance period. There were notable exceptions:
           •   TDC and TMH units were not audited in October – December,
           •   OJC Tier 2 pods were not audited in January or March, and
           •   OJC Tier 1 pods were not audited in February.
Some audits were not conducted due to COVID-quarantine, lockdown, or absence of
security staff.
                    Table 6: Housing Audits by Unit for October 2021 – March 2022
 Tier    Pod        Oct-21       Nov-21        Dec-21         Jan-22        Feb-22                     Mar-22
 1       A        Pod empty                       X              X        Quarantine,                    X
         B        No deputy         X             X              X       Quarantine, X                   X
         C            X                           X              X       Quarantine, X                   X
         D            X                           X              X        Quarantine                     X
         E        No deputy         X             X              X       Quarantine, X                   X
         F        No deputy         X             X              X       Quarantine, X                   X
 2       A            X             X             X         Lockdown          X
         B            X             X             X         Lockdown          X
         C            X             X             X         Lockdown          X
         D            X             X             X         Lockdown          X
         E            X             X             X         Lockdown          X
         F            X             X             X         Lockdown          X
 3       A                          X             X              X            X                          X
         B                      Lockdown          X              X            X                          X
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        C           X             X             X             X               X                X
        D           X             X             X             X               X                X
        E           X             X             X             X               X                X
        F           X             X             X             X               X                X
 4      A           X             X             X             X               X                X
        B           X             X             X             X               X                X
        C           X             X             X             X               X                X
        D           X             X             X             X               X                X
        E           X             X             X             X               X                X
        F           X             X             X             X               X                X
 TDC                                            X             X                                X
 TMH                                            X             X               X                X
 X = 1+ Audit completed.


       The rush to locate, sort, scan, and upload the audit reports during the onsite visit
suggested all audits are not routinely reviewed or tracked to ensure at least monthly
checks throughout the compliance period. On the other hand, consistency across the audit
score sheets, rosters, and corrective action reports improved. Some of the corrective
action reports noted that "errors" observed in a previous report were addressed.
       We reviewed 260 audit score sheets, rosters, and corrective action reports for this
compliance report. No housing audits were observed because insufficient classification or
security staff were available to complete the audits. It is important to emphasize that
housing audits are a means of ensuring the classification system's integrity. Merely filling
out a custody assessment form and assigning an inmate to a bed does not fulfill the
requirements of a validated classification system.
Internal Audits – Checking the Accuracy of the Custody and PREA Assessments
       The October 2021 – March 2022 internal audit logs indicated the classification
manager assessed the accuracy of 54 custody assessments. Each audit was recorded as
"No current errors detected." A quick recheck of the January custody assessments revealed
missing NCIC attachments. This suggested that the NCIC reports were not checked as part
of the original custody assessment nor as part of the random audits. This indicates a need
to retool the internal audit process and implement procedures to check NCIC rap sheets
when that system is down.




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Revalidation of the Classification System – Assessing the Validity of the System:
        Lovins and Latessa submitted their report on the validation of the OPSO
classification system on April 30, 2018.9 This validation study served as documentation of
compliance with the Consent Judgment requirement for "external review and validation of
the classification and prisoner tracking system on at least an annual basis." Statistical
validation of an objective classification system is generally recommended every three to
five years.10 Revalidation of the System was due in 2021 per a previous agreement for a
statistical validation every three years. OPSO twice initiated but failed to complete a
contract to revalidate the classification system. The previous administration had plenty of
time to contract for the revalidation between October 2021 and May 2022. Yet, the
revalidation of the classification system was lost in the transition process. The new
administration was unaware of the pending revalidation.
A. 10. g. Provide the Monitor a periodic report on classification at the Facility. These periodic reports
shall be provided to the Monitor within four months of the Effective Date and every six months,
thereafter, until termination of this Agreement. Each report will include the following information:
            (1)   number of prisoner-on-prisoner assaults;
            (2)   number of assaults against prisoners with mental illness;
            (3)   number of prisoners who report having gang affiliations;
            (4)   most serious offense leading to incarceration;
            (5)   number of prisoners classified in each security level;
            (6)   number of prisoners placed in protective custody; and
            (7)   number of misconduct complaints.
Finding:
Partial Compliance
Observations:
      Reviewed were the monthly custodial, discipline, and inmate population statistical
reports for October 2021 – March 2022. OPSO has developed reports to track the statistics
as required under section IV.A.10.g. The only exception is the rate of victimization of
inmates on the mental health caseload. Despite the Consent Judgment requirement for
victimization rates among inmates on the mental health caseload, the WellPath-OPSO
efforts to align the disciplinary and mental health caseload data to generate timely and
accurate victimization counts continue to lag or get lost in the scurry of the day. The


9 Lovins, Brian K. and Edward Latessa (April 30, 2018). “Revalidation of the Orleans Parish Classification
System.” Cincinnati, Ohio: University of Cincinnati Corrections Institute.
10 Hardyman, Patricia L. and James Austin (2021) “Objective Prison Classification: A Guide for Correctional

Agencies.” 2nd Edition. Washington, D.C.: National Institute of Corrections. p. 17.
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WellPath electronic records for individuals who received medical or mental health services
are uploaded continually to the AS400. However, the programming tracking victimization
among the mental health caseload does not generate accurate or reliable counts. As this
issue has been pending for numerous reports, we indicated in our most compliance report
that OPSO and WellPath must complete this process to maintain substantial compliance
with this Section by January 2022. As of July 2022, this issue has not been resolved.
Therefore, this provision is now in partial compliance.
       OPSO staff continue to input inmate gang affiliation data in the JMS. OPSO and the
Orleans District Attorney (DA) have an ongoing process for notifying the OPSO of
individuals identified as members of a "gang." As of May 19, 2022, only six active inmates
were identified as "gang" members or associates. Reports are available to identify their
locations within OJC (i.e., tier, side, and bed). OPSO has always maintained there are few
formal gangs within New Orleans. Nonetheless, six is a rather low number.
       The initial classification questionnaire includes a question as to the individual's
membership or affiliation with a "gang." Staff indicated that inmates rarely reveal their
affiliations. However, if the classification interview identifies any "gang affiliations," the
information should be forwarded to the OPSO investigation bureau for verification. During
the previous compliance review site visits, we learned that security staff supervisors
interview each new inmate assigned to a pod to identify "conflicts with others on the pod"
or involvement with local cliques/gangs. Documentation of these interviews and
subsequent communication with the classification unit to record required separations
were unavailable.
      Figures 8 and 9 provide the OPSO monthly disciplinary data recorded in the JMS.
The rate of disciplinary reports has fluctuated over the last twelve months – October 2020
– September 2021. (To account for short-term variations, seasonal trends, and the
population shifts due to the Pandemic, we reviewed 15 months of disciplinary data.) As
shown in Figure 8, the rate of disciplinary reports per inmate increased from 31.8% to
38.3% between October 2021 and March 2022. The OPSO DR rate for February 2022
jumped to 50.4% but fell back to 38.8% for March 2022. The average rate of disciplinary
reports among the OPSO inmates was 31.1%, i.e., 1 in 3 received a disciplinary report. Of
particular importance was a slight uptick in the rate of predatory infractions during this
compliance period – the rate of predatory infractions increased from 3.5 to 3.8%. The rate
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of aggressive infractions remained at ~2.9%. Overall, misconduct data revealed increased
disruption/misconduct among OPSO inmates. However, the rates of violence as indicated
by the predatory and aggressive infractions have not changed significantly.

                                                                                            50.4%
 50.0%
         40.6%                                                                                        38.3%
 40.0%                                35.2%                                                       42.0%
                                                                        31.1%
 30.0%
                                                                                   22.7%
 20.0%
                                                                                          15.9%
      8.0%
 10.0%
                                        4.7%                                                          6.0%
                                                            3.8%                   3.4%
  0.0%                                                                                    2.8%


            Rate of DR in OPSO       Rate of Guilty          Rate of Predatory        Rate of Aggrn
Figure 8: Rate of Disciplinary Infractions for the OPSO ADP – October 2020 – March 2022

         As shown in Figure 9, the OPSO ADP increased from a low of 793 in April to 922 by
March 2022. However, the number of disciplinary reports per month decreased from 279
in April 2021 to 260 in March 2022. This data suggests that since April of 2021, the
number of disciplinary reports written does not correlate significantly with the OPSO ADP.


 1200

 1000
             949                                                                                    922
                                                                         885
  800                                     793

  600

  400        385
                                          279                            275                        260
  200

    0




                                           ADP        #DRS Heard


Figure 9: OPSO ADP vs. Number of Disciplinary Reports: October 2020 – March 2022


         Figure 10 illustrates the breakdown of the disciplinary infractions by type during

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this Compliance Period. (These data reflect the most severe infraction of which the inmate
was found guilty per report.) While the actual number of predatory (e.g., assaults or
battery) and aggressive behaviors (e.g., fights or threats) stabilized during August –
December 2021, the numbers of management problem behaviors (disobeying a direct
order, misuse of medication, possession of illicit substance, etc.) decreased significantly.
For example, during April 2021, there were 238 management problem infractions. But, by
January 2022, only 83 disciplinary reports were written for management problems.

     280
     260                    171
     240                            10
     220    238
                    174
     200                                             5
     180                                     10
     160                            137
     140                     72                                                                 104
                                                    149                                               85
     120                                     127             126
     100            48                                              108      69
             25
      80                                                                             83
                                    42
      60                                                                                        59    59
                            105                              26              25
      40     76     77                       29      22             18
                                    51                                                9
      20                                             30      33     30       37                 29    31
                                             25                                      26
       0
           Apr-21 May-21 Jun-21    Jul-21   Aug-21 Sep-21   Oct-21 Nov-21 Dec-21   Jan-22   Feb-22 Mar-22
                    # Predatory   # Aggressive     # Management    # Disruptive    # Nuisance
Figure 10: Most Serious Disciplinary Infraction/Report with Finding of Guilty: April 2021 – March 2022

IV. A. 10. h. OPSO shall review the periodic data report and make recommendations regarding proper
placement consistent with this Agreement or other necessary changes in policy based on this review.
The review and recommendations will be documented and provided to the Monitor.
Finding:
Substantial Compliance
Observations:
      The Monitor receives the daily "Active Inmates by Location" reports and has access
to the ad hoc Classification Monitor lists and various classification statistical reports.
During this Compliance Period, there were multiple updates to the OPSO Housing Matrix;
the Matrices were provided upon request.
      We anticipated that OPSO would revamp the daily enemy refusal process per its
revised classification procedures and checklist (dated 3-10-2022). However, it appeared
that the process did not change. The enemy reviews completed during this period did not
comply with the OPSO policy. Classification staff continued to rely on telephone calls from

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security rather than conduct the required interviews, data checks, etc. Further, the
classification revalidation project languished despite previous OPSO assurances. (With
whom OPSO contracts for the revalidation is irrelevant, our concern is that the validation is
already 12 months behind schedule.)
IV. A. 11.      Prisoner Grievance Process
A. 11. a. OPSO shall ensure that prisoners have a mechanism to express their grievances, resolve
disputes, and ensure that concerns regarding their constitutional rights are addressed. OPSO shall, at a
minimum, do the following:
             (1) Continue to maintain policies and procedures to ensure that prisoners have access to
                 an adequate grievance process and to ensure that grievances may be reported and filed
                 confidentially, without requiring the intervention of a correctional officer. The policies
                 and procedures should be applicable and standardized across all the Facility divisions.
             (2) Ensure that each grievance receives appropriate follow-up, including providing a
                 timely written response and tracking implementation of resolutions.
             (3) Ensure that grievance forms are available on all units and are available in Spanish and
                 Vietnamese and that there is adequate opportunity for illiterate prisoners and
                 prisoners who have physical or cognitive disabilities or language barriers to access the
                 grievance system.
             (4) Separate the process of “requests to staff” from the grievance process and prioritize
                 grievances that raise issues regarding prisoner safety or health.
             (5) Ensure that prisoner grievances are screened for allegations of staff misconduct and, if
                 an incident or allegation warrants per this Agreement, that it is referred for
                 investigation.
             (6) A member of the management staff shall review the grievance tracking system
                 quarterly to identify areas of concerns. These reviews and any recommendations will
                 be documented and provided to the Monitor.
Findings:
A. 11. a. (1) Substantial Compliance
A. 11. a. (2) Partial Compliance
A. 11. a. (3) Substantial Compliance
A. 11. a. (4) Substantial Compliance
A. 11. a. (5) Substantial Compliance
A. 11. a. (6) Substantial Compliance
        Until the September 2019 report, one rating was given for the entire section for the
Prisoner Grievance Process. In order to highlight which provisions are in substantial
compliance versus those which fall short, the decision was made to rate each provision
separately.
        This review covered October 2021 through March 2022. For this review, the
Monitor interviewed the Grievance Lieutenant, and security staff and inmates while
inspecting the housing units. Reports and data submitted by OPSO covering the rating
period were also reviewed.
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       As noted during the previous inspection, a review of the documentation
demonstrated that all inmate submissions continue to be reviewed by Grievance staff,
categorized into requests and grievances, and forwarded to the appropriate staff for
response. Statistical information was provided on all categories. Both requests and
grievances continue to be sorted by type. Specific grievances related to inmate safety,
medical issues, PREA, etc., are documented to reflect the date received, inmate
information, type of grievance, time of notification made to the appropriate staff member,
and the staff member making the notification. For the analysis, the Monitor created three
charts and added simple trendline overlays to each grievance category listed. A fourth
chart was added to graphically represent the number of grievances overall relative to the
inmate population to give an indication as to whether the number of grievances received
in a given period substantially correlated with the total inmate population.
       Grievance staff once again provided detailed documentation as to their separate
handling of the October 2021 through March 2022 inmate requests, grievances, and
complaints related to inmate safety or health. (Three months from the previous rating
period were added to the charts below to reflect any changes from the previous rating
period.)
       As reported by the OPSO Grievance staff, the monthly average of 85 grievances
during the previous rating period increased to 146—a 72% increase overall during the
current rating period. Inmate Medical grievances are trending slightly upward and, while
relatively small in number, grievances related to Inmate-on-Inmate violence and “Life
Threatening” grievances also were on the rise during the rating period, reversing the trend
from the previous rating period.
       Accounting for the most significant portion of the increase was the category of “OJC
Facility Grievable Miscellaneous” which are assigned to the Unit Managers and Major of
Security for resolution. This is a catch-all category for grievances that do not fit the other
categories listed. The increased average for the last four months of the rating period (75)
was a 150% increase versus an average of 30 for the previous 11 months. It should be
noted as well that staff responsible for answering grievances in this category failed to
meet the timeliness requirement in all but one month of the rating period. Overall
timeliness of responses as well as substantive responses remain as issues based upon the
OPSO grievance audit information. While changes to the grievance monitoring, assignment
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and reporting processes by the Grievance Lieutenant have had a positive impact (as noted
in Report #15), the Monitor recommends OPSO focus specific attention in this area as
failure to do so may result in the lowering of the rating in this area.
       The monthly average of inmate requests received declined from 1889 during the
previous rating period to 1649 for the current rating period, continuing the downward
trend by another 13% indicating staff are handling routine issues more efficiently. It may
also be indicative of an issue with inmates being able to file grievances due to non-working
kiosks and lack of paper grievance forms. Additionally, Grievance staff responded to an
additional 746 miscellaneous inmate requests per month, on average, expediting the
response process.
       As noted in the previous report, the Average Daily Population since the beginning
of the pandemic has seen a general decline but is still a factor in the lower average number
for this rating period when compared to that prior to March 2020. Additional analysis of
data provided by OPSO allowed the Monitor to determine whether the number of
grievances and requests relative to the overall inmate population was consistent or not.
Chart Number 4 in this section graphically reflects the monthly averages for population,
requests, and grievances. It is the Monitor’s opinion that the rise and fall of the grievances
and requests substantially mirror that of the total inmate population as would generally be
expected. This is a positive indication of operational changes and conditions within the jail
in the Monitor’s opinion.
       The Grievance Section continues to randomly audit approximately 10% of the
grievances received with regular reports generated for management review.




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Chart 1




Chart 2




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Chart 3




Chart 4




(The color gray represents the overall population; orange represents inmate requests; and blue
represents inmate grievances.)
      As noted during the last several inspections, inmates have access to the grievance

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process via electronic kiosks located in the housing units throughout OJC and TDC and
through a traditional paper grievance system utilized as a “back-up” system due to the
number of non-functioning kiosks. As of the date of the inspection, there were only 8 of 24
kiosks reported as functional in OJC. Similar issues were noted in TDC/TMH. As noted in
report #15, the Monitor observed that the problem with the current kiosk system
continues to worsen, and it remains the Monitor’s opinion that the kiosk system remains
unreliable in terms of operational availability for the majority of the inmates. The Monitor
recommends that the new OPSO administration address either the repair or replacement
of the current system as soon as possible, and ensure adequate staff are assigned to the
Grievance section to handle the additional workload generated by the paper system.
       The Grievance Lieutenant reported that every housing unit continues to be visited
seven days per week with a “walk by” of every cell to collect paper grievances to ensure
that problems with the kiosks do not interfere with an inmate’s ability to submit
grievances. However, there were inmates who expressed concern that paper grievances
lead to retaliation.
       The Monitor again reviewed the paper grievances tracking documentation and
noted that all such grievances continue to be entered into the electronic system by
Grievance staff upon receipt. Paper responses are provided to inmates in units that do not
have a functioning kiosk. The Monitor recommends Maintenance staff address the security
of the grievance receptacles. At least two were found to be easily manipulated and opened
by inmates simply by inserting their fingers into the slot on top of the receptacle. This
jeopardizes the confidentiality of the grievance system.
       As with the previous report, Unit Managers are again urged to remind line security
staff of the importance of making grievance forms available upon request by the inmate(s).
It is the Monitor’s opinion that this manual work-around is acceptable under the language
of the Consent Judgment requiring the inmates have access to a meaningful and
confidential grievance process but is problematic.
       During the Monitor’s tour through the housing pods, the Monitor spoke with
several individual inmates. While there were few verbal complaints about the grievance
process, there were still some instances reported regarding access to paper grievances, a
lack of substantive responses and response timeliness. No inmates complained of staff
“coaching” inmates with regard to speaking with the Monitors as was noted during the
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previous inspection.
        No complaints regarding access to grievance histories/paperwork were received by
the Monitor indicating that the policy issue noted in Report #15 had been addressed by
the Administration and Grievance Lieutenant.
        Grievance staff continue to do an excellent job tracking grievances and requests
and reporting as to the timeliness and quality of the responses to address the inmates’
issues. Documentation continues to reflect that Grievance staff maintain a by-
name/housing listing of all OPSO inmates identified as needing Grievance staff assistance
to access the grievance system due to either a language barrier or illiteracy.
        The Monitor reviewed detailed documentation provided by Grievance staff for the
rating period regarding the screening of grievances for staff misconduct. The
documentation demonstrated that all inmate submissions are reviewed by Grievance staff
and those regarding staff misconduct are separately documented for appropriate referral
to the administrative level for follow-up. Grievance staff processed a total of 100 such staff
misconduct related grievances during this rating period, up from 77 in the previous rating
period and the 39 noted in Report #14. This demonstrates a significant trend and may be
reflective of staff shortages, turnover and training issues noted elsewhere in the report.
        Grievance staff continue to separately document grievances that require specific
referral to IAD, ISB, PREA, or FIT staff for review and investigation. Detailed information
along with the date assigned and disposition is maintained as well as email transmission
receipts. Grievances referred to IAD more than doubled from 6 to 14, and grievances
referred to ISB increased more than 30% from 18 to 25 for the rating period.
        The Monitor reviewed the 2021 Fourth and 2022 First quarter data analysis of the
grievance reports presented by Grievance staff for executive review. Specific discussion by
executive staff regarding the grievance documentation and reporting was noted. The
meeting minutes noted that Dr. Astrid has implemented weekly meetings with staff and
inmate representatives on the topic. The Monitor views this as a positive action by the new
administration.
IV. A. 12. Sexual Abuse
A. 12. OPSO will develop and implement policies, protocols, trainings, and audits, consistent with the
requirements of the Prison Rape Elimination Act of 2003, 42 U.S.C. § 15601, et seq., and its
implementation of regulations, including but not limited to, preventing, detecting, reporting,
investigating, and collecting sexual abuse data, including prisoner-on-prisoner and staff-on-prisoner

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sexual abuse, sexual harassment, and sexual touching.
Finding:
A. 12. Partial Compliance
Observations:
        OPSO successfully completed its PREA audit in 2019. The PREA Coordinator was
reassigned to a housing area and the position has not been filled for years. The duties of
the PREA Coordinator have been absorbed by the PREA manager, but she is now tasked
with performing the duties of three positions. PREA does not require more than a PREA
Coordinator, but the organizational chart should be revised to reflect the change.
Supervision of the investigation of PREA complaints was added to the duties of the FIT
supervisor. He has received additional PREA training. Substantial compliance is not
guaranteed by successfully completing a PREA audit once every three years. The only
documentation provided for this monitoring period was the policies. No proof as to
implementing the requirements of PREA was provided. The Monitor is aware of PREA
investigations taking place due to her review of those documents under a different section.

IV. A. 13.      Access to Information
A. 13. OPSO will ensure that all newly admitted prisoners receive information, through an inmate
handbook and, at the discretion of the Jail, an orientation video, regarding the following topics:
understanding Facility disciplinary process and rules and regulations; reporting misconduct; reporting
sexual abuse or assault; accessing medical and mental health care; emergency procedures; and sending
and receiving mail; understanding the visitation process; and accessing the grievance process.
Finding:
A. 13. Substantial Compliance
Observations:
        Materials were provided indicating the requirements of this paragraph have been
met.

IV. B. Mental Health Care
B. OPSO shall ensure constitutionally adequate intake, assessment, treatment, and monitoring of
prisoners’ mental health needs, including but not limited to, protecting the safety of and giving priority
access to prisoners at risk for self-injurious behavior or suicide. OPSO shall assess, on an annual basis
or more frequent basis, whether the mental health services at OPP comply with the Constitution. In
order to provide mental health services to prisoners, OPSP, at a minimum shall:

Findings:

B. 1. a. Substantial Compliance
B. 1. b. Substantial Compliance
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B. 1. c. Substantial Compliance
B. 1. d. Substantial Compliance
B. 1. e. Partial Compliance
B. 1. f. Partial Compliance
B. 1. g. Substantial Compliance
B. 1. h. Substantial Compliance
B. 1. i. Partial Compliance
B. 1. j. Partial Compliance
B. 1. k. Partial Compliance
B. 1. l. Partial Compliance
B. 1. a. Develop and maintain comprehensive policies and procedures for appropriate screening and
assessment of prisoners with mental illness. These policies should include definitions of emergent,
urgent, and routine mental health needs, as well as timeframes for the provision of services for each
category of mental health needs.

Finding:
Substantial Compliance

        This was found in substantial compliance by the prior monitor and there was no
evidence Wellpath does not continue to utilize proper screening and assessment forms.
They are being implemented without issue.
B. 1. b. Develop and implement an appropriate screening instrument that identifies mental health
needs, and ensures timely access to a mental health professional when presenting symptoms require
such care. The screening instrument should include the factors described in Appendix B. The screening
instrument will be validated by a qualified professional approved by the Monitor within 180 days of the
Effective Date and every 12 months thereafter, if necessary.

Finding: See B. 1. a.
Substantial Compliance
B. 1. c. Ensure that all prisoners are screened by Qualified Medical Staff upon arrival at OPP, but no later
than within eight hours, to identify a prisoner’s risk for suicide or self-injurious behavior. No prisoner
shall be held in isolation prior to an evaluation by medical staff.

Finding: See B. 1. a.
Substantial Compliance
Suggestion:
        While Wellpath is in substantial compliance with this provision, there was a
discussion/recommendation to have a mental health professional assigned to the intake
area (IPC) to help ensure inmates are seen by a mental health professional and needs are
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not missed or overlooked by non-behaviorally trained staff.
B. 1. d. Implement a triage policy that utilizes the screening and assessment procedures to ensure that
prisoners with emergent and urgent mental health needs are prioritized for services.

Finding: See B. 1. a. and B. 1. c. Suggestion
Substantial Compliance
Suggestion:
        CQI project for this provision to ensure SOP for referrals for Special Needs inmates
in need of counseling are adequately addressed.
B. 1. e. Develop and implement protocols, commensurate with the level of risk of suicide or self-harm, to
ensure that prisoners are protected from identified risks for suicide or self-injurious behavior. The
protocols shall also require that a Qualified Mental Health Professional perform a mental health
assessment, based on prisoner’s risk.

Finding:
Partial Compliance
        There continues to be challenges with deputies documenting suicide watch on the
required observation forms. While the use of these forms would make the suicide watch
process more uniform, it would also allow for more accurate communication between
deputies and mental health staff. While improved, Deputies have been assigned duties for
12% of suicide watches in June 2022, 10% of suicide watches in May 2022, 15% of suicide
watches in April 2022, 9% of suicide watches in March 2022, 14% of suicide watches in
February 2022, and 9% of suicide watches in January 2022. These numbers do not include
miscellaneous watches which are not conducted by Wellpath staff.
Suggestion:
        Continue to monitor and report use of the correct observation for suicide watch by
deputies. Ensure there is no use of physical restraints for inmates on suicide watch in IPC
or TMH and document any instance where this occurs. Document de-escalation procedures
by Wellpath and deputies.
B. 1. f. For prisoners with emergent or urgent mental health needs, search the prisoner and monitor
with constant supervision until the prisoner is transferred to a Qualified Mental Health Professional for
assessment.

Finding:
Partial Compliance
Suggestion:
        There continue to be challenges providing adequate documentation of searches and

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constant supervision, on proper documentation, by deputies prior to the arrival of mental
health staff when an assessment for all emergent and urgent needs are determined.
Provide written documentation of all protocols and procedures for searching inmates as
soon as safely possible, along with attempts at having mental health staff available to try
and limit the need for de-escalation interventions. This should all be completed prior to
placement on any form of suicide precautions, watch or Direct Observation.
B. 1. g. Ensure that a Qualified Mental Health Professional conducts appropriate mental health
assessments within the following periods from the initial screen or other identification of need:
          1)      14 days, or sooner, if medically necessary, for prisoners with routine mental health
needs;
          2)      48 hours, or sooner, if medically necessary, for prisoners with urgent mental health
needs;
                  And
          3)      immediately, but no later than two hours, for prisoners with emergent mental health
needs.

Finding:
Substantial Compliance
Suggestion:
        Continue to conduct CQI audits to ensure implementation and timeliness of referral
responses. A Qualified Mental Health Professional assigned to IPC will help ensure inmates
at intake receive appropriate assessments and timely referrals, including referrals to
psychiatrists during on-call hours.
B. 1. h. Ensure a Qualified Mental Health Professional preforms a mental health assessment no later
than the next working day following any adverse triggering event (i.e., any suicide attempt, any suicide
ideation, or any aggression to self, resulting in serious injury).

Finding:
Substantial Compliance
B. 1. i. Ensure that a Qualified Mental Health Professional, as part if the prisoner’s interdisciplinary
treatment team, maintains a risk profile for each prisoner on the mental health case load based on the
Assessment Factors identified in Appendix B, and develops and implements a treatment plan to
minimize the risk of harm to each of these prisoners.

Finding:
Partial Compliance
Suggestion:
        During this site visit, the lack of completed treatment plans, especially in the
general population, was discussed. This is due in part to the lack of resources, a dedicated
psychiatrist and mental health professional, for the general population. In order to achieve

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substantial compliance, there will need to be interdisciplinary treatment plans conducted
in the general population with a risk profile for each inmate on the mental health case load.
A commitment to providing an adequate staffing rubric to complete these tasks will be
essential. It does not appear that stretching the current resources will be sufficient to
complete this task. These treatment plans must include interventions to minimize risk of
harm for inmates throughout the system, including stepdown and outpatient level of care.
This risk profile should also include deficits in planned services and content, which could
be due to lack of available staff, and remedies to correct the deficits.
B. 1. j. Ensure adequate and timely treatment for prisoners, whose assessments reveal mental illness
and/or suicidal ideation, including timely and appropriate referrals for specialty care and visits with
Qualified Mental Health Professionals, as clinically appropriate.

Finding:
Partial Compliance
Suggestion:
        There is a need for a full range of mental health and counseling services at OJC and
TMH/TDC. These services include group therapy sessions, individual counseling sessions
and a confidential area to conduct these interventions. There is a lack of dedicated
confidential areas to conduct mental health interventions. All inmates, including those in
IPC and outpatient level of care, need appropriate, therapeutically developed treatment for
their mental illness. Mental health interventions cannot be properly administered without
the assistance of deputies providing security and transport for inmates. Wellpath and
OPSO must work together in order for this provision to be in substantial compliance. Cell
side visits are not considered therapeutically appropriate or adequate treatment for the
vast majority of inmates on the mental health case load. Continue to provide
documentation, including barriers, to scheduled and completed adequate and timely
treatment for all individuals on the mental health case load including rounds, individual
and group therapies and/or counseling, referrals to specialty services for all male and
female inmates, and materials which are used to provide education.
B. 1. k. Ensure crisis services are available to manage psychiatric emergencies. Such services include
licensed in-patient psychiatric care, when clinically appropriate.

Finding:
Partial Compliance


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Suggestion:
        OPSO continues to lack access to licensed in-patient services for male and female
inmates. While attempts have been made to secure a licensed in-patient facility to care for
these inmates, OPSO has been unsuccessful in this endeavor. Wellpath is encouraged to
continue to provide documentation that all psychiatric emergencies are sent to an
emergency department and any crisis is adequately resolved. Currently, the utilization of
TMH and external emergency departments are the resources which must be used.
B.1.l. On an annual basis, assess the process for screening prisoners for mental health needs to
determine whether prisoners are being appropriately identified for care. Based on this assessment,
OPSO shall recommend changes to the screening system. The assessment and recommendations will be
documented and provided to the monitor.

Finding:
Substantial Compliance
Suggestion:
        SOP revisions will be reviewed at the next visit to ensure OPSO remains in
substantial compliance. The suggestion to add a Qualified Mental Health Professional to
IPC would help ensure inmates are being appropriately identified for care.
Findings:
B. 2. a. Partial Compliance
B. 2. b. Partial Compliance
B. 2. c. Partial Compliance
B. 2. d. Partial Compliance
B. 2. e. Substantial Compliance
B. 2. f. Partial Compliance
B. 2. g. Substantial Compliance
B. 2. h. Partial Compliance
B. 2. a. Review, revise, and supplement existing policies in order to implement a policy for the delivery of
mental health services that includes a continuum of services, provides necessary and appropriate
mental health staff, includes a treatment plan for prisoners with serious mental illness, and collects
data and contains mechanisms sufficient to measure whether care is being provided in a manner
consistent with the Constitution.

Finding:
Partial Compliance
Suggestion:
        While the vast majority of necessary policies have been completed, there continues
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to be a need for consistent and appropriate implementation of these policies, especially de-
escalation interventions. There is a need to collect data regarding the universe of inmates
requiring mental health services and how many are receiving therapeutically,
individualized care. This will include documenting wait lists and service needs along with
barriers to the provision of treatment. There will also need to be an interdisciplinary
treatment team in the outpatient level of care to determine and implement appropriate
levels of treatment.
B. 2. b. Ensure that treatment plans adequately address prisoners’ serious mental health needs and that
the treatment plans contain interventions specifically tailored to the prisoner’s diagnoses and
problems.

Finding:
Partial Compliance
Suggestion:
        Continue to work towards providing interdisciplinary treatment plans to all
individuals on the mental health case load throughout the facility. Treatment plans are
needed for all male, female, and youthful offenders at all levels of care, including acute
care, suicide watches and outpatient level of care. These treatment plans need to be
developed by a multidisciplinary team, including the prisoner.
B. 2. c. Provide group or individual therapy services by an appropriately licensed provider where
necessary for prisoners with mental health needs.

Finding:
Partial Compliance
Suggestion:
        Group therapies have been conducted in TMH since January 2021. There is a
struggle to consistently conduct groups in OJC, which was interrupted by COVID. There is
also limited, dedicated group space for Wellpath to conduct groups. There is limited access
to confidential space to conduct individual therapy sessions. Cell front visits are not
considered therapeutically appropriate treatment for inmates with mental health needs.
There may be a need to determine what the needs for the mental health population are, i.e.,
what services need to be offered, and focus resources until sufficiently able to provide the
level of service needed throughout the facility, as a stop gap measure. Continue to provide
documentation of data and analysis of numbers and percentages of inmates at all levels of
care in need of individual and/or group therapies and counseling as well as the numbers
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and percentages of individual and group services offered and received/completed for
inmates in need. Provide documentation of attempted individual and group services and
reasons for the services not being completed along with wait lists for services, including
Disruption of Service forms and corrective action plans to address the issues.
        Continue to provide data on the number of inmates who received counseling for
sexual abuse, alcohol and drug abuse.
B. 2. d. Ensure that mental health evaluations that are done as part of the disciplinary process include
recommendations based on the prisoner’s mental health status.

Finding:
Partial Compliance
Suggestion:
        While this process began in the 13th monitoring period, mental health staff are
included in in-hearing observations and screenings rather than consulted to provide a pre-
hearing assessment relative to charges. There is also a lack of consistency in ensuring
mental health staff are consulted prior to the inmate being moved into disciplinary
housing. While Wellpath is working on a policy for mental health assessments as a part of
the disciplinary process, OPSO has not signed off on nor has there been consistent
implementation of this policy. Training would be required to ensure both parties, Wellpath
and OPSO, are working in tandem to ensure inmates do not deteriorate when in
disciplinary housing and mental health needs are adequately assessed and addressed.
B. 2. e. Ensure that prisoners receive psychotropic medications in a timely manner and that prisoners
have proper diagnoses and/or indications for each psychotropic medication they receive.

Finding:
Substantial Compliance
Suggestion:
        Continue the partnership with Tulane psychiatric providers as this has made
dramatic improvements in the system. Continue to provide documentation and analysis of
data to ensure inmates are receiving psychotropic medications in a timely manner,
especially upon admission to the facility. If there are delays in an inmate receiving
medication, document and create a correction action plan to address the deficiency. Ensure
medications are being used to treat the diagnosis on record or there is clear justification in
the record for the off-label use of a psychotropic medication.

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B. 2. f. Ensure that psychotropic medications are administered in a clinically appropriate manner as to
prevent misuse, overdose, theft, or violence related to medication.
Finding:
Partial Compliance
Suggestion:
        There continues to be challenges with proper observation of medication
administration on the units. The lack of consistent mouth checks during pill pass may
result in misuse, overdose, theft, and violence related to medication. This provision
requires the cooperation of OPSO and Wellpath to ensure policies and procedures are
enforced. Corrective action plans may be required to ensure the safety of inmates who are
prescribed psychotropic medication, the safety of the pod, and the safety of the
staff/deputies assigned to the unit. Further analysis may be needed to analyze the finding
of contraband, prescribed and nonprescribed medication, and what corrective plan to put
in place to minimize the risks.
B. 2. g. Ensure that prescriptions for psychotropic medication are reviewed by a Qualified Mental Health
Professional on a regular, timely basis and prisoners are properly monitored.


Finding:
Substantial Compliance
Suggestion:
        Continue to provide documentation of data collection and analysis of psychotropic
medication prescriptions, including the timeliness between when the prescription is
written, and the first dose received by the inmate. There also needs to be documentation if
there is a disruption in providing psychotropic medications along with the source of the
disruption.
B. 2. h. Ensure that standards are established for the frequency of review and associated charting of
psychotropic medication monitoring, including monitoring for metabolic effects of second-generation
psychotropic medications.

Finding:
Partial Compliance
Suggestion:
        With the addition of a laboratory technician, monitoring for metabolic effects of
second-generation psychotropic medications has improved. The challenge remains with
the prescribing provider being informed of a refusal by the inmate. If the provider is not

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informed, the inmate risks not having the labs drawn in a timely manner because the
provider was unaware of the need to re-order the labs. Wellpath needs to create and
implement a policy enforcing communication to the necessary clinician regarding
laboratory refusals/services and put a system in place to ensure timely follow-up.
Findings:
B. 3. a. Partial Compliance
B. 3. b. Partial Compliance
B. 3. a. OPSO shall develop and implement policies and procedures for prisoner counseling in the areas
of general mental health/therapy, sexual-abuse counseling, and alcohol and drug counseling. This
should, at a minimum, include some provision for individual services.

Finding:
Partial Compliance
        While there have been more group and individual therapy sessions available in
TMH, there continues to be a challenge in providing group and/or individual therapeutic
sessions in the general population. There continues to be challenges surrounding
dedicated, confidential space to conduct therapeutic interventions, with many
interventions occurring at cell side. The exact numbers of inmates who had received
services or who were on a waitlist for services was not discussed but will be closely
evaluated at the next site visit.
Suggestion:
        Continue to track the availability of group and/or individual sessions completed
along with the number of inmates in need of services. Continue to track disruptions in
service. As stated earlier, assigning a Qualified Mental Health Professional to IPC would
help with accurate tracking of referrals and need for service at OJC and TMH.
B. 3. b. Within 180 days of the Effective Date, and quarterly thereafter, report all prisoner counseling
services to the Monitor, which should include:
          1)     the number of prisoners who report having participated in general mental
health/therapy counseling at OPP;
          2)     the number of prisoners who report having participated in alcohol and drug counseling
services at OPP;
          3)     the number of prisoners who report having participated in sexual-abuse counseling at
OPP; and
          4)     the number of cases with an appropriately licensed practitioner and related one-on-one
counseling at OPP.

Finding:
Partial Compliance

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        At this site visit, the request to look at the absolute number of inmates in need of
these services was requested. This number is not collected, at this time, rather the number
of participants in services is collected. In order to determine the need for service and types
of services needed, Wellpath needs to know the universe of inmates in need of these
services. A Qualified Mental Health Professional assigned at IPC would assist in
determining the absolute numbers of individuals in need of these services and help
determine whether the current offerings are sufficient to provide these therapeutic
interventions. These numbers could then be analyzed to determine where clinicians may
be needed to conduct interventions. Keeping track of wait lists and backlogs helps
determine the needs throughout the facility. There are factors at play which continue to
preclude achieving substantial compliance with this provision including lack of dedicated,
confidential space to conduct these sessions, staffing deficiencies and the pandemic’s
impact. Just keeping track of those who attend these therapeutic sessions is not sufficient.
Suggestion:
        Collect and analyze data concerning the universe of inmates in need of these
services and create corrective action plans to address the deficits which may be present at
OJC and TMH.
Findings:
B. 4. a. Partial Compliance
B. 4. b. Substantial Compliance
B. 4. c. Substantial Compliance
B. 4. d. Partial Compliance
B. 4. e. Substantial Compliance
B. 4. f. Partial Compliance
B. 4. g. Substantial Compliance
B. 4. a. OPSO shall ensure that all staff who supervise prisoners have the adequate knowledge, skill, and
ability to address the needs of prisoners at risk for suicide. Within 180 days of the Effective Date, OPSO
shall review and revise its current suicide prevention training curriculum to include the following
topics:
          1)     suicide prevention policies and procedures (as revised consistent with this Agreement);
          2)     analysis of facility environments and why they may contribute to suicidal behavior;
          3)     potential predisposing factors to suicide;
          4)     high-risk suicide periods;
          5)     warning signs and symptoms of suicidal behavior;
          6)     case studies of recent suicides and serious suicide attempts;
          7)     differentiating suicidal and self-injurious behavior; and
          8)     the proper use of emergency equipment.
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Finding:
Partial Compliance
        A new curriculum has been created to address this provision. Deputies have yet to
consistently utilize the Observation/Restraint Checklist and Worksheet which the MHTs
use for suicide watch. It was observed that MHTs were not accurately documenting
staggered q15 minute checks on the Observation/Restraint Checklist and Worksheet. The
MHTs were doing exactly 15-minute checks, not staggered – for example, one MHT had
done a check at 10:57am with the next check at 11:12am. The MHT stated they were asked
to do a check at 11:09am, when I was present on the pod, yet wrote 11:12am on the
Observation/Restraint Checklist and Worksheet. The checks should be staggered within
the 15-minute period rather than every 15 minutes. Deputies are still responsible for
approximately 11% of suicide watches in a given month since January 2022.
Suggestion:
        Continue training both deputies and MHTs on the importance of staggered 15-
minute checks. There continue to be reports of inmates having access to contraband
resulting in self-harm behaviors. Analysis of the effectiveness of training is paramount to
determine whether inadequate monitoring continues to occur. The upper tier assignments
of inmates in OJC need careful scrutiny as there is a risk of self-harm behavior as there are
no barriers in place to prevent jumping or hanging from the upper tier. Ensure
recommendations from clinicians for level of observation is appropriate for the presenting
situation. Peer reviews and supervisory checks may be necessary to ensure proper
documentation of suicide watch and observations.
B. 4. b. Ensure that all correctional, medical, and mental health staff are trained on the suicide
screening instrument and the medical intake tool.

Finding:
Substantial Compliance
Suggestion:
        Continue to provide documentation that multi-disciplinary in-service training has
been completed annually for all current correctional, medical, and mental health staff to
include training on updated policies, procedures, and techniques. All incoming staff should
be trained in the suicide screening instrument and medical intake tool during onboarding

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orientation.
B. 4. c. Ensure that multi-disciplinary in-service training is completed annually by correctional, medical,
and mental health staff, to include training on updated policies, procedures, and techniques. The
training will be reviewed and approved by the Monitor.

Finding:
Substantial Compliance
Suggestion:
        Continue to provide documentation that multi-disciplinary in-service training has
been completed annually for all current correctional, medical, and mental health staff, to
include training on updated policies, procedures, and techniques. Training will be needed
to address deficiencies in communication, especially between OPSO and Wellpath
clinicians, and documentation regarding de-escalation procedures, disciplinary process,
and searches. Training should clearly delineate responsibilities of various staff member
involvement, including during medication pass. Supervisory spot checks may be needed to
ensure training is adequate and adhered to during various processes around OJC and TMH.
B. 4. d. Ensure that all staff are trained in observing prisoners on suicide watch and step-down units
status.

Finding:
Partial Compliance


        During the site visit, we discussed the use of the approved Observation/Restraint
Checklist and Worksheet not being consistently adhered to by deputies assigned to suicide
watch. It was also observed that the MHTs were not accurately completing the document
for observation. Deputies have been assigned approximately 11% of suicide watches
monthly since January 2022.
Suggestion:
        Further training and supervisory observation may be necessary to ensure accurate
completion of these documents and a correction action plan to help ensure deputies are
completing the correct document.
B. 4. e. Ensure that all staff that have contact with prisoners are certified in cardiopulmonary
resuscitation (“CPR”).

Finding:
Substantial Compliance

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Suggestion:
        Continue to provide documentation that all current staff, including OPSO and Wellpath, are
certified in CPR. At the next site visit, will review the process in place to ensure all staff are
appropriately scheduled for CPR so there is no lapse in certification.
B. 4. f. Ensure that an emergency response bag, which includes a first aid kit and emergency rescue tool,
is in close proximity to all housing units. All staff that has contact with prisoners shall know the location
of this emergency response bag and be trained to use its contents.

Finding:
Partial Compliance
        During this site visit, the emergency bags were present near the housing units
checked. The challenge was the sharpness of the tool and use by the assigned staff member
to the control room. The staff member was unable to adequately use the tool to cut a cloth.
Suggestion:
        Ensure the cut down tools are adequately sharpened, and staff is trained in the
proper use of the tool.
B. 4. g. Randomly test five percent of relevant staff on an annual basis to determine their knowledge of
suicide prevention policies. The testing instrument and policies shall be approved by the Monitor. The
results of these assessments shall be evaluated to determine the need for changes in training practices.
The review and conclusions will be documented and provided to the Monitor.

Finding:
Substantial Compliance
        The testing instrument was reviewed and one question which seemed to present an
issue for a number of the testers was discussed.
Suggestion:
        Consider revision of the question.
Findings:
B. 5. a. Partial Compliance
B. 5. b. Partial Compliance
B. 5. c. Partial Compliance
B. 5. d. Substantial Compliance
B. 5. e. Partial Compliance
B. 5. f. Partial Compliance
B. 5. g. Partial Compliance
B. 5. h. Partial Compliance

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B. 5. i. Partial Compliance
B. 5. j. Substantial Compliance
B. 5. k. Partial Compliance
B. 5. a. OPSO shall implement a policy to ensure that prisoners at risk of self-harm are identified,
protected, and treated in a manner consistent with the Constitution.

Finding:
Partial Compliance
        While various policies are in place to ensure inmates at risk of self-harm are
identified, protected, and treated in a manner consistent with the Constitution, there
remains the challenge of consistent implementation. Issues surrounding de-escalation,
searches, and referrals remain. The prior Monitor identified limited out of cell time and
non-confidential cell front interviews being conducted for inmates on suicide watch. While
not completely investigated during this site visit, it is noted the new psychologist has
insisted on having a confidential space to conduct suicide watch assessments.
Suggestion:
        Monitor whether the psychologist has consistent access to a confidential space to
conduct these assessment and document reasons this has not been implemented.
Document consistent out of cell time for inmates on suicide watch and create a corrective
action if there is not adequate time out of cell. Individuals on suicide watch need intensive
treatment interventions including out of cell time, counseling, and therapy, as medically
indicated. Document treatment interventions of inmates on suicide watch and any barriers
present in not providing appropriate treatment. Document any inmate on suicide watch or
in detox protocols who is found with contraband or misuse of supplies.
B. 5. b. Ensure that suicide prevention procedures include provisions for constant direct supervision of
current suicidal prisoners and close supervision of special needs prisoners with lower levels of risk, at a
minimum, 15 minutes check. Correctional officers shall document their checks in a format that does not
have pre-printed times.

Finding:
Partial Compliance
        Deputies are not using the prescribed Observation/Restraint Checklist and
Worksheet consistently. QMHPs/MHTs are not accurately completing the document.
Suggestion:
        See comments in B.4.d. Submit documentation for suicide watches in IPC.

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B. 5. c. Ensure that prisoners on suicide watch are immediately searched and monitored with consistent
direct supervision until a Qualified Mental Health Care Professional conducts a suicide risk assessment,
determines the degree of risk, and specifies the appropriate degree of supervision.

Finding:
Partial Compliance
        The challenge remains with immediate and adequate searches of inmates who are
placed on suicide watch.
Suggestion:
        Provide documentation that inmates are immediately searched or as soon as safely
necessary, with a mental health clinician present when feasible, and monitored with
constant direct observation, documented on the Observation/Restraint Checklist and
Worksheet, until a QMHP conducts a suicide risk assessment, determine the degree of risk,
and specifies the appropriate degree of supervision. Written procedures for searches
should be a part of training so each staff member is clear of their responsibilities. Cells
should be searched prior to placement of an inmate on suicide watch and documented.
Collaboration and proactive communication are necessary between OPSO deputies and
Wellpath staff, particularly QMHPs, to meet the requirements of this provision.
B. 5. d. Ensure that prisoners discharged from suicide precautions receive a follow-up assessment
within three to eight working days after discharge, as clinically appropriate, in accordance with a
treatment plan developed by a Qualified Mental Health Care Professional. Upon discharge, the Qualified
Mental Health Care Professional shall conduct a documented in-person assessment regarding the
clinically appropriate follow-up intervals.
Finding:
Substantial Compliance
Suggestion:
        Continue to document if there are access issues to inmates during lockdown
procedures at OJC. Document any barrier to having a confidential space to complete these
post-suicide watch assessments. Continue to monitor and document follow-up
appointments and ensure they are conducted as policy dictates.
B. 5. e. Implement a step-down program providing clinically appropriate transitions for prisoners
discharged from suicide precautions.

Finding:
Partial Compliance
        While there remains no official location for a female step-down unit, there has been
identification of a housing unit where a female step-down unit may be placed – 3D. Overall,

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confidentiality and adequate space still remains a challenge in providing necessary
treatment and follow-up for this population.
Suggestion:
         Continued vigilance in creating a space for a female step-down unit. Continued
attention to securing confidential spaces to provide adequate treatment and interventions
for inmates.
B. 5. f. Develop and implement policies and procedures for suicide precautions that set forth the
conditions of the watch, incorporating a requirement of an individualized clinical determination of
allowable clothing, property, and utensils. These conditions shall be altered only on the written
instruction of a Qualified Mental Health Care Professional, except under emergency circumstances or
when security considerations require.

Finding:
Partial Compliance
         There continues to be questions surrounding whether all inmates are properly
searched prior to being placed on suicide watch.
Suggestion:
         Document all searches, including whether it occurs prior to or after being placed on
suicide watch. Provide documentation of implementation of policies concerning searches
of inmates being placed on suicide watch. Provide documentation of individualized
determinations of the conditions for watch for male and female inmates at OJC and at TMH.
This should include all inmates who are in non-suicide resistant cells and are therefore on
direct observation. Provide policy, procedure, and documentation about suicide watches in
IPC.
B. 5. g. Ensure that cells designated by OPSO for housing suicidal prisoners are retrofitted to render
them suicide-resistant (e.g., eliminating bed frames/holes, sprinkler heads, water faucet lips, and
unshielded lighting or electrical sockets).

Finding:
Partial Compliance
         There are inmates still being housed in non-suicide resistant cells. There were
updates and recommended removal of non-suicide resistance fixtures in TMH.
Suggestion:
         Continue direct observation of individuals who are housed in non-suicide resistant
cells while on suicide watch to best provide for their safety.



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B. 5. h. Ensure that every suicide or serious suicide attempt is investigated by appropriate mental health
and correctional staff, and that the results of the investigation are provided to the Sheriff, and the
Monitor.
Finding:
Partial Compliance
Suggestion:
        The addition of a psychologist conducting a psychological autopsy on all suicides
and serious suicide attempts will help identify not only the security deficits but the clinical
deficiencies which may have been present prior to and during the time of the incident.
Provide the psychological autopsy and all self-critical analyses which have been conducted
for each case. These analyses should include any medical, mental health or other concerns
which were not appropriately addressed while the inmate was in the care and treatment of
OJC or TMH.
B. 5. i. Direct observation orders for inmates placed on suicide watch shall be individualized by the
ordering clinician based upon the clinical needs of each inmate and shall not be more restrictive than is
deemed necessary by the ordering clinician to ensure the safety and well-being of the inmate.
Finding:
Partial Compliance
Suggestion:
        While documentation of suicide watches was not reviewed during this site visit, the
prior Monitor was concerned about suicide watches in IPC. There was also concern
regarding whether inmates in IPC, who are on suicide watch, should be on staggered 15-
minute watches or Direct Observation. Inmates in IPC, who are placed on suicide watch
and have yet to be assessed by an QMHP, should be on Direct Observation. This will be
further investigated at the next site visit.
B. 5. j. Provide the Monitor with periodic report on suicide and self-harm at the Facility. These periodic
reports shall be provided to the Monitor within four months of the Effective Date; and every six months
thereafter until termination of this Agreement. The report will include the following:
          1)       all suicides;
          2)       all serious suicide or self-harm attempts; and
          3)       all uses of restraints to respond to or prevent a suicide attempt.


Finding:
Substantial Compliance
Suggestion:
        Continue to provide this report every six months. There was one suicide prior to the
site visit in 2022.

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B. 5. k. Assess the periodic report to determine whether prisoners are being appropriately identified for
risk of self-harm, protected, and treated. Based on this assessment, OPSO shall document recommended
changes to policies and procedures and provide these to the Monitor.
Finding:
Partial Compliance
        There remain challenges in documenting changes to policies and procedures based
on analysis of risk at the Facility. There remain issues with adequate searches with inmates
having access to contraband. There is also the question of why Direct Observation is not
the standard in IPC when an inmate is placed on suicide watch prior to being seen by
mental health.
Suggestion:
        Provide updated procedures to the Monitor to address outstanding issues with
implementation of ensuring risk challenges are adequately addressed. This provision will
also require adequate treatment plan creation to ensure all individuals who engage with
the inmate are providing a united care front for the inmate.
Findings:
B. 6. a. Partial Compliance
B. 6. b. Substantial Compliance
B. 6. c. Substantial Compliance
B. 6. d. Substantial Compliance
B. 6. e. Substantial Compliance
B. 6. f. Substantial Compliance
B. 6. g. Substantial Compliance
B. 6. a. OPSO shall prevent the unnecessary or excessive use of physical or chemical restraints on
prisoners with mental illness.

Finding:
Partial Compliance
        OPSO is not consistently and proactively contacting mental health prior to the use of
force or needing to implement de-escalation in the Facility.
Suggestion:
        Provide documentation of policies in use for planned de-escalation and use of force.
Provide documentation to support consistent implementation of the policy and procedures
in place to ensure mental health is contacted prior to the use of force, when reasonably

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safe. OPSO needs to generate a report for the Monitor documenting all uses of physical and
chemical restraints throughout the Facility along with attempts to contact mental health
and whether the restraint was planned. Create and submit to the Monitor documentation
to determine how many instances of use-of-force incidents occurred over the year prior to
the next site visit where mental health was not contacted prior to exercising the use-of-
force.
B. 6. b. Maintain comprehensive policies and procedures for the use of restraints for prisoners with
mental illness consistent with the Constitution.

Finding:
Substantial Compliance
B. 6. c. Ensure that approval by a Qualified Medical or Mental Health Professional is received and
documented prior to the use of restraints on prisoners living with mental illness or requiring suicide
precautions.

Finding:
Substantial Compliance
B. 6. d. Ensure that restrained prisoners with mental illness are monitored at least every 15 minutes by
Custody Staff to assess their physical condition.

Finding:
Substantial Compliance
B. 6. e. Ensure that Qualified Medical or Mental Health Staff document the use of restraints, including
the basis for and duration of the use of restraints and the performance and results of welfare checks on
restrained prisoners.
Finding:
Substantial Compliance
B. 6. f. Provide the Monitor a periodic report of restraint use at the Facility. These periodic reports shall
be provided to the Monitor within four months of the Effective Date; and every six months thereafter
until termination of this Agreement. Each report shall include:
          1)       A list of prisoners whom were restrained;
          2)       A list of any self-injurious behavior observed or discovered while restrained; and
          3)       A list of any prisoners whom were placed in restraints on three or more occasions in a
          thirty (30) day period or whom were kept in restraints for a period exceeding twenty-four (24)
          hours.

Finding:
Substantial Compliance
B. 6. g. Assess the periodic report to determine whether restraints are being used appropriately on
prisoners with mental illness. Based on this assessment, OPSO shall document recommended changes to
policies and procedures and provide these to the Monitor.




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Finding:
Substantial Compliance
Findings:
B. 7. a. Partial Compliance
B. 7. b. Substantial Compliance
B. 7. c. Partial Compliance
B. 7. d. Substantial Compliance
B. 7. a. OPSO shall ensure that all staff who supervise prisoners have the knowledge, skills, and abilities
to identify and respond to detoxifying prisoners. Within 180 days of the Effective Date, OPSO shall
institute an annual in-service detoxification training program for Qualified Medical and Mental Health
Staff and for correctional staff. The detoxification training program shall include:
          1)       annual staff training on alcohol and drug abuse withdrawal;
          2)       training of Qualified Medical and Mental Health Staff on treatment of alcohol and drug
          abuse conducted by the Chief Medical Officer or his or her delegate;
          3)       oversight of the training of correctional staff, including booking and housing unit
          officers, on the policies and procedures of the detoxification unit, by the Chief Medical Officer or
          his or her delegate;
          4)       training on drug and alcohol withdrawal by Qualified Medical and Mental Health Staff;
          5)        training of Qualified Medical and Mental Health Staff in providing prisoners with
          timely access to a Qualified Mental Health Professional, including psychiatrists, as clinically
          appropriate; and
          6)       training of Qualified Medical and Mental Health Staff on the use and treatment of
          withdrawals, where medically appropriate.

Finding:
Partial Compliance
Suggestion:
        Assign a mental health clinician to IPC to help identify the universe of patients in
need of mental health services – both behavioral health and substance abuse. Reinforce
training and supervision to ensure all who make referrals for mental health services are
aware of what is expected.
B. 7. b. Provide medical screenings to determine the degree of risk for potentially life-threatening
withdrawal from alcohol, benzodiazepines, and other substances, in accordance with Appendix B.

Finding:
Substantial Compliance
B. 7. c. Ensure that the nursing staff complete assessments of prisoners in detoxification on an
individualized schedule, ordered by a Qualified Medical or Mental Health Professional, as clinically
appropriate, to include observations and vital signs, including blood pressure.

Finding:
Partial Compliance
B. 7. d. Annually, conduct a review of whether the detoxification training program has been effective in
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identifying concerns regarding policy, training, or the proper identification of and response to
detoxifying prisoners. OPSO will document this review and provide its conclusions to the Monitor.

Finding:
Substantial Compliance
Findings:
B. 8. a. Partial Compliance
B. 8. b. Substantial Compliance
B. 8. a. OPSO shall ensure that medical and mental health staffing is sufficient to provide adequate care
for prisoners’ serious medical and mental health needs, fulfill constitutional mandates and the terms of
this Agreement, and allow for the adequate operation of the Facility, consistent with constitutional
mandates.

Findings:
Partial Compliance
        There continues to be challenges in securing and retaining adequate numbers of
staff, including medical and mental health staff, to provide adequate care for inmates’
serious medical and mental health needs. For example, there are insufficient staff to create
and complete a multi-disciplinary treatment plan in the outpatient setting where all
members of the treatment plan are physically present with the inmate.
Suggestion:
        There needs to be adequate funding set aside to hire staff and ensure there is
adequate, constitutionally mandated treatment throughout the entire facility. This includes
a dedicated psychiatrist for the outpatient (OJC) treatment program who would be
available for much needed treatment planning. This includes a recommendation for a
dedicated QMHP in IPC to ensure referrals are identified and addressed in a timely
manner. This includes having adequate staff to conduct safety/suicide watches, especially
while non-suicide resistant cells are still in use. OPSO and Wellpath should consider hiring
a psychiatric nurse who could help with proper identification of mental health grievance
needs, especially when they are related to medication, and can help with follow up for
laboratory refusals, which are vital to adequate treatment from the inmates.
B. 8. b. Within 90 days of the Effective Date, OPSO shall conduct a comprehensive staffing plan and/or
analysis to determine the medical and mental health staffing levels necessary to provide adequate care
for prisoners’ mental health needs and carry out the requirements of this Agreement. Upon completion
of the staffing plan and/or analysis, OPSO shall provide its findings to the Monitor, SPLC, and DOJ for
review. The Monitor, SPLC, and DOJ will have 60 days to raise any objections and recommend revisions
to the staffing plan.


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Finding:
Substantial Compliance
Findings:
B. 9. a. Partial Compliance
B. 9. b. Partial Compliance
B. 9. c. Partial Compliance
B. 9. d. Partial Compliance
B. 9. e. Partial Compliance
B. 9. f. Partial Compliance
B. 9. a. OPSO shall develop, implement, and maintain a system to ensure that trends and incidents
involving avoidable suicides and self-injurious behavior are identified and corrected in a timely
manner. Within 90 days of the Effective Date, OPSO shall develop and implement a risk management
system that identifies levels of risk for suicide and self-injurious behavior and requires intervention at
the individual and system levels to prevent or minimize harm to prisoners, based on the triggers and
thresholds set forth in Appendix B.

Finding:
Partial Compliance
        There continues to be use of non-suicide resistant cells at OJC. There also continues
to be staggered suicide watches in IPC rather than direct observation, as there are no
suicide resistant cells in IPC.
Suggestion:
        Continue analyzing the trends and incidents involving avoidable suicides and self-
injurious behaviors to determine required interventions at the individual and system
levels to prevent or minimize harm to inmates, especially inmates with repeated suicidal
or self-harming behaviors. Consider ensuring any inmate who is not in a suicide resistant
cell, especially in IPC, are under Direct Observation and Observation Worksheets are
accurately completed.
B. 9. b. The risk management system shall include the following processes to supplement the mental
health screening and assessment processes: incident reporting, data collection, and data aggregation to
capture sufficient information to formulate a reliable risk assessment at the individual and system
levels; identification of at-risk prisoners in need of clinical treatment or assessment by the
Interdisciplinary Team or the Mental Health Committee; and development and implementation of
interventions that minimize and prevent harm in response to identified patterns and trends.

Finding:
Partial Compliance
        There is no functional Interdisciplinary Team operating consistently in general
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population to address formulating a reliable risk assessment. There is limited to no mental
health involvement prior to the implementation of the disciplinary process. Segregation is
known as a risk factor which negatively interferes with inmates with mental health
challenges. Further analysis is needed to ensure processes are in place to address
individual and systemic risk levels, especially surrounding risks involved with segregation.
Suggestion:
        Analyze and provide documentation of risk management system processes,
including listed criteria, which minimize and prevent harm in response to identified
patterns and trends. This examination should include the need for functioning
interdisciplinary treatment teams throughout OJC who are focused on treatment strategies
to minimize risk including adequate out-of-cell time and participation in the disciplinary
process at the outset where a written recommendation can be completed and used to
determine appropriate action. A dedicated unit for female stepdown will also contribute to
minimizing risk factors and improve transition outcomes addressing risk management
issues throughout the system.
B. 9. c. OPSO shall develop and implement an Interdisciplinary Team, which utilizes intake screening,
health assessment, and triggering event information for formulating treatment plans. The
Interdisciplinary Team shall:
          1.      include the Medical and Nursing directors, one or more members of the psychiatry
staff, counseling staff, social services staff, and security staff, and other members as clinical
circumstances dictate;
          2.      conduct interdisciplinary treatment rounds, on a weekly basis, during which targeted
patients are reviewed based upon screening and assessment factors, as well as triggering events; and
          3.      provide individualized treatment plans based, in part, on screening and assessment
factors, to all mental health patients seen by various providers.


Finding:
Partial Compliance
        As discussed at this site visit, there are no consistent, functional multidisciplinary
teams operating in person at OJC, due to staffing deficits. The treatment plans were not
specifically examined during this site visit and will be during the next site visit.
Suggestion:
        Provide a variety of treatment plans, from both OJC, TMH and step-down units, for
review of their individualization from various providers. Provide adequate documentation
of completion of mental health Interdisciplinary Treatment Team meetings and rounds on
both OJC and TMH.

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B. 9. d. OPSO shall develop and implement a Mental Health Review Committee that will, on a monthly
basis, review mental health statistics including, but not limited to, risk management triggers and trends
at both the individual and system levels. The Mental Health Review Committee shall:
          1.     include Medical and Nursing Director, one or more members of the psychiatry staff and
social services staff, the Health Services Administrator, the Warden of the Facility housing the Acute
Psychiatric Unit, and the Risk Manage;.
          2.     identify at-risk patients in need of mental health case management who may require
intervention from and referral to the Interdisciplinary Team, the OPSO administration, or other
providers;
          3.     conduct department-wide analyses and validation of both the mental health and self-
harm screening and assessment processes and tools, review the quality of screenings and assessments
and the timeliness and appropriateness of care provided, and make recommendations on changes and
corrective actions;
          4.     analyze individual and aggregate mental health data and identify trends and triggers
that indicate risk of harm;
          5.     review data on mental health appointments, including the number of appointments and
wait times before care is received;
          6.     review policies, training, and staffing and recommend changes, supplemental training,
or corrective actions.

Finding:
Partial Compliance
        Until there is a functioning Interdisciplinary Treatment Team assigned to OJC, there
will be limitations in being able to adequately address at-risk patients in need of mental
health case management who may need referral from the Mental Health Review
Committee.
Suggestion:
        Create and implement an Interdisciplinary Treatment Team for OJC. Provide
documentation of Mental Health Review Committee meetings addressing all listed
elements, including analysis of all data collected. This data should address and track
systemic concerns as well.
B. 9. e. OPSO shall develop and implement a Quality Improvement and Morbidity and Mortality Review
Committee that will review, on at least a quarterly basis, risk management triggers and trends and
quality improvement reports in order to improve care on a Jail-wide basis.
          1.     The Quality Improvement Committee shall include the Medical Director, the Director of
Psychiatry, the Chief Deputy, the Risk Manager, and the Director of Training.
          2.     The Quality Improvement Committee shall review and analyze activities and
conclusions of the Mental Health Review Committee and pursue Jail-wide corrective actions. The Quality
Improvement Committee shall:
                 a.       monitor all risk management activities of the facilities through the review of
risk data, identification of investigation or corrective action; and
                 b.        generate reports of risk data analyzed and corrective actions taken.

Finding:
Partial Compliance


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Suggestion:
       Provide documentation of grievance logs for the next site visit to help determine
types of grievances being submitted, Healthcare versus environment versus other
categories. Provide documentation to support implementation of corrective action plans
for areas which have been identified for improvement like medication refusal, AIMS
testing, timely access to laboratory services after inmate refusal, and chronic medical care
access. Provide documentation of attendance and addressed topics for the quarterly
meetings over the past year, up to the next site visit. Demonstrate how collected and
analyzed data is being used to effect positive change throughout the system.
B. 9. f. OPSO shall review mortality and morbidity reports quarterly to determine whether the risk
management system is ensuring compliance with the terms of this Agreement. OSPO shall make
recommendations regarding the risk management system or other necessary changes in policy based
on this review. The review and recommendations will be documented and provided to the Monitor.

Finding:
Partial Compliance
Suggestion:
       Awaiting psychological autopsy of most recent suicide to determine whether there
are self-critical aspects to a suicide investigation, both clinical and security, which would
help determine needed changes to the risk management system. Provide the most recent
report from OPSO to determine whether there is compliance with the terms of this
Agreement. Requesting information on what changes have been recommended over the
year, prior to the most recent site visit, in regard to the risk management system from
OPSO. Provide corrective actions plans which have been created and implemented over the
year, prior to the most recent site visit, to help determine whether changes are being made
and impacting the risk management system at OJC.
C.     Medical Care
Methodology:
       Record reviews for October 2021 through March 2022.
       Medical record reviews
       Grievance reviews
       Medical record review and testing of clinical performance measurement.
       Compliance analysis report reviews.


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Observation:11
           Communication between medical and custody staff needs to improve so that there
is a checklist and process,12 a strategy or procedure, to get things done that need to be
done. A checklist would list the vital activities of the night and day that need completion
for example, if lockdown interrupted the collection of sick call requests, the checklist
would activate a process for the morning team. The checklist idea resulted in almost a
perfect record in aviation and in the specialty of anesthesiology. It is a tool for
improvement of communication and systems.
           Patients transferred to the emergency department represent patients with serious
medical needs. Currently, it is uncommon for providers to make a contemporaneous entry
into the medical record describing the circumstances that lead to transfer to the
emergency department. Every patient transferred to the emergency department should
have a timely provider note in the medical record. This note should describe the
circumstances that lead to transfer. The transfer note is not a substitute. Every transfer to
the emergency department should be reviewed by the physician. For morbidity mortality
and Improvement (MMI), also called continuous quality improvement (CQI), the care
should be discussed. Improvement initiatives should be firmly delineated.
           The lack of privacy for sick call is unacceptable. Sick call should not be a public
event. Currently, sick call is in front of personnel coming and going and in front of other
inmates as they peer through the doors.
           Lockdowns may be necessary for a housing unit but there must be a contingency
plan to get an individual to an appointment, or to get practitioner or lab technician to the
patient. An electronic list of the appointments should be visible to custody. This was
recently instituted at Louisiana State Penitentiary, so custody knows who is expected to be
where and when.
           Prolonged malfunction of the electronic Tiger system contributes to inefficiency
and incomplete communication with patients. The broken electronic system severely
impairs the sick call request system.
           Medication administration still does not meet compliance. This may have in part to
do with training. Training needs to be improved. Some case examples would engage the

11   In this report Provider indicates a Nurse Practitioner or Physician
12   The Checklist Manifesto, How to Get things Right. by Atul Gawande
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learner. The Monitor witness “refused” being recorded when the patient was at the
hospital, and when the patient does not come to the medication cart, even when the
patient is sleeping through the shout out. Medications are sometimes “in transit” and not
on the medication carts.
        Providers need to see the patients at all times of day. Providers are not timely
examining and documenting physical exams and medical decision making. There is a great
deal of reliance on the LPNs and LVNs as demonstrated in the examples. Providers are
practicing too often by telephone based on lesser trained individuals’ reports. There is
insufficient involvement in the clinical care of the patients by the nurse practitioners.
        The system of care is unwieldy resulting in inefficient use of time. The clinic must
be opened to the patients. The patients need to be brought to the clinic. At this time,
providers sit at computers in their offices, take notes on the patients, go to the housing
units to see the patients, come back to the office and document in the office computer from
notes and memory; this is inefficient. The medical records are incomplete. Providers must
have the patients ‘chart open during an encounter. The Monitor noticed that patients with
more than one medical problem such as diabetes and hypertension and hepatitis, do not
have their problems addressed cohesively.
        The structure of the electronic health record needs to tell a cohesive story of the
patients care. The work between providers is unevenly distributed. This must be
addressed by the physician and the regional medical director.
Sick call:
        Custody staff are inconsistently available to facilitate patients’ access to medical
care.1314 The controlling document in this case is the Consent Judgment. The NCCHC
description regarding unreasonable barriers to inmates’ access to health service to
avoided describes succinctly the barriers to care at OPSO. Medical staff attribute problems
delivering medical care to staffing shortages or to custody operational short comings. For


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 I haven't recieve my meds is going on 12:00am the next day and no one has come to do med pass. We have
no one in the booth no deputy on duty or a captain on the 4th floor. We need our Meds No one is there -
Paper Request Response: Good morning, sir. According to your medication record, you received your
medication that night. I apologize if there was a delay, but as you are aware, medical must have security
with them to administer care on the pods.
14 NCCHC Standard J_A_01 access to care. Discussion Unreasonable barriers to inmates: access to health

services is to be avoided and include “having an understaffed, underfunded, or poorly organized system
with the result that it is not able to provide appropriate and timely access to care,
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example, “delayed booking times “are listed as one a disruption not within Wellpath’s
control.15 However, medical care is Wellpath’s responsibility regardless of delays in
booking. As long as medical care is not reaching the patients, the rating here will be partial
or non-compliance regardless of the responsible party.
        Paper health service requests (sick call) are inconsistently gathered from the
housing units or received within 24 hours. Chart reviews confirmed that this is a recurrent
problem. On our site visit, the unit had been on lockdown and the overnight medical staff
was unable to access the tier to pick up the paper requests from the boxes. Urgent sick call
notes are not signed dated and timed. In March 2022, only 50% of the weekend urgent
care sick call requests had the encounter note signed, dated, and timed. 16 The electronic
request system, known as the “Tiger” system, has many broken computer consoles making
paper sick call system vital. The paper-based system requires that a patient request a
paper form. On the morning of the site visit, neither custody nor the medication
administration nurse had the form. While we waited, a form was brought to the patient.
One of the patients did not have a working pen. She was told to request one.
        There is lack of privacy for sick call. During our site visit, the Monitor observed sick
call for females being conducted in the passageway where other inmates were looking
through the windows and people passed in and out of the housing unit. No meaningful
physical examination can be conducted with a patient standing outside of the security
booth. This does not meet the standard for privacy of care. 17
        Lockdowns result in patients not attending medical appointments. Lab technicians
are not allowed access to patients to obtain ordered lab tests. Health care requests are not
gathered and triaged timely due to lockdowns.
Example 1: “You received your medication that night. I apologize if there was a delay, but
as you are aware, medical must have security with them to administer care on the pods.”
Example 2: “There was documentation that wound care was not completed due to a
security issue, Remember, medical cannot perform duties if facility is on lockdown.
Medical will do everything in our power to complete your wound care. “
Example 3:

15 December 12, 2021, site specific CIWA Time study
16 CQI graphs March 2022 Urgent care sick call-weekend shifts
17 NCCHC J-A-07 No conversations concerning a patient’s health status, diagnosis or treatment should be

conducted in areas where they can be overheard by other inmates, staff, or visitors.
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Medication Administration:
         Consistent medication administration is essential. More effort must be made to
have patients come to the medication cart. To receive medications during medication
administration on the tiers. On the monitor site visit, the Monitor suggested the
medication nurse shout for the patients a second time; four more patients came to receive
their medications.
         Mouth checks during medication administration were inconsistently performed.
Patients were surprised by mouth checks indicating it was unexpected. By Wellpath policy
18   it is the Qualified Health Professional who should be doing mouth checks. One patient
took the medication in his mouth and spit it out in the trash. Another person left the pill in
the cup. Hoarding is problematic and some patients require emergency transfer due to
intoxication with medication prescribed to them or to others. Confiscated medications
illustrate the importance of diligence with regards to medication administration. 19
Medical Records:
         When walking to the housing units to see patients, nurses and practitioners do not
have the patient’s medical record. The practitioners review the medical record while in
their offices in front of the computer, make notes, go to see the patients away from the
medical clinic, make more notes regarding the encounter, go back to their offices, and
enter notes into the desktop computer. Questions that arise during a clinical encounter
cannot be addressed by looking into the medical record contemporaneously.20
         Progress notes in ERMA, the electronic medical record (EMR) are arranged such
that medical personnel must navigate excessively to paint the picture of the history and
the state of the patient’s health. Going in and out of medical record encounter dates results
is cumbersome. It is time consuming and does not allow for a seamless review of the
medical progress note, comparisons of lab values and progression of illness. 21
         Medical records reflected notes that focused on the problem of the day and did not


18 HCD-100_D-02 Medication Services Reference 55436
19 Confiscated Meds Q4 2021
20 NCCHC J-A-08 Health records specifically address this issue in the discussion. Having health record

available for each patient encounter enhances continuity of care, facilitates early and correct diagnosis.
21 NCCHC J—A-08 Health Records. Users should be able to retrieve data by diagnosis.

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address other problems on the Problem List. For example, the Monitor found in the review
of charts that if diabetes was being addressed and the patient had elevated liver enzymes,
the liver problem was unaddressed. The care is fragmented, and medical problems are not
addressed.
        ERMA medical records do not contain sufficient medical documentation of care
rendered at UMC. As providers at OPSO have access to EPIC of UMC, I would expect to see a
real summary of what happened at the hospital. EPIC records from UMC are inconsistently
scanned into the medical record. Patients are transferred to UMC emergency, and no
provider notes address the condition of the patient at the time of transfer.
Clinic Space:
        The clinical space is an excellent space to see patients. Patients should be seen in
the clinic for medical appointments. At the time of our visit, except for dental
appointments, patients were not being brought to the clinic to see the practitioners in
their clinical offices. The offices are medical exam rooms. These rooms offer the medical
record on the desktop computer, greater privacy, and a professional environment. COVID
is not a reason to continue to see patients on the housing units. Lack of custody staff to
bring the patients to the providers is an unacceptable excuse.22
Formulary:
        Commonly prescribed medications should be available on site. Inmates entering the
facility on verifiable prescription medication continue to receive the mediation in a timely
fashion. The formulary should have the direct acting anticoagulants. Patients who present
on these drugs need to receive them. The Monitor addressed the problem of no Direct
Acting Anticoagulants with medical leadership in August 2022 and has been assured that
this problem has been rectified.
Chronic care:
        The Monitor appreciates the work done on the “tool kit” parameters that the
previous monitor put forth. This has resulted in performance improvements in areas of
medical care addressed by the “tool kit”. Hemoglobin A1C is not consistently monitored,
and this is a recognized area for improvement. The Monitor is most concerned about
insulin dependent diabetes care. Insulin dependent diabetic patients must receive their

22NCCHC J-D-06 When required for security purposes, custody administration ensures that personnel are
available to escort patients from housing to clinic areas for their scheduled appointments.
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insulin timely. To the extent that there is success with timely treatment of alcohol or
opiate dependent patients, the Monitor would like to see this type of attention for the
administration of insulin and the glucose measurements. The mealtimes and the before
meals insulin administration leave diabetics without coverage from the late afternoon to
the next morning. This must be addressed.

Acute Care:

          Patients admitted as inpatients to UMC hospital represent patients with serious
medical needs. Therefore, focus on these patients and the circumstances that preceded
hospitalization is warranted. The Monitor found care insufficient and delayed before the
transfer of patients to the hospital. There is insufficient involvement with providers in
medical care. There is poor medical record keeping around the time of transfer. Providers
did not see these patients timely at the time of deterioration. J

          The Monitor has included examples from emergency department admissions.
However, there were other chart reviews by the Monitor that demonstrated insufficient
medical care preceding the transfer to the emergency department. The Monitor expects to
see Morbidity, mortality, and improvement or CQI reviews for these patients and
corrective action.

Example 1Patient K.M.: In the below example, the patient was evaluated by a licensed
vocational nurse (LVN) on December 14, 2021. The patient was not seen by a provider for
two more days. There were telephone orders from the Nurse Practitioner without an in-
person examination. This patient should have seen a provider on December 14th. The
patient was complaining of abdominal pain and had vomited breakfast. The nurse
practitioner/ vocational nurse called the nurse practitioner. The nurse practitioner should
have evaluated the patient. She did not. No doctor evaluated the patient either. Orders and
wellness checks were ordered. No wellness checks were performed. He was sent to the
emergency department on December 17th. The provider wrote a late entry note on
December 18th. The patient spent six days in the hospital for pancreatitis caused by
gallstones. 23


J   NCCHC J-D-07 Emergency Service and Response Plans
23   Clinical Course in Jail: Notes
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Example 2 Patient C.M.: This is another example of insufficient provider involvement in
the case and insufficient medical documentation. This patient was admitted for four days
in October and again in November. The diagnosis was gastrointestinal bleeding and sepsis.
Before emergency transfer, vital signs were not performed, and a provider did not write a
note. No provider notes were filed timely at transfer. Inadequate care was evident
preceding the second hospitalization. On November 1 the patient had no vital signs
obtained and recorded. Wellness checks were ordered but there is no evidence of wellness
checks in the medical records. The patient went into acute kidney insufficiency. 24


Added 12/14/2021 04:45 PMLPN/LVN
Patient brought to Medical via wheelchair for C/O vomiting with abdominal pain. Patient
states he has been vomiting all day, since after breakfast this morning. Patient indicates pain
to be in epigastric region. Abdomen soft, with active bowel sounds heard. Patient is fidgety,
going from squirming around in wheelchair to pacing floor around wheelchair. NP*****
notified, and order given for Meclizine 12.5mg BID PRN X 2 days; IBU 400mg 90minutes after
Meclizine; Welfare check Q12 hrs. X 1 day and a KUB on Thursday. States he feels like he
needs to have a bowel movement. Escorted to dorm, but when he returned, he stated he was
unable to have a bowel movement. Patient states he didn't eat much of his breakfast this
morning, also says it may be from the hookup they ate last night. He is asking for something
to make him have a bowel movement. Called and informed Dr.***** of his request. Order given
to give IBU 400mg 1 PO now and MOM 30cc PO now.
Added 12/14/2021 11:49 PM RN
Medical called to 4D at approx. 9:15 pm, when medical arrived on tier pt. was laying on the
ground with a blanket under his head. The pt. was able to get up on his own and get in the
wheelchair to be taken to the 2nd floor main clinic. Pt states he did not hit his head but can’t
remember how he ended up the floor. Pt states he was feeling nauseous and hasn't been able
to eat or drink anything without vomiting and he hasn't had a bowel movement in a few days.
Pt was given Gatorade, Meclizine and waited in the clinic for 30 min. Pt tolerated both
24 First Hospitalization

Labs collected on September 29, 2021, and received September 29, 2021, at 12 am. Date
and time of report October 1, 2021. Never acknowledged by a provider
October 1, 2021, seen in clinic by provider: Patient looked okay, but no vital signs
recorded.
Sick call October 3, 2021, received October 3, 2021: “patient states he has been vomiting”.
October 4, 2021, LVN note. “Seen by provider” However, there are no provider notes
October 4- 8 hospitalized
Next provider note is October 12, 2021, as a post hospital admission return. patient
admitted to the hospital from October 4, 2021, to October 8, 2021. Assessment” GI bleed and
sepsis resolved. Hospital records reviewed”.
Second hospitalization
November 1, 2021, not eating and drinking for 2 days no vital signs recorded.
Medical record plan: “For 72 hours do every 4 hours wellness checks full set of vital signs.
Please. Have deputy assist in hygiene care. RTC next Friday”
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Example 3 Patient R.S.: This is an example of a delay to care and insufficient involvement
of providers and poor medical record keeping. This mentally ill patient lay naked in urine
and had not consumed food or water for 48 hours. No provider examined the patient or
wrote a medical note. The patient was hospitalized and had a perforated ulcer and surgery.
25


Example 4 Patient M.D.: In this example, ordered medications and ordered follow-up were
not provided. This patient was admitted to the hospital for four days, from January 13-17,
2022. Upon return from the hospital, the patient did not receive the valproate (Depakote)
as ordered. This is despite the patient having had a stroke code called for hemiplegic
migraine. This is a serious diagnosis and deserves ordered medications and ordered
neurologic follow up. No one month follow up appointment with UMC neurology as
ordered by UMC. 26


There was no evidence in the medical record of this plan occurring.
Labs collected on November 3, 2021, and reported November 4th, 2021, are critically
increased and abnormal. BUN is now 34 and creatinine is 3.24.
November 4th 10:48pm: LVN note is” patient states that last time he urinated 3 days ago
patient refused out get out of bed. No vital signs recorded
November 5th 3:30am. No vital signs recorded. “Patient would not move or take cup of
water refused to let nurse take vital signs. Refused blood sugar check.”
Admitted to the hospital on November 11,2021
Patient sent to the hospital. No notes concerning this.
Next note is November 17, 2021, return from hospital.
25Clinical course in jail: Notes
12/28/12 @ 2000: Pat was lying on the floor most of the night. He was naked and just lying
on supine position on the mattress on the floor. Resp even and unlabored. His skin looks so
dry. He just makes mumbling sounds. Refused medication. Unsteady gait. Safety measure in
place. Will continue to monitor.
                               ___RN
Patient observed lying naked, prone in urine, refusing to follow verbal commands from
nursing or security, notified Medical Director (Dr.***) and LPC (***) of declining
mental/physical health of patient. Patient refuses to take prescribed medication, blood
glucose checks, and per security report, patient hasn't consumed food or water within last 48
hours. Order initiated to route patient to UMC for further evaluation/treatment, notified
Captain **, security escort secured, and patient transported via custody car.
26

Jan 18, 2022, progress note provider return from hospital note
Sepsis due to gastroenteritis, stroke activated on Jan 14 for headache with right blurred vision and
right hemiplegia. Ct negative

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Example 5 Patient A. L.: This is an example of insufficient provider involvement with a
patient in pain and no medical documentation by a provider. The patient complained that
his gunshot wound had severe pain and a drain. The drain in place in the patient’s body
was leaking green stinky fluid. The registered nurse contacted a provider and antibiotics
were initiated and an appointment with a provider was made. No provider examined the
patient that day. There is no documentation around the time of transfer and no evidence a
provider examined the patient. The patient was sent to UMC emergency department on
October 26th. The diagnosis was intraabdominal abscess. 27
Example 6 Patient A.B.: This example demonstrates inadequate medical care with a delay
in transferring to the hospital. This patient had a history of bleeding ulcer with a recent
hospitalization requiring the administration of blood and a procedure to stop the bleeding.
Nevertheless, though this history was known, the patient was not seen by a provider when
he filed a sick call request on October 22 in which he reported bleeding from the stomach,
blood in the stool and throwing up blood. He was scheduled with a nurse for wellness
checks.
This demonstrates dangerous health care as the patient became hypotensive with
tachycardia (a fast heart rate) before being transferred to UMC emergency department. He
arrived in hemorrhagic shock. 28


27 Admitted to UMC on October 26th, 2021
Per Excel sheet for pancreatic duct leak
Clinical Course in Jail: Notes
October 23, 2021, RN good note
October 24, 2021, sick call request 4pm through Tiger system: “my gunshot wound has severe pain,
and my lung bag is leaking green stinky fluid:”
October 24, 2021, 10:56pm; Response from RN
You have been ordered metronidazole and scheduled to see the provider
EMAR indicates metronidazole administered timely
October 26th, 2021, transfer note to UMC emergency department by custody care
October 25, 2021, Progress note provider 4pm
S: 38-year-old male seen on tier for follow up UMC hospitalization
November 3, 2021, back to the hospital
November 3, 2021, UMC notes
Diagnosis intrabdominal abscess

28Admitted to the hospital on October 24, 2021, Sunday
October 20, 2021P, 7:29am. Progress Note by RN “Patient seen in clinic for complaint of not feeling
well. Found in cell with wet clothing. VSS” States he has a history of bleeding ulcer in which he
was in the hospital recently and received 7 pints of blood.

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Example 7 patient IB: This is an example of insufficient provider examination and
involvement in a patient with a serious medical condition. It is another example of a
patient not receiving ordered medication timely. The patient arrived in the jail on Feb 16,
2022. She had just been released from an outside hospital. She had spent Feb 13-15th in
that outside hospital with a serious complication of diabetes known as DKA, or diabetic
ketoacidosis. No long-acting insulin was ordered when she arrived at the OJC. She became
unable to tolerate fluids and unable to ambulate. This patient was critically ill on Feb. 16th
but was not transported to the hospital timely. The patient had chest pain and diabetes and
waited in the clinic. She could not take fluids and was ordered hydrated. There is no record
that the patient was given intravenous fluids. No record by a provider around the time of
the illness on February 16th was found. The Monitor did not see a Morbidity or CQI report
concerning this case. She could have died. She was sent to the hospital. Upon return from
the hospital, again she did not receive insulin timely. The chest pain she had experienced
for which she was waiting in the clinic was diagnosed as blood clots in both lungs.
(Bilateral pulmonary emboli) This is a life-threatening condition for which she did not
receive ordered anticoagulation (apixaban) upon return to OJC. 29


October 22, 11:38am; Health service request
“Bleeding from stomach, blood in stool throwing up blood. No further documentation
October 23, 2021, 10:23am: Health services Request #2 Now there is a triage urgent: weak
unsteady gait. Immediate intervention needed “yes” Put on wellness checks
Scheduled with nurse:

October 23, 2021, ER referred to hospital by Dr. Blake. Blood pressure 90/68 pulse 127

October 24, 2021, hospital notes
HPI: History of gastric ulcers July 2021 treated with clips and epi found to be secondary to H
pylori.
Vital signs on arrival: triage blood pressure 93/67. Pulse 122

Hospital findings; Acute upper Gastrointestinal bleeding


29   Medical record:
          NP*** give SS coverage, scheduled coverage, dip urine, and hydrate pt. Inmate
          received a total of 13 units, 3 unites NovoLog aspart, 10 units Regular. Urine was
          collected at this point. Urine was dipped at 1630, +3 ketones and +4 glucose
          present in urine. 2nd floor medical was also called by deputy*** stating inmate is
          now unable to ambulate and c/o chest pain. Inmate was escorted to 2nd floor
          medical by Deputy *** EKG obtained, sinus tach, and CBG was rechecked at 495 of a
          reading. (Same NP called again) was called and a voicemail message was left
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C. OPSO shall ensure constitutionally adequate treatment of prisoners’ medical needs. OPSO shall
prevent unnecessary risks to prisoners and ensure proper medication administration practices. OPSO
shall assess on an annual or more frequent basis whether the medical services at OPP comply with the
Constitution. At a minimum, OPSO shall:
1. Quality Managing of Medication Administration:
        a. Within 120 days of the Effective Date, ensure that medical and mental health staff are trained
        on proper medication administration practices, including appropriately labeling containers
        and contemporaneously recording medication administration;
        b. Ensure that physicians provide a systematic review of the use of medication to ensure that
        each prisoner’s prescribed regimen continues to be appropriate and effective for his or her
        condition;
        c. Maintain medication administration protocols that provide adequate direction on how to
        take medications, describe the names of the medications, how frequently to take medications,
        and identify how prisoners taking such medications are monitored; an
        d. Maintain medication administration protocols that prevent misuse, overdose, theft, or
        violence related to medication.
Findings:
C.1. a. Substantial Compliance
C. 1. b. Partial Compliance
C. 1. c. Substantial Compliance
C. 1. d. Partial Compliance
            Medication administration protocol and practice is not resulting in preventing
misuse and overdose.
C.2.a. Provide the Monitor a periodic report on health care at the Facility. These periodic reports shall
be provided to the Monitor within four months of the Effective Date; and every six months thereafter
until termination of this Agreement. Each report will include:
         (1) number of prisoners transferred to the emergency room for medical treatment related to
         medication errors;
         (2) number of prisoners taken to the infirmary for non-emergency treatment related to
         medication errors;
         (3) number of prisoners prescribed psychotropic medications;
         (4) number of prisoners prescribed “keep on person” medications; and
         (5) occurrences of medication variances.
C.2.b. Review the periodic health care delivery reports to determine whether the medication
administration protocols and requirements of this Agreement are followed. OPSO shall make
recommendations regarding the medication administration process, or other necessary changes in
policy, based on this review. The review and recommendations will be documented and provided to the
Monitor.



        informing of such. (Another NP) was also called and informed of such, per (this NP)
        call Dr. *** for orders to root out. Dr. *** was called and informed of such, per Dr.
        ***route out by EMS, administer 6 units. Inmate received the 6 units, c/o chest
        pain. Awaiting EMS




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Findings:
C. 2. a. Partial Compliance
C. 2. b. Partial Compliance
C. 2. a. Partial Compliance
           There is no report and the medical records do not contain adequate notes to
ascertain medical treatment related to medication errors or medication variances. The is
no report describing the patients taken to the infirmary for nonemergency treatment
related to medication errors.
C. 2. b. Partial Compliance
         Administration of first dose medication on the CIWA protocol is delayed. Eliminating
barriers not within Wellpath’s control does not make 67% an acceptable percentage for
patients in need of medical treatment. In 2/10, the delay was due to only one nurse. In
3/10 the delay was due to delayed booking. When it takes 20 hours to book a person, that
person’s medical conditions must still be addressed. Alcohol withdrawal is a potentially
life-threatening condition, unlike opiate withdrawal. Wellpath must have a policy and
procedure to address the medical treatment of inmates with delayed booking. This is true
of concern for patients dependent on insulin too. The delays in booking could result in
delay to the administration of insulin.30
          Providers are not being advised of patients missing medication. From the CQI
“Notification of prescribing clinician of poor adherence to medication orders, including
psychotropic and non-psychotropic medication on three consecutive days or four or more
doses in a week” measurement was somewhere between 40-60% in March 2022. 31
3.a. OPSO shall notify Qualified Medical or Mental Health staff regarding the release of prisoners with
serious medical and/or mental health needs from OPSO custody, as soon as such information is
available.
3.b. When Qualified Medical or Mental Health staff are notified of the release of prisoners with serious
medical and/or mental health needs from OPSO custody, OPSO shall provide these prisoners with at
least a seven-day supply of appropriate prescription medication, unless a different amount is necessary
and medically appropriate to serve as a bridge until prisoners can reasonably arrange for continuity of
care in the community.
3.c. For all other prisoners with serious medical and/or mental health needs who are released from
OPSO custody without advance notice, OPSO shall provide the prisoner a prescription for his or her
medications, printed instructions regarding prescription medications, and resources indicating where
prescriptions may be filled in the community.
3.d. For prisoners who are being transferred to another facility, OPSO shall prepare and send with a

30   CIWA time study November and December 2021
31   Medication refusal January through March 2022.
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transferring prisoner, a transition summary detailing major health problems and listing current
medications and dosages, as well as medication history while at the Facility. OPSO shall also supply
sufficient medication for the period of transit for prisoners who are being transferred to another
correctional facility or other institution, in the amount required by the receiving agency.
Findings:
C. 3. a. Substantial Compliance
C. 3. b. Substantial Compliance
C. 3. c. Substantial Compliance
C. 3. d. Substantial compliance
        Transfers to the emergency department should have more up to date information
concerning the history of present illness and past medical history.
Recommendations:

     1. All emergency department transfers for medical illness should have a CQI analysis of
     care and documented physician review. CQI analysis reports include areas of positive
     success and trends and areas of opportunity. The corrective action should be monitored
     for its efficacy. As an example, the CQI analysis for chronic care hypertension identified
     corrective action and intervention. The Monitor did not see a measurement of the success
     of the corrective action and intervention. 32 Monitoring after the implementation of
     improvement strategies is necessary.33 Outcome and improvement study is initiated and
     documented. 34
     a. The Electronic Health Record needs software improvements and updates. Wellpath
     should meet with the ERMA software engineers and build out improvements. These
     include an “In basket” that forces review of lab results and note completion. Alerts for
     certain labs due come into the provider in basket. Systems should be built into the
     electronic medical record such that medication levels and acknowledgement are flagged,
     and they must be acknowledged before proceeding. The electronic medical record should
     prompt the provider to sign, date, and time the sick call note. This measure is at 50%
     currently. 35
     2. Upgrading scores in CQI reports due to barriers not within Wellpath’s control is
     unacceptable and counterproductive to the goal of improving patient care and meeting

32 Quarterly report Q2 2022
33 NCCHC Standard J-A. -06. 5.e. Continuous quality improvement program.
34 NCCHC Standard J-A-06
35 2022 CQI graphs sick call weekend shift March 2022

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      substantial compliance. Wellpath’s responsibility is the provision of medical care to the
      patients. The Monitor recommends formulating a policy and procedure to address and
      eliminate this barrier. A policy is needed to address the “only one nurse “and “prolonged
      booking process”. 36 37
      3. CQI analysis should include the patient’s time of writing/submitting the sick call to
      the time of receiving the paper sick call. Make fixing the computerized sick call system a
      priority.
      4. Morbidity and mortality improvement (MMI) review be conducted on every patient
      sent to the emergency department and admitted. This will identify areas of improvement
      in patient care. 38
      5. Site level approval for medications and referrals for outside visits are critical to the
      timely continuity of care. The physician on site should be able to order care that is
      necessary without the delay of outside approval. From the site visit, the Monitor knows
      that the practitioners have developed workarounds to necessary care for patients. It
      should never be necessary to work around to get timely and necessary care for a patient.
IV.      D. 1. Sanitation and Environmental Conditions
Findings:
D.1. a. Partial Compliance
D. 1. b. Substantial Compliance
D. 1. c. Substantial Compliance
D. 1. d. Non-Compliance
D. 1. e. Substantial Compliance
D. 1. f. Partial Compliance
D. 1. g. Substantial Compliance
D. 1. h. Substantial Compliance
IV. D. 1. a. OPSO shall provide oversight and supervision of routine cleaning of housing units, showers,
and medical areas. Such oversight and supervision will include meaningful inspection processes and
documentation, as well as establish routine cleaning requirements for toilets, showers, and housing
units to be documented at least once a week but to occur more frequently.

36 CQI November 10, 2021: Purpose: To track the process effects on the CIWA protocol
37 CQI December 12, 2021:
38 ER routes November -December 2021

October and November CM admitted twice, sepsis, renal failure esophagitis
December: K.M.: Pancreatitis not provider assessment for two days. Lethargic mentally unstable admitted
and found to have perforated ulcer.
.
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Finding:
Partial Compliance
Observations:
       The Monitor physically inspected every occupied housing unit in the OJC and
TDC/TMH facilities. The Monitor observed the overall level of cleanliness in the housing
units to be generally acceptable with the exception of the janitor closets in several OJC
housing pods. The Monitor was advised that a new procedure consolidating all cleaning
supplies outside of the units had been implemented. The Monitor recommends any
necessary repairs and cleanup in the janitor closets be accomplished prior to closing the
closets to regular use. Maintenance and/or Life/Safety should still inspect the closets
routinely to ensure continued serviceability, particularly lighting, water service and
drains. The Monitor also interviewed the OPSO Sanitarian and Environmental Officer as
well as inmates and staff during the inspection itself.
       OPSO did not provide a cleaning schedule and weekly inspection documentation as
required. The Sanitarian advised that due to the lack of inmate workers, responsibility for
routine cleaning of pod areas continues to rest with security staff as noted in the previous
two inspections. The twice-monthly environmental inspection reports were not available
for review. The cleanliness in the open dorms was acceptable.
       During the tour, inmate showers were specifically viewed by the Monitor. As with
the previous tour, the majority of the showers appeared to be generally clean and free of
trash, soap residue and drain flies. Some residual condensation was noted in several
showers that had recently been in use.
       On the day of the inspection, the Monitor found one housing unit having more than
50% of the cells (lockdown unit) with obstructed air supply vents. None of the unit janitor
closets were found unsecure. Several maintenance and cleanliness issues were noted in
some of the closets. OPSO staff advised that all cleaning chemicals and supplies had been
consolidated outside the housing units, obviating the need for chemical dispensers and
inmate access to the closets. Inspecting staff should be diligent in performing unit
cleanliness inspections going forward to ensure the success of the new procedure.
       During the previous three inspections, the Monitor noted several lighting fixtures
in the mop closets had been removed and had been advised that inmates had been
tampering with the lights by removing the mounting “rods” (all-thread) that secured the
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lights to the ceilings. The majority of the light fixtures had been replaced as of the May
2021 inspection, however, at least two remain “tied” to the ceiling posing a safety issue
and an obvious maintenance deficiency. The Monitor noted clutter issues in most housing
pods, typically involving the improper storage of inmate property in cells and dormitories.
The Life-Safety inspection reports during the rating period noted similar issues.
       The documentation reflected the Sanitarian and Environmental staff’s efforts at
maintaining consistent, regular cleaning schedules for circulation areas under the COVID
pandemic restrictions and staffing challenges has improved significantly since the last
inspection. The issue with the floor condition in the dental office noted during the last
inspection was remedied.
       Grievances regarding sanitation issues were minimal during the rating period.
Inmate reports via grievance of inadequate or missing cleaning supplies were consistently
low however this was an issue noted in the notes of a few of the “town hall” meetings
conducted by the Sanitarian in the housing units. The Monitor received few verbal
complaints from the inmates during the walk-thru regarding chemical availability and
chemical inventory/inspection documentation reflected routine resupply of chemicals was
occurring. The material safety sheets were in order in each area inspected.
       As previously noted, regular provision of clean inmate clothing and bedding and
appropriate inventory of these supplies are essential to sanitation, infection control and
disease prevention. The Sanitarian reported that she was able to maintain an adequate
supply of inmate clothing for issue and exchange and that the laundry vendor’s
performance was acceptable. The Monitor observed fewer instances of hording issued
clothing items and blankets during this inspection although, again, there were a few
examples. The altered clothing (homemade “hoodies”) observed during the last inspection
was less prevalent during this inspection but still persists.
       The Monitor noted that the washers and dryers appeared to be in working
condition throughout the facility at the time of the inspection although at least one unit
had both the washer and dryer removed for an extended period of time according to
inmates. Several inmates complained to the Monitor about inoperable equipment and a
lack of access to the washers/dryers. The Monitor noted few damaged or missing dryer
vent hoses.
IV. D. 1. b. Continue the preventive maintenance plan to respond to routine and emergency

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maintenance needs, including ensuring that showers, toilets, and sink units are adequately installed
and maintained. Work orders will be submitted within 48 hours of identified deficiencies, or within 24
hours in the case of emergency maintenance needs.
Finding:
Substantial Compliance
Observations:
        As with previous inspections, the Monitor reviewed the Sanitation and
Environmental Conditions report, the OPSO Preventive Maintenance Plan, the Preventive
Maintenance Schedule Summary report, and a Preventive Maintenance work orders status
report as well as inmate grievances related to maintenance issues. The Monitor also
interviewed the Maintenance Director. The documentation reflected an on-going
preventive maintenance program for major building systems and components consistent
with OPSO policy and the Consent Judgment. Preventive maintenance appears to be fairly
consistent despite staffing issues reported by the Maintenance Director.
        Individual inmate interviews conducted during the walk-thru in each housing unit
revealed no significant complaints by inmates regarding water, electric or HVAC services
in individual cells that were not addressed in a timely fashion. Water pressure issues at
the restroom sinks in open dormitory pods in the OJC noted during the previous
inspection continue to improve.
        As with the previous inspection, there was no marked increase/decrease in the
number of grievances received on a monthly basis also indicating that routine issues with
basic plumbing, mechanical or electrical services in inmate cells or dayrooms are typically
remedied within 48 to 72 hours and that work orders are being submitted in a timely
manner as required by the Consent Judgment (“Work orders will be submitted within 48
hours of identified deficiencies, or within 24 hours in the case of emergency maintenance
needs”).
        During the previous inspection, the Monitor noted issues with intercom equipment
remains. The Monitor continues to recommend that Maintenance staff make a
comprehensive survey of working/non-working intercom equipment in every housing
unit to facilitate repair of the system throughout the facility. Additionally, security staff
supervision should continue to emphasize the importance of the prompt response to
emergency intercom calls by pod deputies and pod control staff.
IV. D. 1. c. Maintain adequate ventilation throughout OPSO facilities to ensure that prisoners receive

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adequate air flow and reasonable levels of heating and cooling. Maintenance staff shall review and
assess compliance with this requirement, as necessary, but no less than twice annually.
Finding:
Substantial Compliance
Observations:
       As noted in previous inspections, adequate air flow is maintained in the facilities
but continues to be impeded in a few inmate cells when inmates block the air vents. The
Monitor noted that overall, the number of cells with blocked supply registers was
significantly less than noted during the previous visit with only one housing unit having
more than 50% of the cells observed to be obstructed. However, as consistently noted by
the Monitor, this remains an inmate supervision issue and must continue to be addressed
by security staff consistently. The Monitor noted that the majority of housing dayrooms
and cells to be at relatively reasonable levels of heating and cooling, so this section’s rating
remains in Substantial Compliance.
       The following, regarding test and balance reports, is restated from previous
reports. As noted in the two previous reports, test, and balance reports for the
Kitchen/Warehouse (2014), OJC (2017) and TDC (2012) were the latest available to the
Monitor.
       Prior to the September 2019 report, this section had been interpreted as requiring
comprehensive “test and balance” assessments on a semi-annual basis. Such assessments
are very expensive and typically performed only during the commissioning of new or
replacement HVAC systems. As with the previous two inspections, the Monitor met with
the Maintenance Director specifically to discuss the status and capabilities of the OJC
Building Automation System that controls the heating and cooling throughout all occupied
areas in OJC. Discussions with the Maintenance Director following the November 2021
inspection regarding the BAS HVAC control systems in particular resulted in an improved
approach to documenting the performance (and maintenance repair response) of the
HVAC system. The graphic temperature reports for specified date ranges and housing
pods requested by the Monitor were not included with the inspection documentation as
provided. During the changeover in administration, the Maintenance Director was
replaced, and the new Director had not been trained in the retrieval of the required
reports. The Monitor anticipates this will be remedied, along with any necessary software

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upgrades to the BAS system, by the next inspection.
        The Monitor reviewed live data of the system’s warning and alarm functions which
reflected no major equipment or systems issues that had not been addressed. The Monitor
inspected the BAS system and noted no alarms or alerts present on the system.
        It is the Monitor’s opinion that the OJC Building Automation System and the new
BAS system supporting the TMH units, as currently operated, meets the intent of the
Consent Judgment regarding this section. The requested supporting documentation will
be necessary to support the finding of substantial compliance for future inspections.
IV. D. 1. d. Ensure adequate lighting in all prisoner housing units and prompt replacement and repair of
malfunctioning lighting fixtures in living areas within five days unless the item must be specially
ordered.
Finding:
Non-Compliance
Observations:
        The Monitor observed sufficient lighting being provided in housing units and
individual cells of both OJC and TDC. Maintenance staff continue to maintain a supply of
replacement bulbs, transformers, or ballasts to repair malfunctioning lighting. However, as
previously noted by the Monitor, the vandalized light fixtures in at least two of the pod
mop closets had yet to be replaced. The replacement of the light fixtures had not been
completed in the requisite time frame as of the date of this inspection. The Monitor
observed no outstanding electrical work orders beyond routine bulb replacement and the
issue noted above. This section has been moved to non-compliance due to failure of the
reporting/replacement and adequate lighting requirements.
IV. D. 1. e. Ensure adequate pest control throughout the housing units, including routine pest control
spraying on at least a quarterly basis and additional spraying as needed.
Finding:
Substantial Compliance
Observations:
        A review of the documentation submitted found sufficient evidence of a pest
control program that meets the intent of the Consent Judgment. OPSO continues to
maintain a pest control contract with a state licensed company for monthly service of all
housing areas and bi-weekly service for the Kitchen/Warehouse. Inmate grievances
related to pest control were reviewed and found to have been addressed in a timely
manner. The Monitor observed no “drain fly” issues anywhere in the facility.
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        Environmental, Sanitation and Life-Safety staff performing inspections and
responding to pest control grievances continue to initiate work orders for pest control and
to document how, when, and where infestations are identified and remedied. The pest
control contractor documentation reflected no infestations were found during routine
inspections.
IV. D. 1.f. Ensure that any prisoner or staff assigned to clean a biohazardous area is properly trained in
universal precautions, outfitted with protective materials, and properly supervised.
Finding:
Partial Compliance
Observations:
        As noted in previous inspections, Policy 1101.07, “Bio-hazardous Spill Cleaning
Procedures” [Revised 1/18/2018] Section VIII. A. 1 has been revised to allow properly
trained and equipped inmates and deputies to clean up bio-hazardous spills. Training
materials were devised by the Sanitarian. The Sanitarian advised that no inmate training
was conducted during the rating period due to a shortage of available inmate workers.
        The Monitor also reviewed training curricula and documentation indicating that
during 2021, all pre-service staff received training in bio-hazardous cleanup procedures as
part of their initial training in each new-hire class in 2021 up to the date of this inspection.
Documentation reflected that the in-service training for this requirement had been
delayed somewhat as OPSO continues to recover from pandemic and hurricane related
issues, but the training was ongoing.
        As of November 2018, the Sanitation and/or Environmental Officer is required to
be notified of such incidents each business day to enable them to replace any bio-
hazardous clean up protective materials used and inspect the area to ensure it was
properly cleaned and sanitized. The Monitor was provided with several reports indicating
that proper notification had been made to the Sanitarian and that required
cleanup/inspection procedures had been followed. The Monitor inspected all emergency
response bags and found them complete on the day of the inspection.
IV. D. 1. g. Ensure the use of cleaning chemicals that sufficiently destroy the pathogens and organisms
in biohazard spills.
Findings:
Substantial Compliance
Observations:
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        The Monitor was able to make direct observation that the chemicals on-hand and
available to staff were sufficient to destroy the pathogens and organisms in bio-hazardous
spills common in a jail environment to include the COVID-19 virus. The Monitor is
continuing to rate this section as being in substantial compliance.

        Additionally, the chemical storage inventory documentation submitted
demonstrated availability of a consistent supply of the required chemicals being
maintained by the designated staff.
IV. D. 1. h. Maintain an infection control plan that addresses contact, blood borne, and airborne hazards
and infections. The plan shall include provisions for the identification, treatment, and control of
Methicillin-Resistant Staphylococcus Aureus (“MRSA”) at the Facility.
Findings:
Substantial compliance
Observations:
        As with the previous inspection, the Monitor reviewed the OPSO infection control
policy 1201.11 as well as the Wellpath Infection Control Program document (rev.
8/30/18) submitted by OPSO. No changes were noted, and all requisite areas required by
the Consent Judgement were addressed, to include MRSA, and included by OPSO for the
Monitor’s review and found sufficient.
        The Monitor observed no violations with regard to the handling and sanitation of
inmate mattresses in OJC or TDC. OPSO has previously provided for annual review of the
policy and standard operating procedures for the handling of inmate mattresses to
include staff and/or inmate sanitation training program that includes mattress cleaning,
and chemical use and control. This procedure is specifically required by the Infection
Control Plan.
IV. D. 2. Environmental Control
Findings:
D. 2. a. Substantial Compliance
D. 2. b. Substantial Compliance
IV. D. 2. a. OPSO shall ensure that broken or missing electrical panels are repaired within 30 days of
identified deficiencies, unless the item needs to be specially ordered.
Findings:
Substantial Compliance
Observations:

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        OPSO Policies 601.02 “Reporting and Addressing Maintenance Needs” and Policy
601.03 “Preventive Maintenance” [August 15, 2016] are implemented. Major electrical
panels at OJC and TMH are located in secure maintenance spaces inaccessible to inmates.
        During the inspection, the Monitor observed two electrical rooms that had
unauthorized miscellaneous items stored in the rooms and obstructing access to the
electrical panels. The Maintenance Director and Unit Managers were made aware of the
code violations which were remedied on the spot.
IV. D. 2. b. Develop and implement a system for maintenance and timely repair of electrical panels,
devices, and exposed electrical wires.
Findings:
Substantial Compliance
Observations:
        The Monitor noted one damaged floor receptacle in the Kitchen bakery area and
noted to be an electrical hazard to workers. The issue was noted and submitted for repair
by Chief Lampard.
        The Monitor considers this to be sufficient to support a continued finding of
Substantial Compliance.
IV. D. 3. Food Service
        This report summarizes the findings for the Food Service provisions of the Consent
Judgment based on the Monitor’s document reviews and tour conducted June 27-30,
2022. The Monitor inspected the Orleans Justice Center (OJC) Kitchen/Warehouse;
observed meal service activities; and spoke with OPSO supervisors and deputies, Summit
contracted food service employees, and inmates.
        Since the last tour on November 15-16, 2021, OPSO has maintained compliance
with sections IV. D. 3. a, IV. D. 3. b., and IV. D. 3. c. of the Consent Judgment, resulting in
Food Service remaining in substantial compliance.
Findings:
D. 3. a. Substantial Compliance
D. 3. b. Substantial Compliance
D. 3. c. Substantial Compliance
IV. D. 3. a. OPSO shall ensure that food service staff, including prisoner staff, continues to receive in-
service annual training in the areas of food safety, safe food handling procedures, and proper hygiene,
to reduce the risk of food contamination and food-borne illnesses.


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Findings:
Substantial Compliance
Observations:
        Summit continues to provide documented monthly training for food service staff.
Food safety related training for the compliance period included lessons on handwashing,
proper glove use, illness reporting, cleaning, and sanitizing. Although there are fewer
inmates working in the kitchen due to COVID, they still receive orientation training,
including watching a video on the topics of food safety, personal safety, sanitation, and
chemical supplies, followed by a written quiz, prior to starting work in the kitchen.
Therefore, D. 3. a. remains in Substantial Compliance for the period of October 2021
through March 2022.
IV. D. 3. b. Ensure that dishes and utensils, food preparation and storage areas, and vehicles and
containers used to transport food are appropriately cleaned and sanitized on a daily basis.
Findings:
Substantial Compliance
Observations:
        The Monitor observed the kitchen to be clean. OPSO and Summit food service
management staff have maintained the improvements in cleanliness; therefore, D. 3. b.
remains in Substantial Compliance for the period of October 2021 through March 2022.
        The floor in the area of the kitchen where the large cooking kettles are located, also
known as the “cook pit” remains an ongoing concern because it is severely cracked and
pieces are missing, which makes it extremely difficult to properly clean. OPSO is aware of
the problem, and it is cited in the internal inspection reports. Although OPSO has
implemented enhanced cleaning procedures in the area, and report that they are still in
the process of obtaining vendor/contractor work proposals and cost quotes, the condition
of the floor continues to deteriorate.
            •   Strongly recommend that OPSO move forward with the process for the floor
                renovations in the kitchen “cook pit” because the floor around the kettles is
                in poor condition and will only continue to deteriorate. The floor in the
                “cook pit” cooking area must be properly maintained, so that it is easily
                cleanable in order to facilitate compliance with IV. D. 3. b. requiring that
                food preparation areas are appropriately cleaned on a daily basis.

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IV. D. 3. c. Check and record on a daily basis the temperatures in the refrigerators, coolers, walk-in
refrigerators, the dishwasher water, and all other kitchen equipment with a temperature monitor, to
ensure proper maintenance of food service equipment.
Findings:
Substantial Compliance
Observations:
        The Consent Judgment requires that OPSO “Check and record on a daily basis the
temperatures in the refrigerators, coolers, walk-in refrigerators, the dishwasher water,
and all other kitchen equipment with a temperature monitor, to ensure proper
maintenance of food service equipment.” The Monitor reviewed the numerous food
service records provided by OPSO and Summit for the compliance period and found that
the documented temperatures were within the appropriate ranges. During the tour, the
Monitor observed that the food temperatures, cooler and freezer temperatures, the
refrigerator at TMH and the dishwasher machine temperatures were code compliant.
Therefore, IV. D. 3. c. remains in Substantial Compliance for the period of October 2021
through March 2022.
        Although the food temperatures were found to be in compliance with applicable
standards, during observation of the June 28, 2022, dinner meal, inmates reported that the
corn chips on their trays were stale, and upon inspection they were not crunchy or fresh.
The meal trays had been prepared the previous day, placed in carts, and stored in
refrigeration. Thus, although the corn chips were safe to eat, they were not necessarily
appetizing. Therefore, it is recommended that OPSO and Summit review their practices to
ensure that cold meals are fresh and palatable upon being served.
IV. D. 4. Sanitation and Environmental Conditions Reporting
Findings:
D.4. a. Substantial Compliance
D.4. b. Substantial Compliance
D. 4. a. Provide the Monitor a periodic report on sanitation and environmental conditions in the Facility.
These periodic reports shall be provided to the Monitor within four months of the Effective Date; and
every six months thereafter until termination of this Agreement. The report will include
          (1) number and type of violations reported by health and sanitation inspectors;
          (2) number and type of violations of state standards;
          (3) number of prisoner grievances filed regarding the environmental conditions at the Facility;
          (4) number of inoperative plumbing fixtures, light fixtures, HVAC systems, fire protection
          systems, and security systems that have not been repaired within 30 days of discovery;
          (5) number of prisoner-occupied areas with significant vandalism, broken furnishings, or
          excessive clutter;

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       (6) occurrences of insects and rodents in the housing units and dining halls; and
       (7) occurrences of poor air circulation in housing units.
Findings:
Substantial Compliance
Observations:
        The October 2021 through March 2022 Sanitation and Environmental reports as
supporting documentation were not available to the Monitor prior to the inspection tour.
The biannual summary reports contained the requisite information spelled out by the
Consent Judgement for this section. The State Department of Health performed an
inspection on October 21, 2021, noting several issues. The DHH reinspection conducted on
November 8, 2021, noted all deficiencies had been corrected. The Monitor reviewed
documentation covering items 3 through 6 and found no significant issues.
IV. D. 4. b. Review the periodic sanitation and environmental conditions reports to determine whether
the prisoner grievances and violations reported by health, sanitation, or state inspectors are
addressed, ensuring that the requirements of this Agreement are met. OPSO shall make
recommendations regarding the sanitation and environmental conditions, or other necessary changes
in policy, based on this review. The review and recommendations will be documented and provided to
the Monitor.
Findings:
Substantial Compliance
Observations:
       The Consent Judgment requires a review of the periodic sanitation and
environmental conditions reports to ensure issues are addressed along with making
recommendations regarding sanitation and environmental conditions and policy changes
based upon the review. Such reviews are to be documented and provided to the Monitor.
The Monitor reviewed the supporting documentation provided by OPSO and determined
that it was sufficient to satisfy the requirements of the Consent Judgment. OPSO provided
documentation of the required review and basic analysis of inmate grievances and
inspection violations noted regarding sanitation and environmental conditions during the
rating period.
IV. E. 1. Fire and Life Safety
Findings:
E.1. a. Substantial Compliance
E. 1. b. Substantial Compliance
E. 1. c. Substantial Compliance
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E. 1. d. Substantial Compliance
E. 1. e. Substantial Compliance
IV. E. 1. a. Ensure that necessary fire and life safety equipment is properly maintained and inspected at
least quarterly. These inspections must be documented.
Finding:
Substantial Compliance
Observations:
        The Monitor was able to conduct a tour of the OJC, TDC/TMH, and the
Kitchen/Warehouse facilities during the June 2022 inspection with the Facility Life Safety
Officer. The Monitor observed no major issues with the fire and life safety equipment. All
fire extinguishers were found to be current on required inspections with one exception
that was corrected. The Fire Alarm Control Panels in the areas inspected were found to be
properly inspected and free of trouble alarms with the exception of one remote panel in
TDC. A repair/contract work order was already in place.
        The Monitor also reviewed all monthly and quarterly inspection documentation as
well as outside inspection documentation noting no significant issues, that requisite work
orders had been generated when warranted, and that all major systems were
operational/“green tagged”. Of note, the inspection documentation reflected few, if any,
trash issues throughout the inmate housing areas. The reports did note, however, a
significant issue with excess inmate property being improperly stored in a substantial
number of housing units. Staff should consider potential solutions to reduce the amount of
clutter and potential fire-load the material presents.
        As noted in the previous inspection, Life Safety staff continue to use the “Facility
Dude” work order system to maintain the schedule of required inspections. The system
notifies the Fire Safety Officer when an inspection is due. OPSO continues to maintain
contracts with licensed vendors to complete annual inspections of all fire and life safety
equipment. OPSO provided copies of quarterly inspections conducted by the Fire Safety
Officer for Kitchen/Warehouse, OJC, and TDC/TMH for the fourth quarter for 2021 and
first quarter for 2022. A copy of the most recent fire marshal inspection was also provided
and reviewed. This documentation, supported by observations during the compliance
tour, indicates that OPSO ensures that necessary fire and life safety equipment is properly
maintained and inspected at required intervals.

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IV. E. 1. b. Ensure that a qualified fire safety officer conducts a monthly inspection of the facilities for
           compliance with fire and life safety standards (e.g., fire escapes, sprinkler heads, smoke
detectors, etc.).
Finding:
Substantial Compliance
Observations:
        The Monitor was provided with the monthly inspection documents for the Kitchen
/Warehouse, OJC, and TDC/TMH facilities performed during the current inspection period.
The reports are thorough and complete with all noted discrepancies listed with the
associated work order number. These inspections are conducted by a qualified fire safety
officer or a qualified contractor, as required by the Consent Judgment.
IV. E. 1. c. Ensure that comprehensive fire drills are conducted every six months. OPSO shall document
these drills, including start and stop times and the number and location of prisoners who were moved
as part of the drills.
Finding:
Substantial Compliance
Observations:
        The Consent Judgment requires comprehensive fire drills every six months. OPSO
provided documentation for fourteen (14) fire drills for all facilities and shifts conducted
during the current rating period. Only “Level 1” drills were conducted (no inmate
evacuation) due to COVID restrictions. Five (5) drills were conducted in OJC, six (6) drills
were conducted in TDC/TMH, and three (3) were conducted in the Kitchen/Warehouse.
Documentation reviewed by the Monitor noted in excess of 90% of available OJC and TDC
(by squad) staff had participated in at least one drill during the rating period. In addition
to the detailed drill reports, the documentation lists, by name, any delinquent staff with
the listing provided to senior management for the coordination of make-up training. Pre-
service training was provided to all participants in classes held during the rating period.
IV. E. 1. d. Provide competency-based training to staff on proper fire and emergency practices and
procedures at least annually.
Finding:
Substantial Compliance
Observations:
         OPSO has developed the requisite policy, training course syllabus/outline and
written directives necessary for this section. OPSO training staff provided documentation

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noting that approximately 95% of the mandated staff had completed the required
competency-based training on fire and emergency practices by December 31,2021.
Eighteen staff members of the required 349, were noted as still needing the annually
mandated training. The Monitor considers the 95% success rate for in-service Life/Safety
training to meet the requirement of the Consent Judgement. Although not covered in the
language above, the success rate for pre-service Life/Safety training was 100%.
IV. E. 1. e. Within 120 days of the Effective Date, ensure that emergency keys are appropriately marked
and identifiable by touch and consistently stored in a quickly accessible location, and that staff are
adequately trained in use of the emergency keys.
Finding:
Substantial Compliance
Observations:
        Inspection reports note the routine verification of the keys and the Fire Safety
Officer documents the periodic testing of the keys to verify they are operational. The Fire
Safety Officer trains staff on the location and use of the keys during the fire and life safety
training curriculum provided to all staff at the training academy.
IV. E. 2. Fire and Life Safety Reporting
Findings:
E. 2. a. Partial Compliance
E. 2. b. Substantial Compliance
IV. E. 2. a. (1) – (3) Provide the Monitor a periodic report on fire and life safety conditions at the Facility.
These periodic reports shall be provided to the Monitor within four months of the Effective Date and
every six months thereafter until termination of this Agreement. Each report shall include:
          (1) number and type of violations reported by fire and life safety inspectors;
          (2) fire code violations during annual fire compliance tours; and
          (3) occurrences of hazardous clutter in housing units that could lead to a fire.
Finding:
Partial Compliance
Observations:
        The semiannual report referenced in IV.E.2.a. was not provided for the period
7/1/21-12/31/21. The semiannual report referenced in IV.E.2.a. was provided for the
period 1/1/22-6/30/22 and covered the latter 3 months of the rating period. The 2021-
2022 Fire and Life Safety Conditions reports generated during the rating period were made
available to the Monitor prior to the June 2022 inspection. The reports contained the
supporting information for the semiannual reports spelled out by the Consent Judgment. In

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light of the supporting documentation, the Monitor finds this section to be in Partial
Compliance.
IV. E. 2. b. Review the periodic fire and life safety reports to determine whether the violations reported by
fire and life safety inspectors are addressed, ensuring the requirements of this Agreement are being met.
OPSO shall make recommendations regarding the fire and life safety conditions, or other necessary
changes in policy, based on this review. The review and recommendations will be documented and
provided to the Monitor.
Finding:
Substantial Compliance
Observations:
        The Consent Judgment requires a review of the periodic fire and life safety reports
to ensure issues are addressed along with making recommendations regarding the fire
and life safety conditions and policy changes based upon the review. Such reviews are to
be documented and provided to the Monitor.
        The Monitor reviewed the supporting documentation provided by OPSO and
determined that it was sufficient to satisfy the requirements of the Consent Judgment.
OPSO provided documentation of the required review and basic analysis of fire and life
safety conditions as well as any necessary changes in policy or procedure. The Monitor
believes a continued finding of Substantial Compliance is justified.
IV. F. Language Assistance
F.1.a. OPP shall ensure effective communication with and provide timely and meaningful access to services at
OPP to all prisoners at OPP, regardless of their national origin or limited ability to speak, read, write, or
understand English. To achieve this outcome, OPP shall:
          (1)      Develop and implement a comprehensive language assistance plan and policy that complies,
                   at a minimum, with Title VI of the Civil Rights Act of 1964, as amended, (42 U.S.C. § 2000d et
                   seq.) and other applicable law;
          (2)      Ensure that all OPP personnel take reasonable steps to provide timely, meaningful language
                   assistance services to Limited English Proficient (“LEP”) prisoners;
          (3)      At intake and classification, identify and assess demographic data, specifically including the
                   number of LEP individuals at OPP on a monthly basis, and the language(s) they speak;
          (4)      Use collected demographic information to develop and implement hiring goals for bilingual
                   staff that meet the needs of the current monthly average population of LEP prisoners;
          (5)      Regularly assess the proficiency and qualifications of bilingual staff to become an OPP
                   Authorized Interpreter (“OPPAI”);
          (6)      Create and maintain an OPPAI list and provide that list to the classification and intake staff;
                   and
          (7)      Ensure that while at OPP, LEP prisoners are not asked to sign or initial documents in English
                   without the benefit of a written translation from an OPPAI.
F.2.a. OPP shall develop and implement written policies, procedures and protocols for documenting,
processing, and tracking of individuals held for up to 48 hours for the U.S. Department of Homeland Security
(“DHS”);
F.2.b Policies, procedures, and protocols for processing 48-hour holds for DHS will:
          (1)      Clearly delineate when a 48-hour hold is deemed to begin and end;
          (2)      Ensure that, if necessary, an OPPAI communicates verbally with the OPP prisoner about
                   when the 48-hour period begins and is expected to end;
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          (3)         Provide a mechanism for the prisoner’s family member and attorney to be informed of the
                      48-hour hold time period, using, as needed, an OPPAI or telephonic interpretation service;
          (4)         Create an automated tracking method, not reliant on human memory or paper
                      documentation, to trigger notification to DHS and to ensure that the 48-hour time period is
                      not exceeded.
          (5)         Ensure that telephone services have recorded instructions in English and Spanish;
          (6)         Ensure that signs providing instructions to OPP prisoners or their families are translated
                      into Spanish and posted;
          (7)         Provide Spanish translations of vital documents that are subject to dissemination to OPP
                      prisoners or their family members. Such vital documents include, but are not limited to:
               i.         grievance forms;
               ii.        sick call forms;
               iii.       OPP inmate handbooks;
               iv.        Prisoner Notifications (e.g., rule violations, transfers, and grievance responses) and
               v.         “Request for Services” forms.
          (8)         Ensure that Spanish-speaking LEP prisoners obtain the Spanish language translations of
                      forms provided by DHS; and
          (9)         Provide its language assistance plan and related policies to all staff within 180 days of the
                      Effective Date of this Agreement.
F.3.a. Within 180 days of the Effective Date, OPP shall provide at least eight hours of LEP training to all
corrections and medical and mental health staff who may regularly interact with LEP prisoners.
           (1) LEP training to OPP staff shall include:
                     i.    OPP’s LEP plan and policies, and the requirements of Title VI and this Agreement;
                    ii.    how to access OPP-authorized, telephonic and in-person OPPAIs; and
                   iii.    basic commands and statements in Spanish for OPP staff.
           (2) OPP shall translate the language assistance plan and policy into Spanish, and other languages
                as appropriate, and post the English and translated versions in a public area of the OPP
                facilities, as well as online.
           (3) OPP shall make its language assistance plan available to the public.
F.4.
          (1)         OPP shall ensure that adequate bilingual staff are posted in housing units where DHS
                      detainees and other LEP prisoners may be housed.
          (2)         OPP shall ensure that an appropriate number of bilingual staff are available to translate or
                      interpret for prisoners and other OPP staff. The appropriate number of bilingual staff will
                      be determined based on a staffing assessment by OPP.
Findings:
F.1. a. Substantial Compliance
F. 2. a. Substantial Compliance
F. 2. b. Substantial Compliance
F. 3. a. Partial Compliance
F. 4.   Substantial Compliance
Observations:
        The Language Assistance Plan required by this paragraph has been prepared and
finalized. F. 1. a. remains in substantial compliance.
        OPSO asserts that DHS and ICE inmates are not detained. OPSO developed a policy
which was submitted to the Monitors which has provisions F. 2. a. and b. into substantial
compliance.

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        OPSO provided documentation regarding the use of the language line. OPSO has
provided documentation regarding the number of bilingual staff and the manner in which
the needs of language assistance are provided bringing provisions of F. 4. into substantial
compliance. The Consent Judgment specifically requires at least eight hours of LEP
training for all deputies and mental health staff who may regularly interact with LEP
inmates. Provision IV. F. 3. a. is determined in partial compliance as eight hours of training
is not provided. Training of security and medical staff assigned to the IPC should be
sufficient.
IV. G. Youthful Prisoners
IV. G. Consistent with the Prison Rape Elimination Act of 2003, 42 U.S.C. § 15601, et seq., and its
implementation of regulations, a youthful prisoner shall not be placed in a housing unit in which the
youthful prisoner will have sight, sound, or physical contact with any adult prisoner through use of a
shared dayroom or other common space, shower area, or sleeping quarters. In areas outside of housing
units, OPSO shall either: maintain sight and sound separation between youthful prisoners and adult
prisoners, or provide direct staff supervision when youthful prisoners and adult prisoners have sight,
sound, or physical contact. OPP shall ensure that youthful prisoners in protective custody status shall
have no contact with, or access to or from, non- protective custody prisoners. OPP will develop policies
for the provision of developmentally appropriate mental health and programming services.
Finding:
Substantial Compliance
Observations:
      OPSO has provided documentation that its separation of youthful inmates from adult
inmates was found in compliance during its recent PREA audit. A concerted effort has
been made to house all youthful inmates at the juvenile detention facility. When housed at
OJC, Tulane provides developmentally appropriate mental health services to youthful
inmates. Travis School continues to provide educational and programming services. The
requirement for developmentally appropriate mental health and programming services is
separate and apart from PREA.
VI. A – D. The New Jail Facility and Related Issues
A. New Jail
The Parties anticipate that Defendant will build a new jail facility or facilities that will replace or
supplement the current facility located at 2800 Gravier Street, New Orleans, Louisiana. This Agreement
shall apply to any new jail facility.
Finding:
VI. A. Substantial Compliance.
B. Design and Design Document
Defendant shall obtain the services of a qualified professional to evaluate, design, plan, oversee, and

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implement the construction of any new facility. At each major stage of the facility construction,
Defendant shall provide the Monitor with copies of design documents.
Finding:
VI. B. Substantial Compliance
Observations:
      These provisions apply to the construction of any new facility. Phase III is such a
facility. As the City is the entity overseeing the construction of Phase III, OPSO must
coordinate with the City to provide copies of design document at each major stage. The
City has been providing timely access to design documents and information regarding
Phase III.
C. Staffing
Defendant shall consult with a qualified corrections expert as to the required services and staffing
levels needed for any replacement facility. OPSO shall complete a staffing study to ensure that any new
facility is adequately staffed to provide prisoners with reasonable safety.
Finding:
VI.C. Partial Compliance
Observations:
      The Consent Judgment requires that the Defendant shall consult with a qualified
corrections expert as to the required services and staffing levels needed for any
replacement facility. The staffing plan for OJC developed in 2019 is now longer sufficient
due to the lack of staff for deployment to the positions. The Monitors are concerned
whether this will occur with Phase III staffing. The paragraph is in partial compliance.
D. Compliance with Code and Standards
Defendant will ensure that the new jail facility will be built in accordance with: (1) the American
Correctional Association’s standards in effect at the time of construction; (2) the American with
Disabilities Act of 1990 (“ADA”), 42 U.S.C. §§ 12101-12213, including changes made by the ADA
Amendments of 2008 (P.L. 110-325) and 47 U.S.C. §§ 225-661, and the regulations there under; and (3)
all applicable fire codes and regulations.
Finding:
Monitors not qualified to evaluate.
Observations:
      The Monitors do not have the knowledge or expertise to evaluate compliance with
this paragraph. OPSO asserts that it is in compliance with this provision, without offering
documentation. Documentation from the architect would be sufficient.



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VII. Compliance and Quality Improvement
VII. A. Policies, Procedures, Protocols, Training Curriculum and Practices
Within 120 days of the Effective Date, OPSO shall revise and/or develop its policies, procedures,
protocols, training curricula, and practices to ensure that they are consistent with, incorporate,
address, and implement all provisions of this Agreement. OPSO shall revise and/or develop, as
necessary, other written documents, such as screening tools, logs, handbooks, manuals, and forms, to
effectuate the provisions of this Agreement. OPSO shall send pertinent newly drafted and revised
policies and procedures to the Monitor as they are promulgated. The Monitor will provide comments on
the policies to OPSO, SPLC, and DOJ within 30 days.

OPSO, SPLC, and DOJ may provide comments on the Monitor’s comments within 15 days. At that point,
the Monitor will consider the Parties’ comments, mediate any disputes, and approve the policies with
any changes within 30 days. If either party disagrees with the Monitor, they may bring the dispute to
the Court. OPSO shall provide initial and in-service training to all Facility staff with respect to newly
implemented or revised policies and procedures. OPSO shall document employee review and training in
new or revised policies and procedures.
Finding:
VII. A. Partial Compliance
Observations:
      OPSO has now completed the development of the required policies. OPSO’s efforts in
the development of procedures and lesson plans resulted in this paragraph being
downgraded to partial compliance. OPSO should continue to seek the input of the Monitors
and Parties of any revisions of the policies required by the Consent Judgment. OPSO is
reminded that it may not unilaterally change those policies.
VII. (H). B. Written Quality Improvement Policies and Procedures
Within 180 days of the Effective Date, Defendant shall develop and implement written quality
improvement policies and procedures adequate to identify serious deficiencies in protection from harm,
prisoner suicide prevention, detoxification, mental health care, environmental health, and fire and life
safety in order to assess and ensure compliance with the terms of this Agreement on an ongoing basis.
Within 90 days after identifying serious deficiencies, OPSO shall develop and implement policies and
procedures to address problems that are uncovered during the course of quality improvement
activities. These policies and procedures shall include the development and implementation of
corrective action plans, as necessary, within 30 days of each biannual review.
Finding:
VII. B. Partial compliance
Observations:
      OPSO has provided documentation that it is now developing plans to identify serious
deficiencies, and to address problems that are uncovered during the course of quality
improvement activities to warrant a finding of partial compliance. These plans need to
contain specific performance measures, timelines, and persons responsible. They also
need to be implemented with appropriate development of corrective action to be taken
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and the auditing of adherence to the action plan.
VII. (I). C. Full-Time Compliance Coordinator
The Parties agree that OPSO will hire and retain, or reassign a current OPSO employee for the duration
of this Agreement, to serve as a full-time OPSO Compliance Coordinator. The Compliance Coordinator
will serve as a liaison between the Parties and the Monitor and will assist with OPSO’s compliance with
this Agreement. At a minimum, the Compliance Coordinator will: coordinate OPSO’s compliance and
implementation activities; facilitate the provision of data, documents, materials, and access to OPSO’s
personnel to the Monitor, SPLC, DOJ, and the public, as needed; ensure that all documents and records
are maintained as provided in this Agreement; and assist in assigning compliance tasks to OPSO
personnel, as directed by the Sheriff or his or her designee. The Compliance Coordinator will take
primary responsibility for collecting information the Monitor requires to carry out the duties assigned
to the Monitor.
Finding:
Partial Compliance
Observations:
The Compliance Coordinator resigned in July 2021. While some of her duties were reassigned to
other staff members, this is insufficient both as to the requirement of the Consent Judgment and
the performance of the duties required. No one has been designated as the Compliance Director
during the monitoring period, but a captain was designated to perform the functions.

VII. (J.) D. Self-Assessment
On a bi-annual basis, OPSO will provide the public with a self-assessment in which areas of significant
improvement or areas still undergoing improvement are presented either through use of the OPSO
website or through issuance of a public statement or report.
Finding:
Partial Compliance
Observations:
        During the monitoring period, no town hall meetings were held. The holding of
those meetings previously and posting the PowerPoint presentations at those meetings
had brought OPSO into substantial compliance.
VIII. Reporting Requirements and Right of Access
VIII. A. Periodic Compliance Reporting
OPSO shall submit periodic compliance reports to the Monitor. These periodic reports shall be provided
to the Monitor within four months from the date of a definitive judgment on funding; and every six
months thereafter until termination of this Agreement. Each compliance report shall describe the
actions Defendant has taken during the reporting period to implement this Agreement and shall make
specific reference to the Agreement provisions being implemented. The report shall also summarize
audits and continuous improvement and quality assurance activities, and contain findings and
recommendations that would be used to track and trend data compiled at the Facility. The report shall
also capture data that is tracked and monitored under the reporting provisions of the following
provisions: Use of Force; Suicide Prevention; Health Care Delivered; Sanitation and Environmental
Conditions; and Fire and Life Safety.

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Finding:
Partial Compliance
Observations:
      As noted in the individual section, several of the required reports have not been
submitted during this monitoring period.
VIII. B. (Notification of) Death of Any Prisoner
OPSO shall, within 24 hours, notify the Monitor upon the death of any prisoner. The Monitor shall
forward any such notifications to SPLC and DOJ upon receipt. OPSO shall forward to the Monitor
incident reports and medical and/or mental health reports related to deaths, autopsies, and/or death
summaries of prisoners, as well as all final SOD and IAD reports that involve prisoners. The Monitor
shall forward any such reports to SPLC and DOJ upon receipt.
Finding:
Substantial Compliance
VIII. C. Records
Defendant shall maintain sufficient records to document that the requirements of this Agreement are
being properly implemented and shall make such records available to the Monitor within seven days of
request for inspection and copying. In addition, Defendant shall maintain and provide, upon request, all
records or other documents to verify that they have taken the actions described in their compliance
reports (e.g., census summaries, policies, procedures, protocols, training materials, investigations,
incident reports, tier logs, or use of force reports).
Finding:

Partial Compliance

Observations:
        During this compliance period, OPSO often did not provide incident notifications
within seven days. The monthly reports provided to the Monitors greatly decreases the
need for document requests.
III. Stipulated Orders
        OPSO and the Plaintiffs/DOJ negotiated two agreements after Compliance Report
#3. The language of the Stipulated Orders was linked directly to the Consent Judgment and
represented priority areas for inmate safety. Some of them required a one-time action
such the posting of a memorandum or providing of training by a specific date. Some of the
provisions of the Stipulated Order of February 11, 2015, contain on-going obligations that
are in addition to the Consent Judgment or clarify the obligations under the Consent
Judgment.
        The three provisions of the April 22, 2015, Stipulated Order are in substantial
compliance and contained provisions that were to be accomplished by specific dates
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during April 2015. As those dates have passed, the Monitors no longer monitor those
provisions. Two of the provisions in the Stipulated Order of February 11, 2015, require
additional attention. The provisions of the Stipulated Order of February 11, 2015, which
require ongoing compliance are 1. a-c. 5. b., 6. a., and 7. a. and b. The provisions that are
not in substantial compliance are addressed below.
1. c. Within 24 hours of the occurrence of any of the following incident, OPSO shall notify the Monitor via
email:
     • Death of an inmate/arrestee while held in custody (or housed in a hospital to which the inmate
         has been committed for care and retain in the custody of OPSO; or whose injury occurred while
         in custody and was subsequently released from custody);
     • An inmate’s/arrestee’s suicide, suicide attempt, aborted suicide attempt, suicidal intent, and/or
         deliberate suicide self-harm gesture as defined by the American Psychiatric Association;
     • An inmate’s allegation of sexual abuse, sexual assault, sexual harassment, or voyeurism
         whether the incident is between or among inmates, or between or among inmates and a
         staff/contractor or volunteer;
     • An inmate’s report, or a report by a staff/contractor or volunteer, of any inmate/inmate
         allegation of assault; or other inmate allegation of felonies occurring to them while in custody;
     • An Inmate’s report of a report by a staff/contractor or volunteer, of any allegation of excessive
         force by an employee, volunteer or contractor;
     • Suspension or arrest of any OPSO employee, volunteer, or contractor for alleged criminal
         activities while on-duty and/or in a facility under the control of OPSO; and
     • Any recovery of significant contraband, specifically weapons.
Finding:
Partial Compliance
Observations:
        OPSO has not sufficiently complied with the requirements of this provision. At best,
the Monitor learns of some of the items through incident reports, review of investigations
and newspaper reports. OPSO should put in place a system to comply with this provision.
6. a. By February 15, 2015, in order that the housing for youthful offenders is continually staffed by a deputy,
OPSO will assure that a deputy is working on every shift, on every day on the unit housing youthful offenders.
This deputy may not be assigned to other tiers or other responsibilities, and shall be periodically relieved by
another deputy and/or supervisor. The evidence of compliance with this document will be the staffing
assignments each day, each shift for the facility in which youthful offenders are held, and samples of the log
books from that unit.

Finding:
Substantial Compliance
Observations
        No youthful offenders were housed in OJC during the monitoring period. Therefore,
there was not a period where housing units for youthful offenders needed to be staffed
continuously.



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Appendix A: Summary of Compliance Findings by Compliance Section Reports 1 - 15




                                                                                                                                                Report # 10




                                                                                                                                                                                         11/16/20




                                                                                                                                                                                                                  11/15/21


                                                                                                                                                                                                                               06/26/22
                                                                                                                                                              Report #11


                                                                                                                                                                           Report #12




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                                                                                                                                                                                                                 Report #15


                                                                                                                                                                                                                              Report #16
                                                                                            Report # 6
                           Report # 1


                                        Report # 2


                                                     Report # 3


                                                                  Report # 4

                                                                               Report # 5




                                                                                                         Report # 7


                                                                                                                      Report # 8


                                                                                                                                   Report # 9




                                                                                                                                                                                        Report#13
                                                                                            10/25/16
                            2/13/14


                                         8/26/14


                                                      2/25/15




                                                                                3/17/16




                                                                                                                       1/12/18


                                                                                                                                    8/25/18


                                                                                                                                                 3/18/19


                                                                                                                                                               9/19/19




                                                                                                                                                                                                     5/17/21
                                                                   9/9/15




                                                                                                          5/1/17




                                                                                                                                                                            3/6/20




                                                                                                                                                                                                                 17/21
             IV.A. 1. Use of Force Policies and Procedures/Margo Frasier
             IV. A. 1.a.     ND           NC           NC           PC           NC           PC           PC           PC           PC           SC            SC           SC          SC          PC            PC          PC
             IV. A. 1.b.     ND           NC           NC           PC           NC           PC           PC           PC           SC           SC            SC           SC          SC          SC            SC          SC
             IV. A. 1.c.     ND           NC           NC           PC           NC           NC           PC           PC           PC           SC            SC           PC          PC          PC            PC          NC
             IV.A.2. Use of Force Training/Margo Frasier and Shane Poole
             IV. A. 2. a.    ND      NC     NC     NC     NC     PC      PC                                             PC           PC           PC            SC           SC          SC          PC            PC          SC
             IV. A. 2. b.    ND      NC     NC     NC     NC     PC      PC                                             PC           PC           PC            SC           SC          SC          PC            PC          SC
             IV. A. 2. c.    ND      NC     NC     NC     NC     NC      NC                                             NC           PC           PC            SC           SC          SC          PC            PC          SC
             IV.A.3. Use of Force Reporting/Margo Frasier
             IV. A.3 a.      ND      NC     NC     PC                            NC           PC           PC           PC           PC           PC            SC           PC          PC          SC            SC          SC
             IV. A.3 b.      ND      NC     NC     NC                            NC           NC           PC           PC           PC           PC            PC           PC          PC          SC            SC          PC
             IV. A.3 c.      ND      NC     NC     NC                            NC           NC           PC           PC           PC           PC            PC           PC          SC          SC            SC          PC
             IV. A.3 d.      ND      NC     NC     PC                            NC           N            PC           PC           PC           PC            PC           PC          PC          PC            PC          PC
                                                                                              C
             IV. A.3 e.      ND           NC           NC           PC           PC           PC           PC           PC           SC           SC            SC           SC          SC          SC            SC          PC
             IV. A.3 f.      ND           NC           NC           PC           NC           PC           PC           PC           PC           PC            PC           PC          PC          PC            PC          PC
             IV. A.3 g.      ND           NC           NC           PC           PC           PC           PC           PC           SC           SC            SC           SC          SC          SC            SC          SC
             IV. A.3 h.      ND           NC           NC           NC           NC           NC           NC           NC           PC           SC            SC           PC          PC          PC            PC          PC
             IV.A.4. Early Intervention System (“EIS”) /Margo Frasier and Shane Poole
             IV.A.4.a.       ND       NC     NC     PC     PC    PC       NC     NC                                                  PC           PC            SC           SC          SC          SC            PC          PC
             IV.A.4.b.       ND       NC     NC     PC     PC    PC       PC     PC                                                  PC           SC            SC           SC          SC          PC            PC          PC
             IV.A.4.c.       ND       NC     NC     PC     PC    PC       PC     PC                                                  SC           SC            SC           SC          SC          SC            PC          PC
             IV.A.4.d.       ND       NC     NC     NC     NC    PC       PC     NC                                                  NC           PC            SC           SC          SC          SC            SC          SC
             IV.A.4.e.       ND      ND      ND     ND     NC    NC       NC     NC                                                  NC           SC            SC           SC          SC          SC            SC          PC
             IV.A.5. Safety and Supervision/Margo Frasier
             IV.A.5.a.       ND      NC     NC     NC                            NC           NC           NC           NC           NC           PC            PC           PC          PC          PC            PC          PC
             IV.A.5.b.       ND      NC     NC     NC                            NC           NC           NC           NC           NC           PC            SC           SC          SC          SC            SC          SC
             IV.A.5.c.       ND      NC     NC     NC                            NC           NC           NC           PC           PC           PC            SC           SC          SC          SC            SC          PC
             IV.A.5.d.       NC      NC     PC     PC                            NC           NC           NC           NC           PC           PC            PC           PC          PC          PC            PC          PC
             IV.A.5.e.       ND      NC     NC     PC                            PC           NC           NC           NC           NC           PC            PC           PC          PC          PC            PC          PC
             IV.A.5.f.       ND      NC     NC     PC                            PC           SC           SC           PC           PC           PC            PC           SC          SC          SC            SC          SC
             IV.A.5.g.       ND      NC     ND     PC                            NC           NC           NC           NC           NC           PC            SC           SC          SC          SC            SC          SC
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             IV.A.5.h.     ND       NC       NC        NC   NC    NC      NC    NC   NC   PC   PC   SC   SC   PC   PC   PC
             IV.A.5.i.     ND       NC       NC        PC   PC    PC      PC    PC   SC   PC   PC   PC   PC   PC   PC   PC
             IV.A.5.j.     ND       NC       PC        PC   NC    NC      NC    NC   PC   PC   PC   PC   PC   PC   PC   PC
             IV.A.5.k.     ND       NC       PC        PC   PC    PC      PC    PC   PC   PC   SC   SC   PC   PC   PC   PC
             IV.A.5.l.     ND       NC       NC        NC   PC    PC      PC    PC   PC   PC   SC   SC   PC   PC   PC   PC
             IV.A.6. Security Staffing/Margo Frasier
             IV.A.6.a.     ND       PC       PC        PC   SC    SC      PC    PC   PC   SC   SC   SC   PC   PC   PC   NC
             IV.A.6.b.     ND       NC       PC        PC   NC    PC      PC    PC   PC   SC   SC   SC   PC   PC   PC   NC
             IV.A.7 Incidents and Referrals/Margo Frasier
             IV.A.7.a.     ND       NC       NC        NC   NC    PC      PC    PC   PC   PC   SC   SC   SC   SC   SC   SC
             IV.A.7.b.     ND       NC       NC        PC   NC    PC      PC    PC   PC   PC   PC   SC   PC   PC   PC   PC
             IV.A.7.c.     ND       NC       PC        PC   PC    PC      SC    SC   SC   SC   SC   SC   SC   SC   SC   SC
             IV.A.7.d.     ND       NC       NC        NC   NC    NC      NC    PC   PC   PC   SC   SC   SC   SC   SC   SC
             IV.A.7.e.     ND       NC       PC        PC   PC    PC      PC    PC   PC   PC   SC   SC   PC   SC   SC   SC
             IV.A.7.f.     ND       NC       NC        PC   PC    PC      PC    PC   PC   PC   PC   SC   SC   SC   SC   SC
             IV.A.7.g.     ND       NC       NC        PC   PC    PC      PC    PC   PC   SC   SC   SC   SC   SC   SC   SC
             IV.A.7.h.     ND       NC       NC        PC   PC    PC      PC    PC   PC   PC   SC   SC   SC   SC   SC   SC
             IV.A.7.i.     ND       NC       NC        PC   NC    NC      NC    NC   NC   PC   SC   SC   SC   SC   SC   SC
             IV.A.7.j.     ND       NC       NC        NC   NC    NC      NC    NC   NC   SC   SC   SC   SC   SC   SC   SC
             IV.A.8. Investigations/Margo Frasier
             IV.A.8.a.       ND      NC     PC         PC   PC    SC      SC    SC   SC   SC   SC   SC   SC   SC   SC   PC
             IV.A.8.b.       ND      NC     PC         PC   PC    SC      SC    SC   SC   SC   SC   SC   SC   SC   SC   SC
             IV.A.8.c.       ND      NC     PC         PC   PC    SC      SC    SC   SC   SC   SC   SC   SC   SC   SC   SC
             IV.A.8.d.       ND      NC     NC         PC   PC    SC      SC    SC   SC   SC   SC   SC   SC   SC   SC   SC
             IV.A.8.e.       ND      NC     NC         PC   PC    PC      PC    SC   SC   SC   SC   SC   SC   SC   SC   SC
             IV.A.8.f.       ND      NC     NC         PC   PC    PC      PC    PC   SC   SC   SC   SC   SC   SC   SC   SC
             IV.A.9. Pretrial Placement in Alternative Settings/Margo Frasier
             IV.A.9.a.       PC      PC       PC     SC      SC    SC      SC   SC   SC   SC   SC   SC   SC   SC   SC   SC
             IV.A.9.b.       PC      PC       PC     SC      SC    SC      SC   SC   SC   SC   SC   SC   SC   SC   SC   SC
             IV.A.10. Custodial Placement within OPP/Patricia Hardyman
             IV.A.10.a.    NC       PC       SC        SC   SC    SC      PC    PC   PC   PC   SC   SC   SC   SC   PC   PC
             IV.A.10.b.    NC       NC       NC        SC   SC    SC      SC    SC   SC   SC   SC   SC   SC   SC   SC   SC
             IV.A.10.c.    NC       NC       PC        PC   PC    PC      PC    SC   SC   SC   SC   SC   SC   SC   SC   SC
             IV.A.10.d.    NC       NC       PC        PC   PC    PC      PC    NC   PC   SC   PC   PC   SC   SC   SC   PC
             IV.A.10.e.    NC       NC       PC        SC   PC    PC      SC    PC   PC   PC   PC   PC   SC   PC   PC   NC
             IV.A.10.f.    NC       NC       NC        NC   NC    PC      PC    PC   NC   SC   PC   PC   PC   PC   PC   PC
             IV.A.10.g.    NC       NC       NC        NC   NC    PC      PC    PC   PC   SC   SC   SC   SC   SC   SC   PC
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             IV.A.10.h.    ND       NC     NC     PC     PC    PC      PC      PC    PC   PC   SC   SC   PC   SC   PC   SC
             IV..A.11. Prisoner Grievance Process/Margo Frasier and Shane Poole
             IV.A.11.a       PC      PC      PC    PC    PC      PC     PC      PC   PC   PC
             IV.A.11.a.(1)                                                                     SC   SC   SC   SC   SC   SC
             IV.A.11.a.(2)                                                                     PC   PC   PC   PC   PC   PC
             IV.A.11.a.(3)                                                                     SC   SC   SC   SC   SC   SC
             IV.A.11.a.(4)                                                                     SC   SC   SC   SC   SC   SC
             IV.A.11.a.(5)                                                                     SC   SC   SC   SC   SC   SC
             IV.A.11.a.(6)                                                                     PC   PC   SC   SC   SC   SC
             IV.A.12. Sexual Abuse/Margo Frasier
             IV.A.12.       PC       PC     PC     PC     PC   PC      PC      PC    PC   PC   SC   SC   SC   PC   PC   PC
             IV.A.13. Access to Information/Margo Frasier
             IV.A.13.       PC       PC    PC     PC     PC    PC      PC      PC    PC   SC   SC   SC   SC   SC   SC   SC
             IV. B. Mental Health Care
             IV.B.1. Screening and Assessment/Nicole Johnson
             IV.B.1.a.      NC      NC     PC     PC     PC    PC      PC      PC    PC   SC   SC   SC   PC   PC   SC   SC
             IV.B.1.b.      NC      NC     PC     PC     PC    PC      PC      PC    PC   SC   SC   SC   SC   PC   SC   SC
             IV.B.1.c.      NC      NC     PC     PC     PC    PC      PC      PC    SC   SC   SC   SC   SC   PC   SC   SC
             IV.B.1.d.      NC      NC     PC     PC     PC    PC      PC      PC    PC   SC   SC   SC   PC   PC   SC   SC
             IV.B.1.e.      NC      NC     PC     PC     PC    PC      PC      PC    PC   PC   SC   SC   PC   PC   PC   PC
             IV.B.1.f.      NC      NC     NC     NC     NC    NC      NC      NC    NC   PC   PC   PC   PC   PC   PC   PC
             IV.B.1.g.      NC      NC     NC     NC     NC    NC      NC      NC    PC   PC   PC   PC   PC   PC   SC   SC
             IV.B.1.h.     NC       NC      NC    NC     NC    NC      NC      NC    PC   SC   SC   SC   SC   SC   SC   SC
             IV.B.1.i.     NC       NC      NC    NC     NC    NC      NC      NC    NC   PC   PC   PC   PC   PC   PC   PC
             IV.B.1.j.     NC       NC      NC    PC     NC    NC      NC      NC    NC   PC   PC   PC   PC   PC   PC   PC
             IV.B.1.k.     NC       NC      NC    PC     NC    NC      NC      NC    NC   NC   PC   PC   PC   PC   PC   PC
             IV.B.1.l.     NC       NC      NC    NC     NC    NC      NC      NC    NC   SC   SC   SC   PC   PC   PC   PC
             B. 2. Treatment/Nicole Johnson
             IV.B.2.a.     NC       NC     NC     PC     PC    PC      PC      PC    PC   PC   PC   PC   PC   PC   PC   PC
             IV.B.2.b.     NC       NC     NC     NC     NC    NC      NC      NC    NC   PC   PC   PC   PC   PC   PC   PC
             IV.B.2.c.     NC       NC     NC     NC     NC    NC      NC      NC    NC   PC   PC   PC   PC   PC   PC   PC
             IV.B.2.d.     NC       NC     NC     NC     NC    NC      NC      NC    NC   NC   NC   PC   PC   PC   PC   PC
             IV.B.2.e.     NC       NC     NC     PC     PC    PC      PC      NC    NC   PC   SC   SC   SC   SC   SC   SC
             IV.B.2.f.     NC       NC     NC     PC     PC    PC      NC      PC    PC   PC   SC   PC   PC   PC   PC   PC
             IV.B.2.g.     NC       NC     NC     PC     PC    PC      NC      PC    PC   SC   SC   SC   SC   SC   SC   SC
             IV.B.2.h.     NC       NC     NC     PC     PC    PC      PC      PC    NC   PC   SC   SC   PC   PC   PC   PC
             IV.B.3. Counseling/Nicole Johnson
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             IV.B.3.a.     NC       NC      NC     NC     PC     NC       NC     PC    PC   PC   PC   PC   PC   NC   PC   PC
             IV.B.3.b.     NC       NC      NC     NC     PC     NC       NC     PC    PC   PC   PC   PC   PC   NC   PC   PC
             IV.B.4. Suicide Prevention Training Program/Nicole Johnson
             IV.B.4.a.       NC      NC      NC     PC   PC      PC       PC     PC    NC   PC   PC   PC   NC   NC   PC   PC
             IV.B.4.b.       NC      NC      NC     PC   PC      PC       PC     PC    PC   PC   SC   SC   SC   SC   PC   PC
             IV.B.4.c.       NC      NC      NC     PC   PC      PC       PC     PC    PC   PC   PC   SC   SC   SC   PC   SC
             IV.B.4.d.       NC      NC      NC     PC   NC      NC       NC     NC    NC   PC   PC   PC   NC   NC   PC   PC
             IV.B.4.e.       NC      NC      NC     PC   NA      PC       PC     PC    PC   PC   PC   SC   SC   SC   SC   SC
             IV.B.4.f.       NC      NC      NC     NC   PC      PC       NC     NC    SC   SC   SC   SC   SC   SC   PC   PC
             IV.B.4.g.       NC      NC      NC     SC   PC      NC       NC     NC    NC   PC   NC   PC   SC   SC   SC   SC
             IV.B.5. Suicide Precautions/Nicole Johnson
             IV.B.5.a.       NC       NC      NC    NC    NC     NC       NC     PC    PC   PC   PC   PC   PC   PC   PC   PC
             IV.B.5.b.       NC       NC      NC    NC    NC     NC       NC     PC    PC   SC   PC   PC   NC   NC   PC   PC
             IV.B.5.c.       NC       NC      NC    NC    NC     NC       NC     PC    PC   PC   PC   PC   PC   PC   PC   PC
             IV.B.5.d.       NC       NC      NC    NC    NC     NC       NC     NC    PC   PC   SC   SC   SC   SC   SC   SC
             IV.B.5.e.       NC       NC      NC    NC    NC     NC       NC     NC    NC   PC   PC   PC   NC   NC   PC   PC
             IV.B.5.f.       NC       NC      NC    NC    NC     NC       NC     NC    NC   PC   SC   SC   PC   PC   PC   PC
             IV.B.5.g.       NC       NC      NC    NC    NC     NC       NC     NC    NC   PC   PC   PC   PC   PC   PC   PC
             IV.B.5.h.       NC       NC      NC    NC    NC     NC       NC     PC    NC   PC   PC   SC   SC   PC   PC   PC
             IV.B.5.i.       NC       NC      NC    NC    NC     NC       NC     PC    PC   SC   SC   SC   SC   SC   PC   PC
             IV.B.5.j.       NC       NC      NC    NC    NC     NC       NC     PC    PC   PC   PC   SC   SC   SC   SC   SC
             IV.B.5.k.       NC       NC      NC    NC    NC     NC       NC     PC    NC   PC   PC   PC   PC   PC   PC   PC
             IV.B.6. Use of Restraints/Nicole Johnson
             IV.B.6.a.     PC       NC      PC     PC     PC     PC       PC     PC    NC   PC   PC   PC   PC   PC   PC   PC
             IV.B.6.b.     NC       NC      PC     PC     PC     PC       PC     PC    PC   PC   SC   SC   SC   SC   SC   SC
             IV.B.6.c.     ND       NC      PC     PC     PC     PC       PC     PC    NC   PC   NC   SC   SC   SC   SC   SC
             IV.B.6.d.     ND       NC      PC     PC     PC     PC       PC     PC    NC   PC   SC   SC   PC   PC   SC   SC
             IV.B.6.e.     NC       NC      PC     PC     PC     PC       PC     PC    NC   PC   NC   SC   SC   SC   SC   SC
             IV.B.6.f.     NC       NC      PC     PC     PC     PC       PC     PC    NC   PC   SC   SC   SC   SC   SC   SC
             IV.B.6.g.     NC       NC      PC     PC     PC     PC       PC     PC    NC   PC   NC   SC   SC   SC   SC   SC
             IV.B.7. Detoxification and Training/Nicole Johnson/Susi Vassallo
             IV.B.7.a.       NC       NC      PC    PC     PC    PC      PC      PC    PC   PC   PC   SC   SC   PC   PC   PC
             IV.B.7.b.       NC       NC      PC    PC     PC    PC      PC      PC    PC   SC   SC   SC   SC   SC   SC   SC
             IV.B.7.c.       NC       NC      PC    PC     PC    PC      PC      PC    PC   PC   PC   PC   PC   PC   PC   PC
             IV.B.7.d.       NC       NC      PC    PC     PC    PC      PC      PC    PC   NC   PC   PC   PC   SC   SC   SC
             IV.B.8. Medical and Mental Health Staffing/Nicole Johnson/Susi Vassallo
             IV.B.8.a.      NC      NC      PC      PC     PC     PC     PC      PC    PC   PC   PC   PC   PC   PC   PC   PC
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             IV.B.8.b.     NC      NC      PC     PC    PC     PC        PC    PC    PC   SC   SC   SC   SC   SC   SC   SC
             IV.B.9. Risk Management/Nicole Johnson/Susi Vassallo
             IV.B.9.a.      NC     NC      NC    PC     PC     PC        PC    PC    PC   PC   PC   PC   PC   PC   PC   PC
             IV.B.9.b.      NC     NC      NC    PC     PC     PC        PC    PC    PC   PC   PC   PC   PC   PC   PC   PC
             IV.B.9.c.      NC     NC      NC    NC     PC     PC        PC    PC    PC   PC   PC   PC   PC   PC   PC   PC
             IV.B.9.d.      NC     NC      NC    NC    NC      NC        NC    NC    NC   PC   PC   PC   PC   PC   PC   PC
             IV.B.9.e.      NC     NC      NC    NC     PC     PC        PC    PC    NC   PC   PC   PC   PC   PC   PC   PC
             IV.B.9.f.      NC     NC      NC     NC    PC     PC        PC    PC    NC   NC   PC   PC   PC   PC   PC   PC
             IV.C. Medical Care
             See SA 2/11/15 13.
             IV. C. Quality Management of Medication Administration/Susi Vassallo
             IV.C.1.a.       NC      NC      PC     PC   PC     PC     PC       PC   PC   SC   SC   SC   SC   SC   SC   SC
             IV.C.1.b.       NC      NC      PC     PC   PC     PC     PC       PC   PC   PC   PC   PC   PC   PC   SC   PC
             IV.C.1.c.       NC      NC      PC     PC   PC     PC     PC       PC   PC   SC   SC   SC   SC   PC   SC   SC
             IV.C.1.d.       NC      NC      PC     PC   PC     PC     PC       PC   PC   SC   SC   SC   SC   PC   PC   PC
             IV.C.2. Health Care Delivered/Susi Vassallo
             IV.C.2.a.     NC      NC      NC     PC    PC     PC        PC    PC    PC   NC   PC   PC   SC   SC   SC   PC
             IV.C.2.b.     NC      NC      NC     PC    PC     PC        PC    PC    PC   NC   PC   PC   PC   PC   PC   PC
             IV.C.3. Release and Transfer/Susi Vassallo
             IV.C.3.a.      NC       NC     NC     PC    PC    PC        PC    PC    PC   PC   PC   PC   SC   SC   SC   SC
             IV.C.3.b.      NC       NC     NC     PC    PC    PC        PC    PC    PC   PC   PC   PC   SC   SC   SC   SC
             IV.C.3.c.      NC       NC     NC     PC    PC    PC        PC    PC    PC   PC   PC   PC   SC   SC   SC   SC
             IV.C.3.d.      NC       NC     NC     PC    PC    PC        PC    PC    PC   SC   SC   SC   SC   SC   SC   SC
             IV.D. Sanitation and Environmental Conditions/Shane Poole
             IV.D. 1.a.    NC      NC      NC     NC    NC     NC        NC    NC    NC   PC   PC   PC   PC   PC   PC   PC
             IV. D. 1.b.   NC      NC      PC     PC    PC     PC        PC    PC    PC   SC   SC   SC   SC   SC   SC   SC
             IV. D. 1.c.   NC      NC      PC     PC    NC     NC        PC    SC    PC   PC   SC   SC   SC   SC   SC   SC
             IV. D. 1.d.   NC      NC      NC     NC    SC     SC        SC    SC    SC   SC   SC   SC   PC   PC   PC   NC
             IV. D. 1.e.   NC      PC      PC     PC    PC     PC        PC    SC    PC   SC   SC   SC   SC   SC   SC   SC
             IV. D. 1.f.   NC      NC      NC     NC    PC     PC        PC    PC    PC   PC   SC   SC   SC   PC   PC   PC
             IV. D. 1.g.   NC      NC      NC     NC    PC     PC        PC    PC    PC   SC   SC   SC   SC   SC   SC   SC
             IV. D. 1.h.   NC      NC      NC     PC    NC     PC        NC    NC    NC   PC   PC   PC   SC   SC   SC   SC
             IV. D. 2. Environmental Control/Shane Poole
             IV. D. 2.a.     NC      NC      PC     PC   PC    SC        SC    SC    PC   SC   SC   SC   SC   SC   SC   SC
             IV. D. 2.b.     NC      NC      NC    NC    NC    SC        PC    SC    SC   SC   SC   SC   SC   SC   SC   SC
             IV. D. 3. Food Service/Diane Skipworth
             IV. D. 3.a.   NC      NC      NC     PC    PC     PC        NC    PC    PC   PC   SC   SC   SC   SC   SC   SC
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             IV. D. 3.b.     NC        NC     NC     PC    PC   PC      NC      NC     NC   NC   PC   SC   SC   SC   SC   SC
             IV. D. 3.c.     NC        NC     NC     PC    NC   NC      PC      PC     PC   PC   PC   SC   SC   SC   SC   SC
             IV. D. 4. Sanitation and Environmental Conditions Reporting/Shane Poole
             IV. D. 4.a.
             1-7              NC      NC     PC     PC     PC    PC      PC     PC     NC   SC   SC   SC   SC   SC   SC   SC

             IV. D. 4.b.     NC       NC     NC     NC     PC   NC      NC      PC     PC   SC   SC   SC   SC   SC   SC   SC
             IV.E. Fire and Life Safety/Shane Poole
             IV. E. 1. Fire and Life Safety
             IV. E. 1.a.     NC        PC     PC     PC    PC   PC      PC      SC     PC   PC   PC   PC   SC   SC   SC   SC
             IV. E. 1.b.     NC        NC     NC     PC    PC   PC      PC      PC     PC   SC   SC   SC   SC   SC   SC   SC
             IV. E. 1.c.     PC        PC     PC     PC    NC   PC      PC      SC     PC   SC   SC   SC   SC   SC   SC   SC
             IV. E. 1.d.     NC        NC     NC     NC    NC   NC      PC      SC     PC   SC   SC   SC   SC   NC   PC   SC
             IV. E. 1.e.     ND        NC     PC     PC    PC   PC      PC      PC     SC   SC   SC   SC   SC   SC   SC   SC
             IV. E. 2. Fire and Life Safety Reporting
             IV. E. 2.a.1-
             3                ND       NC      PC     PC   PC   PC      PC      PC     PC   SC   SC   SC   SC   SC   SC   PC
             IV. E. 2.b.   ND       NC        NC     PC    NC   NC      NC      PC     PC   SC   SC   SC   SC   SC   SC   SC
             IV.F. Language Assistance
             IV.F.1. Timely and Meaningful Access to Services/Margo Frasier
             IV.F.1.a.       ND        PC     PC     PC    PC   PC      PC      PC     PC   PC   PC   SC   SC   SC   SC   SC
             IV.F.2. Language Assistance Policies and Procedures/Margo Frasier
             IV.F.2.a.                                    PC    PC      PC     PC      PC   PC
                           ND        PC      PC     PC                                           SC   SC   SC   SC   SC   SC
             IV.F.2.b.                                     PC   PC      PC     PC      PC   PC
                             ND        PC     PC     PC                                          SC   SC   SC   SC   SC   SC

             IV.F.3. Language Assistance Training/Margo Frasier
             IV.F.3.a.      NC       PC      PC    PC    PC     PC      PC      PC     PC   PC   PC   PC   PC   PC   PC   PC
             IV.F.4. Bilingual Staff/Margo Frasier
             IV.F.4.         NC       PC      PC     PC    PC   NC      NC      NC     NC   PC   SC   SC   SC   SC   SC   SC
             IV.G. Youthful Prisoners/Margo Frasier
             IV.G.          NC       NC    NC      PC      PC   PC      NC      NC     PC   PC   PC   PC   SC   SC   SC   SC
             VI. The New Jail Facility/Margo Frasier
             VI. A.        ND         PC     PC      SC   SC    SC      SC      SC     SC   SC   SC   SC   SC   SC   SC   SC
             VI. B.        NC         PC     SC      SC   SC    SC      SC      SC     SC   SC   SC   SC   SC   SC   SC   SC
             VI. C.        ND         PC     SC      SC  PC     PC      PC      PC     SC   SC   SC   SC   SC   SC   SC   PC
             VI. D.      Monitors Not Qualified to Evaluate
             VII. Compliance and Quality Improvement/Margo Frasier
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             VII. A.       ND      NC      NC     PC    PC     PC      PC     PC   PC   PC   SC   SC   SC   SC   SC   PC
             VI. B. (H.)   NC      NC      NC     NC    NC     NC      PC     PC   PC   PC   PC   PC   PC   PC   PC   PC
             VI. C. (I.)   NC      NC      SC     SC    NC     SC      SC     NC   PC   SC   SC   SC   SC   SC   PC   PC
             VI. D. (J.)   ND      NC      NC     PC    PC     PC      PC     NC   NC   NC   SC   SC   SC   SC   PC   PC
             VIII. Reporting Requirements and Right of Access/Margo Frasier
             VIII.A.        ND      PC     NC     PC      PC    PC     PC     NC   NC   PC   SC   SC   SC   SC   SC   SC
             VIII.B.        PC      PC      PC    PC      SC    SC     SC     SC   SC   SC   SC   SC   SC   SC   SC   SC
             VIII.C.        PC      PC      PC    SC      SC    SC     NC     NC   PC   PC   SC   SC   SC   SC   PC   PC
             Legend:
             ND - Not scheduled
             for review NC - Non-
             compliance
             PC - Partial Compliance
             SC - Substantial
             Compliance NA -
             Not Applicable
